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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


FEDERAL TRADE COMMISSION,

                               Plaintiff,
                                                           Case No. 3:19-cv-02281-K
         vs.

MATCH GROUP, INC., a corporation, and
MATCH GROUP, LLC, formerly known as
MATCH.COM, LLC, a limited liability
company,
                        Defendants.


 APPENDIX IN SUPPORT OF DEFENDANT MATCH GROUP, INC.’S MOTION TO
 COMPEL DISCOVERY RESPONSES AND PRODUCTION OF DOCUMENTS FROM
               PLAINTIFF FEDERAL TRADE COMMISSION

         Defendant Match Group, Inc. (“MGI”), by and through its counsel, submits this Appendix

in support of its Motion to Compel Discovery Responses and the Production of Documents from

Plaintiff Federal Trade Commission.

   Ex.                                      Description                               App. Page(s)
     1         Declaration of Chad Hummel                                             App. 001-004
               Plaintiff Federal Trade Commission’s Responses and Objections to
   1-A                                                                                App. 005-018
               Defendant Match Group, Inc.’s First Set of Interrogatories
               Plaintiff Federal Trade Commission’s Responses and Objections to
    1-B                                                                               App. 019-038
               Defendant Match Group, Inc.’s First Requests for Admission
               Plaintiff Federal Trade Commission’s Responses and Objections to
    1-C                                                                               App. 039-055
               Defendant Match Group, Inc.’s First Requests for Production
               Letter from Angela Zambrano, Partner, Sidley Austin, to Reid Tepfer,
   1-D                                                                                App. 056-068
               Federal Trade Commission (August 18, 2022) (the “Deficiency Letter”)
               Letter from Linda A. Goldstein, Partner, Baker & Hostetler LLP, to
    1-E                                                                               App. 069-071
               Zachary A. Keller, Federal Trade Commission (August 6, 2019)
               Letter from Chad Hummel, Partner, Sidley Austin LLP, to Reid Tepfer,
    1-F                                                                               App. 072-073
               Federal Trade Commission (May 20, 2022)
               Defendant Match Group, Inc.’s Responses and Objections to Plaintiff
   1-G                                                                                App. 074-102
               Federal Trade Commission’s First Set of Interrogatories
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   Ex.                                 Description                               App. Page(s)
           Amarnath Thombre’s Verification of Match Group, Inc.’s Responses to
   1-H                                                                           App. 103-105
           Plaintiff Federal Trade Commission’s First Set of Interrogatories
           Excerpt of Match Group Inc.’s Responses to the FTC’s CID
    1-I                                                                          App. 106-116
           Interrogatories 13 and 15
    1-J    Email exchange between FTC and Counsel for MGI, August 18, 2022       App. 117-122
           Letter from Reid Tepfer, Federal Trade Commission, to Chad Hummel,
   1-K     Partner, Sidley Austin LLP and Angela Zambrano, Partner, Sidley       App. 123-127
           Austin LLP (August 25, 2022) (the “Response Letter”)
           Defendant Match Group, Inc.’s Responses and Objections to Plaintiff
     2                                                                           App. 128-183
           Federal Trade Commission’s First Set of Requests for Production



Dated: August 29, 2022                          Respectfully submitted,

                                                /s/ Angela C. Zambrano
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                                                Attorneys for Match Group, Inc. and Match
                                                Group, LLC




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                                CERTIFICATE OF SERVICE

       On August 29, 2022, I filed the foregoing document with the clerk of court for the U.S.

District Court, Northern District of Texas. I hereby certify that I have served the document on

all counsel by a manner authorized by Federal Rule of Civil Procedure 5(b)(2).



                                                         /s/ Angela C. Zambrano
                                                         Angela C. Zambrano




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                 EXHIBIT 1
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


FEDERAL TRADE COMMISSION,

                              Plaintiff,
                                                             Case No. 3:19-cv-02281-K
       vs.

MATCH GROUP, INC., a corporation, and
MATCH GROUP, LLC, formerly known as
MATCH.COM, LLC, a limited liability
company,
                        Defendants.


                           DECLARATION OF CHAD HUMMEL

I, Chad S. Hummel, declare as follows:

       1.      I am an attorney licensed to practice in the State of California. I am a partner at

Sidley Austin LLP, counsel for Defendants Match Group, Inc. (“MGI”) and Match Group, LLC

(“MGL”) in the above-captioned case. I submit this declaration in support of MGI’s Motion to

Compel Discovery Responses and the Production of Documents from Plaintiff Federal Trade

Commission (“FTC”) (the “Motion”). I have personal knowledge of the matters set forth herein.

If called upon to testify, I could and would testify competently hereto.

       2.      On June 24, 2022, MGI served its First Set of Interrogatories, First Requests for

Admission, and First Requests for Production to the FTC.

       3.      On August 8, 2022, pursuant to an agreed extension, the FTC served its responses

and objections to MGI’s First Set of Interrogatories, First Requests for Admission, and First

Requests for Production (the “Discovery Responses”). A true and correct copy of the FTC’s

Responses and Objections to MGI’s First Set of Interrogatories is attached hereto as Exhibit A; a

true and correct copy of the FTC’s Responses and Objections to MGI’s First Requests for


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Admission is attached hereto as Exhibit B; and a true and correct copy of the FTC’s Responses

and Objections to MGI’s First Requests for Production is attached hereto as Exhibit C.

       4.      On August 18, 2022, MGI sent a letter to the FTC regarding the deficiencies in the

Discovery Responses (the “Deficiency Letter”), including, among other issues, the FTC’s assertion

of improper objections, the FTC’s inadequate responses, and the FTC’s failure to verify its

interrogatory responses. A true and correct copy of the Deficiency Letter is attached hereto as

Exhibit D.

       5.      In addition, the Deficiency Letter addressed the fact that, despite MGI repeatedly

telling the FTC that Match.com has discontinued and will never resume practices related to the

Match.com Guarantee and Chargebacks, the FTC’s Discovery Responses refuse to acknowledge

these representations by MGI. Such repeated representations regarding the permanent

discontinuation of the Match.com guarantee and chargeback policy were made in, for example:

(1) a letter to the FTC, dated August 6, 2019, a true and correct copy of which is attached hereto

as Exhibit E; (2) a letter to the FTC, dated May 20, 2022, a true and correct copy of which is

attached hereto as Exhibit F; (3) Match Group, Inc.’s Responses and Objections to Plaintiff Federal

Trade Commission’s First Set of Interrogatories, dated July 19, 2022, a true and correct copy of

which is attached hereto as Exhibit G, and Amarnath Thombre’s Verification of Match Group,

Inc.’s Responses to Plaintiff Federal Trade Commission’s First Set of Interrogatories, also dated

July 19, 2022, a true and correct copy of which is attached hereto as Exhibit H; and (4) Match

Group, Inc’s Motion to Dismiss, Dkt. 20 at 1, 12–14.

       6.      The Deficiency Letter also addressed the FTC’s refusal to admit that customers of

Match.com can cancel their subscriptions via email, which is evident from the Match.com website




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                                                                                                      APP 002
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and was described in MGI’s Responses to the FTC’s CID Interrogatories 13 and 15, dated June

13, 2017, a true and correct excerpt of which is attached hereto as Exhibit I.

       7.      On August 17, counsel for MGI and the FTC agreed to hold a meet and confer

telephone call on August 24, 2022. On August 18, 2022, I wrote to the FTC to clarify MGI’s

“intent to cover only the topics in the [Deficiency Letter] on this call.” A true and correct copy of

the email exchange memorializing this conversation between counsel for MGI and the FTC is

attached hereto as Exhibit J.

       8.      On August 24, 2022, MGI and the FTC met and conferred via telephone for over

90 minutes. Counsel for MGI was prepared to discuss the issues with the Discovery Responses

raised in the Deficiency Letter. The FTC had six attorneys on the call. The FTC refused to

withdraw any objections, and, although they stated they would consider amending a handful of

responses, they would not describe how they would supplement, and refused to do so for two

weeks. MGI insisted that, as the FTC effectively admitted that numerous responses were deficient,

the FTC could amend and supplement by August 26. The FTC refused. Additionally, MGI

responded that the FTC’s proposal was inadequate, as MGI should not have to wait another two

weeks for responses that were due weeks ago, and that the FTC has had years to investigate the

simple remaining issues in the case, particularly given the expedited discovery schedule.

       9.      On August 25, 2022, the FTC sent MGI a letter that reiterated that the FTC would

not provide amended responses sooner than two weeks from the date of the meet-and-confer (the

“Response Letter”). The Response Letter also proposed amendments to some of the deficient

responses that MGI had raised in its letter and on the call the previous day, but the proposed

amendments address a fraction of the deficiencies MGI raised. A true and correct copy of the

Response Letter is attached hereto as Exhibit K.




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                                                                                                        APP 003
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       10.    Given the FTC’s unwillingness to revise its Discovery Responses to comply with

the Federal Rules of Civil Procedure and relevant case law, the Motion is necessary.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on the

29th day of August 2022, at Salt Lake City, Utah.



                                                            /s/
                                                            Chad S. Hummel




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                                                                                                    APP 004
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                 EXHIBIT 1-A




                                                                               APP 005
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


FEDERAL TRADE COMMISSION,                                Case No. 3:19-cv-02281-K

        Plaintiff,                                       PLAINTIFF’S RESPONSES TO
                                                         DEFENDANT’S FIRST SET OF
   v.                                                    INTERROGATORIES

MATCH GROUP, INC.,

        Defendant.




        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, and subject to the

general and specific objections set forth below, Plaintiff, the Federal Trade Commission (“FTC”)

responds to Defendant Match Group Inc. (“Match” or “MGI”)’s First Set of Interrogatories.

                                  I.   GENERAL OBJECTIONS

   1. Compound Interrogatories. Plaintiff objects to interrogatories that contain discrete

        requests and therefore constitute compound interrogatories. Including subparts, no more

        than twenty-five interrogatories may be given without a leave of court. Fed. R. Civ. P.

        33(a). “‘[W]here the first question can be answered fully and completely without

        answering the second question, then the second question is totally independent of the first

        and not factually subsumed within it.’” FTC v. Think All Pub LLC, No. 4:07-CV-011,

        2008 WL 687455, *1 (E.D. Tex. 2008).

   2. Blockbuster Interrogatories. Plaintiff objects to Match’s impermissible “blockbuster

        interrogatories” seeking all facts without regard for materiality, proportionality, time, and

        expense. A party cannot “indiscriminately hurl[] interrogatories at every conceivable

        detail and fact which may relate to a case.” Nieman v. Hale, No. 3:12-CV-2433-L-BN,


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                                                                                                        APP 006
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     2013 WL 6814789, at *11 (N.D. Tex. Dec. 26, 2013) (quoting Grynberg v. Total S.A.,

     Inc., No. 3–cv–1280, 2006 WL 1186836, at *5–*7 (D. Colo. May 3, 2006)). Blockbuster

     interrogatories “ask not merely for material or principal facts. They seek ‘each and every

     fact’ supporting the allegations of plaintiff, no matter how insignificant or minor.” Hilt v.

     SFC Inc., 170 F.R.D. 182, 186 (D. Kan. 1997).

  3. Lack of Waiver; Right to Modify. The following responses are made without waiving

     any objections raised by the FTC in this proceeding or any objections the FTC may have

     with respect to the subsequent use of these answers. The FTC specifically reserves: (a)

     the right to challenge authenticity or admissibility of documents referred to in the

     interrogatory responses; (b) the right to object on any and all proper grounds, at any time

     to other discovery procedures involving or relating to the subject matter of interrogatories

     answered herein; and (c) the right, at any time, upon proper showing, to revise, correct or

     clarify the following responses.

  4. Right to Supplement. The FTC reserves the right to supplement and will supplement

     these responses as required under Fed. R. Civ. P. 26(e) if additional responsive

     information becomes available.

  5. Attorney Client Privilege, Deliberative Process Privilege, and Attorney Work

     Product Doctrine. Plaintiff generally objects to Match’s requests to Plaintiff insofar as

     these seek, directly or indirectly, information subject to the attorney client privilege,

     deliberative process privilege or work product doctrine.

  6. Scope of Discovery. Plaintiff objects to Match’s Interrogatories to the extent that the

     instructions and definitions attempt to impose upon the Plaintiff obligations greater than

     those required by the Federal Rules of Civil Procedure.




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                                                                                                     APP 007
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                            II.    OBJECTIONS AND RESPONSES

INTERROGATORY NO. 1: Identify and Describe the basis for Your belief that Match Group,
Inc. “is about to violate” the FTC Act, Including a statement of all facts and evidence that You
believe give rise to a fair inference of a reasonable expectation of continued violations absent
restraint.

ANSWER:

        The FTC objects to this Interrogatory because it is a Blockbuster Interrogatory, as

discussed in General Objection 2, above. The FTC also objects to this Interrogatory as it is

overbroad, vague, unduly burdensome, and not proportional to the needs of the case.

Additionally, the FTC objects to this request to the extent that it seeks information that is more

readily available to Match. Moreover, this Interrogatory is vague, so the FTC is construing this to

refer to a “reasonable expectation” of continued FTC Act violations on Match’s dating platforms.

The FTC further objects to this Interrogatory on the grounds that it is premature as it asks for

information that will be obtained during discovery from documents that are in Match’s

possession and is therefore inconsistent with the Court’s scheduling order. No part of this

response should be interpreted or construed as a limit on the materials or arguments the FTC will

present at trial.

        Subject to and without waiving the foregoing objections, the FTC responds that it has

already disclosed to Match the basis for Plaintiff’s belief that a reasonable expectation exists that

Match would violate the law absent restraint, allegations this Court found sufficient to reject

Match’s contrary motion to dismiss arguments. See Dkts 1, 20, 27, and 86. Specifically, in

deciding whether to issue an injunction courts in the Fifth Circuit look at factors, including: the

egregiousness of the defendant’s actions; the isolated or recurrent nature of the infraction; the

degree of scienter involved; the sincerity of the defendant’s assurances against future violations;

the defendant’s recognition of the wrongful nature of his conduct; and whether the defendant’s



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                                                                                                        APP 008
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occupation presents opportunities for future violations. See Dkt. 27 at 6 (citations omitted). Each

of these factors support the issuance of an injunction here. Match engaged in egregious, recurring

conduct with the scienter of knowing it was earning money at its customer’s expense, as

described in paragraphs ¶¶ 3, 23, 29-37, 50, 57-59, 64 of the complaint.

       Match has yet to offer sincere assurances against future violations; it only suspended its

activities while under federal investigation for its unlawful conduct, Match has never

acknowledged that any of its practices were deficient in any manner, and Match has not

committed to not engaging in the challenged practices in the future. Match’s ability to engage in

this conduct on this platform and the dozens of other platforms it owns and controls, would allow

it to easily resume and expand any of the practices challenged in the complaint. See Compl. ¶¶

10-15, 64; see also Dkt. 27 at 6-7. Match knew that its problems were longstanding, affected all

five counts described in the complaint, and failed to correct its wrongdoing. Match employees

noted long-standing problems with the guarantee, including its flawed tracker, that it had a poor

redemption flow, and that even eligible consumers missed redeeming the guarantee. The

numbers perfectly illustrate the egregiousness of Match’s practices, of more than 2.5 million

subscriptions sold that were subject to the guarantee, not even 2 percent of subscribers redeemed

the guarantee whereas close to half were billed for at least one additional subscription period.

Similarly, Match egregiously kept its consumers money while removing paid-for services of

those consumers who initiated a chargeback that Match successfully challenged. Match’s

chargeback behavior is “likely to recur,” in part, because it has never stopped—Match continues

to engage in similar practices across its other dating websites, including PlentyOfFish, Tinder,

and OkCupid.




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                                                                                                      APP 009
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        Last, Match’s ROSCA practices are as egregious as the rest. Match’s own records

characterize the online cancelation process as confusing, misleading, in need of repair, hard to

find, and tedious. Match designed a misleading cancelation process that, for at least ten years,

allowed consumers to think they had canceled their subscriptions when, in fact, they had just

been duped by the cancelation process. During this time, Match failed to fix this misleading

process. The FTC also refers Match to the FTC’s responses to Interrogatories 2 through 7.

        Match’s established practice of knowingly engaging in egregious business practices,

coupled with its failure to even acknowledge its wrongdoing let alone bind itself to not returning

to those practices in the future, all support an injunction in this matter.

INTERROGATORY NO. 2: Identify and Describe all features of Match.com’s Online
Cancelation Flow that You contend make the Online Cancelation Flow not “simple,” as that term
is used in ROSCA, 15 U.S.C. § 8403, Including a description of what changes You contend
would be necessary to make the Online Cancelation Flow simple.

ANSWER:

        The FTC objects to this Interrogatory because it is a Blockbuster Interrogatory, as

discussed in General Objection 2, above. The FTC also objects to this Interrogatory as it is

overbroad, vague, unduly burdensome, and premature.

        The FTC further objects to this Interrogatory on the grounds that it is premature as it asks

for information that will be obtained during discovery from documents that are in Match’s

possession and is therefore inconsistent with the Court’s scheduling order. No part of this

response should be interpreted or construed as a limit on the materials or arguments the FTC will

present at trial.

        The FTC also objects to the Interrogatory as ambiguous to the extent it implies that each

feature of a cancelation mechanism needs to not be “simple” to violate ROSCA. The FTC

objects to the request as the word “feature” is vague and undefined. The FTC also objects to the



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                                                                                                       APP 010
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Interrogatory to the extent that it seeks a description of changes needed to make the cancelation

flow simple – this part of the Interrogatory is both a discrete request separate from the first part

of the Interrogatory and is instead an impermissible attempt to join two interrogatories into one,

and is also irrelevant as the FTC does not need to show what a simple mechanism would look

like to establish that Match’s flow was not simple.

       Subject to and without waiving the foregoing objections, Match’s own executives have

described its cancelation method as confusing, burdensome, cumbersome, hard to find, tedious,

convoluted and that they knew consumers were getting billed after they had thought they

canceled their subscriptions. See Compl. ¶ 53-59. Match’s own internal documents flagged the

problems with its cancelation process, including that it was hard to find, took many clicks, was

difficult to understand, and had been that way for at least 10 years. Id. Match’s cancelation flow

also had misleading text in the middle of the cancelation flow that states “Before you go” above

a survey – misleading consumers into thinking the cancelation is complete and the survey is

optional, when in fact consumers needed to continue past the survey to actually cancel. Match

has had a flawed password reset mechanism that also prevented consumers from simply

canceling their account if they had forgotten their password. Consumers have complained

consistently about Match’s misleading cancelation process to the company, and it was aware of

and agreed that the process was misleading, but it decided not to fix the cancelation process,

instead keeping it as a profit center. To the extent Match produces responsive documents and

answers in discovery, the FTC may supplement this answer.

INTERROGATORY NO. 3: Identify and Describe the harm to consumers that You contend
resulted from the alleged lack of a simple online cancelation method, Including how the damages
caused by that harm were calculated, the number of users that You believe were unable to cancel




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                                                                                                       APP 011
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their subscription as a result of the alleged lack of a simple cancelation method, and the amount
of harm/damages per user.

ANSWER:

       The FTC objects to this Interrogatory on the grounds that it is overbroad, unduly

burdensome, and premature as it asks for information that will be obtained during discovery

from documents that are in Match’s possession and is therefore inconsistent with the Court’s

scheduling order. No part of this response should be interpreted or construed as a limit on the

materials or arguments the FTC will present at trial.

       Subject to and without waiving the foregoing objections, the FTC responds that

consumers were harmed by, among other things, being billed for unwanted recurring

subscriptions, costs imposed on consumers by time spent rectifying failed cancelation attempts,

and by failing to receive refunds when being billed after they thought they had already canceled.

The number of consumers harmed by Match’s ROSCA violation is approximately 64,000, with

each harmed by an average amount of $136. The number of harmed consumers, the types of

harm, and amount of harm per user will be further revised as the case proceeds and as the FTC

obtains additional discovery.

INTERROGATORY NO. 4: State whether You contend that the Match.com methods of
cancelation other than the Online Cancelation Flow (Including online chat, telephone, mail, and
fax) are not simple, and explain why You contend each method is simple or not simple,
Including a description of all facts supporting Your contentions.

ANSWER:

       The FTC alleges in Count V that “Defendants have failed to provide simple mechanisms

for a consumer to stop recurring charges from being placed on the consumer’s credit card, debit

card, bank account, or other financial account.” This contention is not limited to any particular

method of cancelation, but to the service as a whole. To the extent that this Interrogatory




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                                                                                                    APP 012
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requests further information, FTC objects on the grounds that it is overbroad, vague, unduly

burdensome, and not proportional to the needs of the case. The FTC also objects to the Request

to the extent it implies that every method of cancelation must not be simple in order for a

company to violate ROSCA. The FTC further objects to this Interrogatory on the grounds that it

is premature as it asks for information that will be obtained during discovery from documents

that are in Match’s possession and is therefore inconsistent with the Court’s scheduling order. No

part of this response should be interpreted or construed as a limit on the materials or arguments

the FTC will present at trial.

       Notwithstanding the foregoing, the FTC responds that Match’s failure to inform users

about these methods make them hard to find and not simple, as evidenced by how few

subscribers used these methods. For example, of all online cancelations in 2017 and 2018, less

than two-tenths of one percent used Match’s chat feature. Moreover, the availability of Match’s

chat and voice cancellation are highly dependent on the availability and wait times to contact a

customer service representative, which Match controls. When Match reduced the hours of

operation for voice and chat customer service it increased the difficulty of canceling using those

methods and tracked a dramatic reduction in cancellations.

        To the extent Match produces responsive documents and answers in discovery, the FTC

may supplement this answer.

INTERROGATORY NO. 5: Identify and Describe the features that You contend make a
cancelation method simple (or not), Including (but not limited to) all factors You consider in that
analysis and the weight that You give each of those factors.

ANSWER:

       The FTC objects to this Interrogatory because it is a Blockbuster Interrogatory, as

discussed in General Objection 2, above. The Interrogatory is also irrelevant because it asks




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about cancelation methods that are not at issue in this case and is therefore not reasonably

calculated to lead to the discovery of relevant evidence. The FTC also objects to this

Interrogatory because it is duplicative of Interrogatories 2 and 4.

        The FTC further objects to this Interrogatory on the grounds that it is premature as it asks

for information that will be obtained during discovery from documents that are in Match’s

possession and is therefore inconsistent with the Court’s scheduling order. No part of this

response should be interpreted or construed as a limit on the materials or arguments the FTC will

present at trial.

        Notwithstanding the foregoing, the FTC refers to its answers for Interrogatories 2 and 4.

INTERROGATORY NO. 6: Identify and Describe in what way(s) You contend that
Match.com’s Online Cancelation Flow is not as simple as subscribing to Match.com via the
Match.com website, Including by comparing the two processes.

ANSWER:

        The FTC objects to this Interrogatory because it is a Blockbuster Interrogatory, as

discussed in General Objection 2, above. The FTC also objects to this Interrogatory as it is

overbroad, vague, unduly burdensome, and not proportional to the needs of the case.

        The FTC further objects to this Interrogatory on the grounds that it is premature as it asks

for information that will be obtained during discovery from documents that are in Match’s

possession and is therefore inconsistent with the Court’s scheduling order. No part of this

response should be interpreted or construed as a limit on the materials or arguments the FTC will

present at trial.

        Subject to and without waiving the foregoing objections, the FTC responds that Match’s

internal documents characterize its cancelation as burdensome, cumbersome, hard to find,

tedious, convoluted and that they knew consumers were getting billed after they had thought they




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                                                                                                       APP 014
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canceled their subscriptions. See Compl. ¶ 53-59. There is not similar evidence that Match’s

sign-up process is burdensome, cumbersome, hard to find, tedious or that consumers believed

they had signed up for a subscription service when they had not. Match’s own internal

documents flagged the problems with its cancelation process, including that it was hard to find

and was difficult to understand, but there is no similar evidence that consumers had difficulty

understanding, finding, or completing the sign-up process. Moreover, Match presents an offer to

consumers that would abandon the cancelation process if selected, but it does not present an offer

to consumers to abandon the subscription process. Match’s signup process has no misleading text

that suggests the signup process is complete, whereas Match’s cancelation process has

misleading text in the middle of the cancelation flow that states “Before you go” above a survey

– misleading consumers into thinking the cancelation is complete and the survey is optional,

when in fact the survey is not optional.

INTERROGATORY NO. 7: Identify and Describe the basis for Your allegation that Match
Group, Inc. owns, operates, and controls Match.com, as stated in Your Complaint, Including a
statement of all facts and evidence that You believe support this allegation. If You have no basis
or evidence, You should so state.

ANSWER:

        The FTC objects to this Interrogatory because it is a Blockbuster Interrogatory, as

discussed in General Objection 2, above. The FTC also objects to this Interrogatory to the extent

it seeks information that is in Match’s possession and readily available to Match.

        The FTC further objects to this Interrogatory on the grounds that it is premature as it asks

for information that will be obtained during discovery from documents that are in Match’s

possession and is therefore inconsistent with the Court’s scheduling order. No part of this

response should be interpreted or construed as a limit on the materials or arguments the FTC will

present at trial.



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       Notwithstanding the foregoing, Match’s responses to the FTC’s CID described various

policies of Match, which Match defined as Match Group Inc., in operating Match.com. For

example, Match stated that: Match.com was the primary top-level URL contributing to Match’s

business operations; Match maintained several URLs that directed users to Match.com; and

Match had policies and practices relating to Test profiles and free trials. Match has also stated in

a filing with the Ninth Circuit that it operates match.com, and email records show Match’s senior

executives and CEO directing day-to-day activities and business practices and receiving reports

about those activities and practices.

       The FTC may supplement this answer to the extent it obtains additional responsive

documents from Match or Match Group, LLC.


Date: August 8, 2022                           /s/ M. HASAN AIJAZ
                                              REID TEPFER
                                              M. HASAN AIJAZ
                                              SARAH ZUCKERMAN (admitted pro hac vice)
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                                   Attorneys for Plaintiff
                                   FEDERAL TRADE COMMISSION




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                                CERTIFICATE OF SERVICE

       I, M. HASAN AIJAZ, certify that, on August 8, 2022, I served the foregoing Plaintiff’s

Responses to Defendant’s First set of Interrogatories by email on the following counsel of record

at the email address listed below:

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Attorneys for Defendant Match Group, Inc.



                                                    By: /s/ M. HASAN AIJAZ




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                 EXHIBIT 1-B




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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


FEDERAL TRADE COMMISSION,                                Case No. 3:19-cv-02281-K

        Plaintiff,                                       PLAINTIFF’S RESPONSES TO
                                                         DEFENDANT’S FIRST SET OF
   v.                                                    REQUESTS FOR ADMISSIONS

MATCH GROUP, INC.,

        Defendant.




        Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, and subject to the

general and specific objections set forth below, Plaintiff, the Federal Trade Commission (“FTC”)

responds to Defendant Match Group Inc. (“Match” or “MGI”)’s First Set of Requests for

Admissions.

                                 I.    GENERAL OBJECTIONS

   1. Lack of Waiver; Right to Modify. The following responses are made without waiving

        any objections raised by the FTC in this proceeding or any objections the FTC may have

        with respect to the subsequent use of these answers. The FTC specifically reserves the

        right, at any time, upon proper showing, to revise, correct or clarify the following

        responses.

   2. Right to Supplement. The FTC reserves the right to supplement and will supplement

        these responses as required under Fed. R. Civ. P. 26(e) if additional responsive

        information becomes available.

   3. Attorney Client Privilege, Deliberative Process Privilege, and Attorney Work

        Product Doctrine. Plaintiff generally objects to Match’s Requests to Plaintiff insofar as


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       these seek, directly or indirectly, information subject to the attorney client privilege,

       deliberative process privilege or work product doctrine.

   4. Scope of Discovery. Plaintiff objects to Match’s Requests to the extent that the

       instructions and definitions attempt to impose upon the Plaintiff obligations greater than

       those required by the Federal Rules of Civil Procedure.

                             II.   OBJECTIONS AND RESPONSES

REQUEST FOR ADMISSION NO. 1:
Admit that the Match.com Guarantee challenged in Your Complaint ceased by at least mid-
2019.

ANSWER
Plaintiff objects to this request because the terms “Match.com Guarantee,” “ceased,” and “mid-
2019” are vague and ambiguous. The request is not clear as to what version of the Match.com
Guarantee it is referring to, to the extent the Guarantee changed during the period relevant to the
complaint. “Ceased” is ambiguous as it does not indicate whether the conduct was stopped
voluntarily, or whether the conduct restarted. Plaintiff objects to this request as it implies that the
Match.com Guarantee was ceased voluntarily, rather than in response to the FTC’s investigation
and in anticipation of a possible FTC enforcement action. Plaintiff also objects to this request
because the requested information is already in Match’s possession, custody, or control, and
Match is in a better position to answer this question. Plaintiff is aware that Match has claimed
through unsworn unsubstantiated statements by its attorneys that it discontinued challenged
practices in March and April 2019, after it was under FTC investigation for its challenged
practices, but Plaintiff cannot independently verify that information.

REQUEST FOR ADMISSION NO. 2:
Admit that the Match.com Guarantee challenged in Your Complaint was permanently
discontinued in April 2019, as articulated in Exhibit A.

ANSWER
Plaintiff objects to this request because the terms “Match.com Guarantee,” “permanently
discontinued,” and “mid-2019” are vague and ambiguous. The request is not clear as to what
version of the Match.com Guarantee it is referring to, to the extent the Guarantee changed during
the period relevant to the complaint. “Permanently discontinued” is ambiguous as it does not
indicate whether the conduct was stopped voluntarily or whether the conduct may restart.
Plaintiff objects to this request as it implies that the Match.com Guarantee was voluntarily
discontinued, rather than in response to the FTC’s investigation and in anticipation of a possible
FTC enforcement action. Plaintiff also objects to this request because the requested information
is already in Match’s possession, custody, or control, and Match is in a better position to answer
this question. Plaintiff is aware that Match has claimed through unsworn unsubstantiated
statements by its attorneys that it discontinued challenged practices in March and April 2019,



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after it was under FTC investigation for its challenged practices, but Plaintiff cannot
independently verify that information.

REQUEST FOR ADMISSION NO. 3:
Admit that the Match.com Guarantee challenged in Your Complaint has not been offered since
April 2019.

ANSWER
Plaintiff objects to this request because the terms “Match.com Guarantee,” is vague and
ambiguous. The request is not clear as to what version of the Match.com Guarantee it is referring
to, to the extent the Guarantee changed during the period relevant to the complaint. Plaintiff
objects to this request because the requested information is already in Match’s possession,
custody, or control, and Match is in a better position to answer this question. Plaintiff is aware
that Match has claimed through unsworn unsubstantiated statements by its attorneys that it
discontinued challenged practices in March and April 2019, after it was under FTC investigation
for its challenged practices, but Plaintiff cannot independently verify that information.

REQUEST FOR ADMISSION NO. 4:
Admit that the Match.com chargeback policy challenged in Your Complaint ceased by at least
mid-2019.

ANSWER
Plaintiff objects to this request because the terms “ceased,” and “mid-2019” are vague and
ambiguous. “Ceased” is ambiguous as it does not indicate whether the conduct was stopped
voluntarily or whether the conduct restarted. Plaintiff objects to this request as it implies that the
Match.com chargeback policy was ceased voluntarily, rather than in response to a possible FTC
enforcement action. Plaintiff also objects to this request because the requested information is
already in Match’s possession, custody, or control, and Match is in a better position to answer
this question. Plaintiff is aware that Match has claimed through unsworn unsubstantiated
statements by its attorneys that it discontinued challenged practices in March and April 2019,
after it was under FTC investigation for its challenged practices, but Plaintiff cannot
independently verify that information.

REQUEST FOR ADMISSION NO. 5:
Admit that the Match.com chargeback policy challenged in Your Complaint was permanently
discontinued in March 2019, as articulated in Exhibit A.

ANSWER
Plaintiff objects to this request because the terms “permanently discontinued,” is vague and
ambiguous. “Permanently discontinued” is ambiguous as it does not indicate whether the
conduct was stopped voluntarily or whether it may restart. Plaintiff objects to this request as it
implies that the Match.com chargeback policy was voluntarily discontinued, rather than in
response to the FTC’s investigation and in anticipation of a possible FTC enforcement action.
Plaintiff also objects to this request because the requested information is already in Match’s
possession, custody, or control, and Match is in a better position to answer this question. Plaintiff
is aware that Match has claimed through unsworn unsubstantiated statements by its attorneys that



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it discontinued challenged practices in March and April 2019, after it was under FTC
investigation for its challenged practices, but Plaintiff cannot independently verify that
information.

REQUEST FOR ADMISSION NO. 6:
Admit that the Match.com chargeback policy challenged in Your Complaint has not been in
effect since March 2019.

ANSWER
Plaintiff objects to this request because the requested information is already in Match’s
possession, custody, or control, and Match is in a better position to answer this question. Plaintiff
is aware that Match has claimed through unsworn unsubstantiated statements by its attorneys that
it discontinued challenged practices in March and April 2019, after it was under FTC
investigation for its challenged practices, but Plaintiff cannot independently verify that
information.

REQUEST FOR ADMISSION NO. 7:
Admit that, as of the deadline for your response to this Request, Your investigation has failed to
reveal any evidence of plans by Match.com to reinstate the Match.com Guarantee.

ANSWER
Plaintiff objects because “plans” is vague and ambiguous as to whether it refers to specific
actions that it intends to take, general objectives it wants to take, or a likelihood that it may take
certain actions in the future. Plaintiff objects because the requested information is not relevant to
any claim or defense in this matter and is not reasonably calculated to lead to discoverable
evidence. The Court has already ruled on Match’s motion to dismiss and sided with Plaintiff in
its argument that the complaint contained allegations sufficient to allege the likelihood of
recurrence. Having “plans” to restart illegal conduct is not the standard for injunctive relief,
rather the relevant inquiry is likelihood of recurrence.

Subject to and without waiving the foregoing objections, Plaintiff denies. As this Court found
when denying Match’s motion to dismiss, the FTC’s complaint met the applicable standards to
show a likelihood of recurrence. See Dkt. 86 (citing to standards related to likelihood of
recurrence and reasonable expectation of continued violations absent restraint). As of today,
before Plaintiff has had an opportunity to take any discovery on this issue, Plaintiff does not have
any evidence regarding Match’s “plans” – defined as specific actions it intends to take –
regarding its guarantee program. Plaintiff anticipates uncovering such evidence in discovery.

REQUEST FOR ADMISSION NO. 8:
Admit that, as of the deadline for your response to this Request, Your investigation has failed to
reveal any evidence of plans by Match.com to reinstate the Match.com chargeback policy
challenged in Your Complaint.

ANSWER
Plaintiff objects because “plans” is vague and ambiguous as to whether it refers to specific
actions that it intends to take, general objectives it wants to take, or a likelihood that it may take



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certain actions in the future. Plaintiff objects to this Request as it is not relevant to any claim or
defense in this matter. The Court has already ruled on Match’s motion to dismiss and sided with
Plaintiff in its argument that the complaint contained allegations sufficient to allege the
likelihood of recurrence. Having “plans” to restart illegal conduct is not the standard for
injunctive relief, rather the relevant inquiry is likelihood of recurrence.

Subject to and without waiving the foregoing objections, Plaintiff denies. As this Court found
when denying Match’s motion to dismiss, the FTC’s complaint met the applicable standards to
show a likelihood of recurrence. See Dkt. 86 (citing to standards related to likelihood of
recurrence and reasonable expectation of continued violations absent restraint). As of today,
before Plaintiff has had an opportunity to take any discovery on this issue, Plaintiff does not have
any evidence regarding Match’s “plans” – defined as specific actions it intends to take –
regarding its chargeback policy. Plaintiff anticipates uncovering such evidence in discovery.

REQUEST FOR ADMISSION NO. 9:
Admit that You were informed by letter dated August 6, 2019, that Match.com would not
reinstate the Match.com Guarantee challenged in Your Complaint.

ANSWER
Plaintiff objects to this Request as it is not relevant to any claim or defense in this matter. The
Court has already ruled on Match’s motion to dismiss and sided with Plaintiff in its argument
that the complaint contained allegations sufficient to allege the likelihood of recurrence.

Subject to and without waiving the foregoing objections, Plaintiff denies that Match made a
commitment in a letter sent on August 6, 2019, that it would not reinstitute the challenged
Guarantee. Plaintiff admits that after Match received a draft complaint, knew of the impending
enforcement action, and just one month before this action was filed, Match’s counsel sent a letter
to Zachary A. Keller, then counsel for the FTC, stating that Match had “no plans or intentions
ever to reinstitute” various practices, but Match did not make a commitment to never reinstitute
those practices—the letter only described its “plans or intentions” at the time of the letter and
failed to include any commitments about future actions.

REQUEST FOR ADMISSION NO. 10:
Admit that You were informed by letter dated May 20, 2022, that Match.com would not reinstate
the Match.com Guarantee challenged in Your Complaint.

ANSWER
Plaintiff objects to this Request as it is not relevant to any claim or defense in this matter. The
Court has already ruled on Match’s motion to dismiss and sided with Plaintiff in its argument
that the complaint contained allegations sufficient to allege the likelihood of recurrence.

Subject to and without waiving the foregoing objections, Plaintiff denies that Match made a
commitment in a letter sent on May 20, 2022, that it would not reinstitute the challenged
Guarantee. Plaintiff admits that Match’s counsel sent a letter to Reid Tepfer stating that Match
had no “plans or intentions” to reinstitute various practices, but Match did not make a




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commitment to never reinstitute those practices—the letter only described its “plans and
intentions” at the time of the letter and failed to include any commitments about future actions.

REQUEST FOR ADMISSION NO. 11:
Admit that You were informed by letter dated August 6, 2019, that Match.com would not
reinstate the Match.com chargeback policy at issue in Your Complaint.

ANSWER
Plaintiff objects to this Request as it is not relevant to any claim or defense in this matter. The
Court has already ruled on Match’s motion to dismiss and sided with Plaintiff in its argument
that the complaint contained allegations sufficient to allege the likelihood of recurrence.

Subject to and without waiving the foregoing objections, Plaintiff denies that Match made a
commitment in a letter sent on August 6, 2019, that it would not reinstitute the challenged
Guarantee. Plaintiff admits that after Match received a draft complaint, knew of the impending
enforcement action, and just one month before this action was filed, Match’s counsel sent a letter
to Zachary A. Keller, then counsel for the FTC, stating that Match had “no plans or intentions
ever to reinstitute” various practices, but Match did not make a commitment to never reinstitute
those practices—the letter only described its “plans or intentions” at the time of the letter and
failed to include any commitments about future actions.

REQUEST FOR ADMISSION NO. 12:
Admit that You were informed by letter dated May 20, 2022, that Match.com would not reinstate
the Match.com chargeback policy at issue in Your Complaint.

ANSWER
Plaintiff objects to this Request as it is not relevant to any claim or defense in this matter. The
Court has already ruled on Match’s motion to dismiss and sided with Plaintiff in its argument
that the complaint contained allegations sufficient to allege the likelihood of recurrence.

Subject to and without waiving the foregoing objections, Plaintiff denies that Match made a
commitment in a letter sent on May 20, 2022, that it would not reinstitute the challenged
Guarantee. Plaintiff admits that Match’s counsel sent a letter to Reid Tepfer stating that Match
had no “plans or intentions” to reinstitute various practices, but Match did not make a
commitment to never reinstitute those practices—the letter only described its “plans and
intentions” at the time of the letter and failed to include any commitments about future actions.

REQUEST FOR ADMISSION NO. 13:
Admit that users are able to cancel their Match.com subscription via online chat.

ANSWER
Plaintiff objects to the Request because the information sought is in Match’s possession, custody,
or control, and Plaintiff does not have access to that data. Plaintiff also objects because “users” is
vague and ambiguous as to whether the intended reference is to some users or all users. Plaintiff
also objects to the request as it is not clear whether it is referring to the existence of the




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cancelation mechanism—whether or not users know of it or are able to use it—or the knowledge
and/or effective use of that mechanism by Match.com subscribers.

Subject to and without waiving the foregoing objections, Plaintiff responds that in response to
Match cutting customer service hours for its chat cancelation mechanism, the number of
subscribers who were able to use that cancelation mechanism dropped. Match has possession,
custody, or control of the information about the frequency its users faced unavailability or
malfunction of its cancelation methods and whether such failures are currently present on its
platform. Match is in a better position to answer whether Match.com users are able to cancel
their subscription than Plaintiff and whether some users are unable to cancel via online chat.

REQUEST FOR ADMISSION NO. 14:
Admit that, at all times relevant to Count V in Your Complaint, users were able to cancel their
Match.com subscription via online chat.

ANSWER
Plaintiff objects to the Request because the information sought is in Match’s possession, custody,
or control, and Plaintiff does not have access to that data. Plaintiff also objects because “users” is
vague and ambiguous as to whether the intended reference is to some users or all users. Plaintiff
also objects to the request as it is not clear whether it is referring to the existence of the
cancelation mechanism—whether or not users know of it or are able to use it—or the knowledge
and/or effective use of that mechanism by Match.com subscribers.

Subject to and without waiving the foregoing objections, Plaintiff responds that in response to
Match cutting customer service hours for its chat cancelation mechanism, the number of
subscribers who were able to use that cancelation mechanism dropped. Match has possession,
custody, or control of the information about the frequency its users faced unavailability or
malfunction of its cancelation methods and whether such failures occurred during all times
relevant to Count V of the FTC’s complaint.

REQUEST FOR ADMISSION NO. 15:
Admit that canceling a Match.com subscription via online chat is simple.

ANSWER
Plaintiff objects to this Request as it calls for a legal conclusion as to whether a cancelation
method is “simple.” Subject to the foregoing objection, Plaintiff denies.

REQUEST FOR ADMISSION NO. 16:
Admit that, at all times relevant to Count V in Your Complaint, canceling a Match.com
subscription via online chat has been simple.

ANSWER
Plaintiff objects to this Request as it calls for a legal conclusion as to whether a cancelation
method is “simple.” Subject to the foregoing objection, Plaintiff denies.




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REQUEST FOR ADMISSION NO. 17:
Admit that users are able to cancel their Match.com subscription via telephone.

ANSWER
Plaintiff objects to the Request because the information sought is in Match’s possession, custody,
or control, and Plaintiff does not have access to that data. Plaintiff also objects because “users” is
vague and ambiguous as to whether the intended reference is to some users or all users. Plaintiff
also objects to the request as it is not clear whether it is referring to the existence of the
cancelation mechanism—whether or not users know of it or are able to use it—or the knowledge
and/or effective use of that mechanism by Match.com subscribers.

Subject to and without waiving the foregoing objections, Plaintiff responds that in response to
Match cutting customer service hours for its phone cancelation mechanism, the number of
subscribers who were able to use that cancelation mechanism dropped. Match has possession,
custody, or control of the information about the frequency its users faced unavailability or
malfunction of its cancelation methods and whether such failures are currently present on its
platform. Match is in a better position to answer whether Match.com users are able to cancel
their subscription than Plaintiff and whether some users are unable to cancel via telephone.

REQUEST FOR ADMISSION NO. 18:
Admit that, at all times relevant to Count V in Your Complaint, users were able to cancel their
Match.com subscription via telephone.

ANSWER
Plaintiff objects to the Request because the information sought is in Match’s possession, custody,
or control, and Plaintiff does not have access to that data. Plaintiff also objects because “users” is
vague and ambiguous as to whether the intended reference is to some users or all users. Plaintiff
also objects to the request as it is not clear whether it is referring to the existence of the
cancelation mechanism—whether or not users know of it or are able to use it—or the knowledge
and/or effective use of that mechanism by Match.com subscribers.

Subject to and without waiving the foregoing objections, Plaintiff responds that in response to
Match cutting customer service hours for its phone cancelation mechanism, the number of
subscribers who were able to use that cancelation mechanism dropped. Match has possession,
custody, or control of the information about the frequency its users faced unavailability or
malfunction of its cancelation methods and whether such failures are currently present on its
platform. Match is in a better position to answer whether Match.com users were able to cancel
their subscription at all times relevant to Count V of the FTC’s complaint via telephone than
Plaintiff.

REQUEST FOR ADMISSION NO. 19:
Admit that canceling a Match.com subscription via telephone is simple.

ANSWER
Plaintiff objects to this Request as it calls for a legal conclusion as to whether a cancelation
method is “simple.” Subject to the foregoing objection, Plaintiff denies.



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REQUEST FOR ADMISSION NO. 20:
Admit that, at all times relevant to Count V in Your Complaint, canceling a Match.com
subscription via telephone has been simple.

ANSWER
Plaintiff objects to this Request as it calls for a legal conclusion as to whether a cancelation
method is “simple.” Subject to the foregoing objection, Plaintiff denies.

REQUEST FOR ADMISSION NO. 21:
Admit that users are able to cancel their Match.com subscription via mail.

ANSWER
Plaintiff also objects because “users” is vague and ambiguous as to whether the intended
reference is to some users or all users. Plaintiff also objects to the request as it is not clear
whether it is referring to the existence of the cancelation mechanism—whether or not users know
of it or are able to use it—or the knowledge and/or effective use of that mechanism by
Match.com subscribers.

Subject to and without waiving the foregoing objections, Plaintiff responds that Match has
possession, custody, or control of the information about the frequency its users faced
unavailability or malfunction of its cancelation methods and whether such failures are currently
present on its platform. Match is in a better position to answer whether Match.com users are able
to cancel their subscription than Plaintiff.

REQUEST FOR ADMISSION NO. 22:
Admit that, at all times relevant to Count V in Your Complaint, users were able to cancel their
Match.com subscription via mail.

ANSWER
Plaintiff also objects because “users” is vague and ambiguous as to whether the intended
reference is to some users or all users. Plaintiff also objects to the request as it is not clear
whether it is referring to the existence of the cancelation mechanism—whether or not users know
of it or are able to use it—or the knowledge and/or effective use of that mechanism by
Match.com subscribers.

Subject to and without waiving the foregoing objections, Plaintiff responds that Match has
possession, custody, or control of the information about the frequency its users faced
unavailability or malfunction of its cancelation methods and whether such failures are currently
present on its platform. Match is in a better position to answer whether Match.com users were
able to cancel their subscription at all times relevant to Count V of the FTC’s complaint than
Plaintiff.




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REQUEST FOR ADMISSION NO. 23:
Admit that canceling a Match.com subscription via mail is simple.

ANSWER
Plaintiff objects to this Request as it calls for a legal conclusion as to whether a cancelation
method is “simple.” Subject to the foregoing objection, Plaintiff denies.

REQUEST FOR ADMISSION NO. 24:
Admit that, at all times relevant to Count V in Your Complaint, canceling a Match.com
subscription via mail has been simple.

ANSWER
Plaintiff objects to this Request as it calls for a legal conclusion as to whether a cancelation
method is “simple.” Subject to the foregoing objection, Plaintiff denies.

REQUEST FOR ADMISSION NO. 25:
Admit that users are able to cancel their Match.com subscription via fax.

ANSWER
Plaintiff objects to the Request because the information sought is in Match’s possession, custody,
or control, and Plaintiff does not have access to that data. Plaintiff also objects because “users” is
vague and ambiguous as to whether the intended reference is to some users or all users. Plaintiff
also objects to the request as it is not clear whether it is referring to the existence of the
cancelation mechanism—whether or not users know of it or are able to use it—or the knowledge
and/or effective use of that mechanism by Match.com subscribers.

Subject to and without waiving the foregoing objections, Plaintiff responds that Match has
possession, custody, or control of the information about the frequency its users faced
unavailability or malfunction of its cancelation methods and whether such failures are currently
present on its platform. Match is in a better position to answer whether Match.com users are able
to cancel their subscription.

REQUEST FOR ADMISSION NO. 26:
Admit that, at all times relevant to Count V in Your Complaint, users were able to cancel their
Match.com subscription via fax.

ANSWER
Plaintiff objects because “users” is vague and ambiguous as to whether the intended reference is
to some users or all users. Plaintiff also objects to the request as it is not clear whether it is
referring to the existence of the cancelation mechanism—whether or not users know of it or are
able to use it—or the knowledge and/or effective use of that mechanism by Match.com
subscribers.

Subject to and without waiving the foregoing objections, Plaintiff responds that Match has
possession, custody, or control of the information about the frequency its users faced
unavailability or malfunction of its cancelation methods and whether such failures are currently



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present on its platform. Match is in a better position to answer whether Match.com users were
able to cancel their subscription at all times relevant to Count V of the FTC’s complaint than
Plaintiff.

REQUEST FOR ADMISSION NO. 27:
Admit that canceling a Match.com subscription via fax is simple.

ANSWER
Plaintiff objects to this Request as it calls for a legal conclusion as to whether a cancelation
method is “simple.” Subject to the foregoing objection, Plaintiff denies.

REQUEST FOR ADMISSION NO. 28:
Admit that, at all times relevant to Count V in Your Complaint, canceling a Match.com
subscription via fax has been simple.

ANSWER
Plaintiff objects to this Request as it calls for a legal conclusion as to whether a cancelation
method is “simple.” Subject to the foregoing objection, Plaintiff denies.

REQUEST FOR ADMISSION NO. 29:
Admit that users are able to cancel their Match.com subscription via e-mail.

ANSWER
Plaintiff objects because “users” is vague and ambiguous as to whether the intended reference is
to some users or all users. Plaintiff also objects to the request as it is not clear whether it is
referring to the existence of the cancelation mechanism—whether or not users know of it or are
able to use it—or the knowledge and/or effective use of that mechanism by Match.com
subscribers.

Subject to and without waiving the foregoing objections, Plaintiff responds that Match has
possession, custody, or control of the information about the frequency its users faced
unavailability or malfunction of its cancelation methods and whether such failures are currently
present on its platform. Match is in a better position to answer whether Match.com users are able
to cancel their subscription than Plaintiff.

REQUEST FOR ADMISSION NO. 30:
Admit that, at all times relevant to Count V in Your Complaint, users were able to cancel their
Match.com subscription via e-mail.

ANSWER
Plaintiff objects because “users” is vague and ambiguous as to whether the intended reference is
to some users or all users. Plaintiff also objects to the request as it is not clear whether it is
referring to the existence of the cancelation mechanism—whether or not users know of it or are
able to use it—or the knowledge and/or effective use of that mechanism by Match.com
subscribers.




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Subject to and without waiving the foregoing objections, Plaintiff responds that Match has
possession, custody, or control of the information about the frequency its users faced
unavailability or malfunction of its cancelation methods and whether such failures are currently
present on its platform. Match is in a better position to answer whether Match.com users were
able to cancel their subscription at all times relevant to Count V of the FTC’s complaint than
Plaintiff.

REQUEST FOR ADMISSION NO. 31:
Admit that canceling a Match.com subscription via e-mail is simple.

ANSWER
Plaintiff objects to this Request as it calls for a legal conclusion as to whether a cancelation
method is “simple.” Subject to the foregoing objection, Plaintiff denies.

REQUEST FOR ADMISSION NO. 32:
Admit that, at all times relevant to Count V in Your Complaint, canceling a Match.com
subscription via e-mail has been simple.

ANSWER
Plaintiff objects to this Request as it calls for a legal conclusion as to whether a cancelation
method is “simple.” Subject to the foregoing objection, Plaintiff denies.

REQUEST FOR ADMISSION NO. 33:
Admit that a cancelation method can be simple even if it includes a save offer (meaning an offer
to continue a subscription at a discount).

ANSWER
Plaintiff objects to the Request because “save offer” is vague and ambiguous and the
hypothetical as a whole is vague. The Request does not describe the entirety of the hypothetical
cancelation method nor does it describe how it includes a save offer, how the offer is presented,
how the offer is accepted or declined, or what happens to the cancelation method based on the
acceptance or denial of the offer. Plaintiff further objects because the request calls for a legal
conclusion. Plaintiff further objects to the request as irrelevant because whether a cancelation
mechanism is simple is not determined by looking at one feature of the cancelation method in
isolation and ignoring the difficulty of the remaining portion of the cancelation method.

Notwithstanding the foregoing objections, Plaintiff denies that Match’s cancellation method is
simple.

REQUEST FOR ADMISSION NO. 34
Admit that a cancelation method can be simple if it includes a save offer (meaning an offer to
continue a subscription at a discount) but the subscriber is not required to answer the question.

ANSWER
Plaintiff objects to the Request because the “save offer” is vague and ambiguous and the
hypothetical as a whole is vague. The Request does not describe the entirety of the hypothetical



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cancelation method nor does it describe how it includes a save offer, how the offer is presented,
how the offer is accepted or declined, or what happens to the cancelation method based on the
acceptance or denial of the offer. Plaintiff further objects because the request calls for a legal
conclusion. Plaintiff further objects to the request as irrelevant because whether a cancelation
mechanism is simple is not determined by looking at one feature of the cancelation method in
isolation and ignoring the difficulty of the remaining portion of the cancelation method.

Notwithstanding the foregoing objections, Plaintiff denies that Match’s cancellation method is
simple.

REQUEST FOR ADMISSION NO. 35:
Admit that a cancelation method can be simple even if it asks a subscriber why they are
canceling.

ANSWER
Plaintiff objects to the Request because the hypothetical is vague. The Request does not describe
the entirety of the hypothetical cancelation method, nor does it describe where the question is
located in the cancelation method, how it is presented, or what happens to the cancelation
method based on the subscriber’s answer or non-answer. Plaintiff further objects because the
request seeks privileged information and calls for a legal conclusion. Plaintiff further objects to
the request as irrelevant because whether a cancelation mechanism is simple is not determined by
looking at one feature of the cancelation method in isolation and ignoring the difficulty of the
remaining portion of the cancelation method.

Notwithstanding the foregoing objections, Plaintiff denies that Match’s cancellation method is
simple.

REQUEST FOR ADMISSION NO. 36:
Admit that a cancelation method can be simple if it asks a subscriber why they are canceling but
the subscriber is not required to answer the question.

ANSWER
Plaintiff objects to the Request because the hypothetical is vague. The Request does not describe
the entirety of the hypothetical cancelation method nor does it describe where the question is
located in the cancelation method, how it is presented, what a subscriber needs to do to avoid
answering the question, or what happens to the cancelation method based on the subscriber’s
answer or non-answer. Plaintiff further objects because the request calls for a legal conclusion.
Plaintiff further objects to the request as irrelevant because whether a cancelation mechanism is
simple is not determined by looking at one feature of the cancelation method in isolation and
ignoring the difficulty of the remaining portion of the cancelation method.

Notwithstanding the foregoing objections, Plaintiff denies that Match’s cancellation method is
simple.




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REQUEST FOR ADMISSION NO. 37:
Admit that a cancelation method can be simple even if it asks a subscriber whether they would
recommend the service.

ANSWER
Plaintiff objects to the Request because the hypothetical is vague. The Request does not describe
the entirety of the hypothetical cancelation method nor does it describe where the question is
located in the cancelation method, how it is presented, or what happens to the cancelation
method based on the subscriber’s answer or non-answer. Plaintiff further objects because the
request calls for a legal conclusion. Plaintiff further objects to the request as irrelevant because
whether a cancelation mechanism is simple is not determined by looking at one feature of the
cancelation method in isolation and ignoring the difficulty of the remaining portion of the
cancelation method.

Notwithstanding the foregoing objections, Plaintiff denies that Match’s cancellation method is
simple.

REQUEST FOR ADMISSION NO. 38:
Admit that a cancelation method can be simple if it asks a subscriber whether they would
recommend the service but the subscriber is not required to answer the question.

ANSWER
Plaintiff objects to the Request because the hypothetical is vague. The Request does not describe
the entirety of the hypothetical cancelation method nor does it describe where the question is
located in the cancelation method, how it is presented, what a subscriber needs to do to avoid
answering the question, or what happens to the cancelation method based on the subscriber’s
answer or non-answer. Plaintiff further objects because the request calls for a legal conclusion.
Plaintiff further objects to the request as irrelevant because whether a cancelation mechanism is
simple is not determined by looking at one feature of the cancelation method in isolation and
ignoring the difficulty of the remaining portion of the cancelation method.

Notwithstanding the foregoing objections, Plaintiff denies that Match’s cancellation method is
simple.

REQUEST FOR ADMISSION NO. 39:
Admit that You never explained what could be done to improve the Online Cancelation Flow at
issue in Your Complaint.

ANSWER
Plaintiff objects to the Request as irrelevant because the Plaintiff has no obligation to provide the
legal advice implied in the Request.

Subject to and without waiving the foregoing objections, Plaintiff denies. The FTC’s complaint
details specific failures of Match’s cancelation flow, all of which could be modified or removed
to improve the cancelation flow. See Complaint at ¶¶ 54-57.




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REQUEST FOR ADMISSION NO. 40:
Admit that the Online Cancelation Flow can be completed within 30 seconds.

ANSWER
Plaintiff objects to the request as vague because it is ambiguous what type of person the requests
refers to with regard to, for example, familiarity with the platform, whether they have canceled
previously, what type of device they are using, and other factors relevant to the speed of
completing the cancelation flow. Plaintiff also objects to the Request as irrelevant because the
fastest possible completion speed of a cancelation process it not relevant to any claim or defense
in this case. Plaintiff also objects to the Request because the information sought is in Match’s
possession, custody, or control.

REQUEST FOR ADMISSION NO. 41:
Admit that the Online Cancelation Flow can be completed within 60 seconds.

ANSWER
Plaintiff objects to the request as vague because it is ambiguous what type of person the requests
refers to with regard to, for example, familiarity with the platform, whether they have canceled
previously, what type of device they are using, and other factors relevant to the speed of
completing the cancelation flow. Plaintiff objects to the Request as irrelevant because the fastest
possible completion speed of a cancelation process it not relevant to any claim or defense in this
case. Plaintiff also objects to the Request because the information sought is in Match’s
possession, custody, or control.

REQUEST FOR ADMISSION NO. 42:
Admit that the Online Cancelation Flow can be completed within 90 seconds.

ANSWER
Plaintiff objects to the request as vague because it is ambiguous what type of person the requests
refers to with regard to, for example, familiarity with the platform, whether they have canceled
previously, what type of device they are using, and other factors relevant to the speed of
completing the cancelation flow. Plaintiff objects to the Request as irrelevant because the fastest
possible completion speed of a cancelation process it not relevant to any claim or defense in this
case. Plaintiff also objects to the Request because the information sought is in Match’s
possession, custody, or control.

REQUEST FOR ADMISSION NO. 43:
Admit that the Online Cancelation Flow can be completed within 120 seconds.

ANSWER
Plaintiff objects to the request as vague because it is ambiguous what type of person the requests
refers to with regard to, for example, familiarity with the platform, whether they have canceled
previously, what type of device they are using, and other factors relevant to the speed of
completing the cancelation flow. Plaintiff objects to the Request as irrelevant because the fastest
possible completion speed of a cancelation process it not relevant to any claim or defense in this




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case. Plaintiff also objects to the Request because the information sought is in Match’s
possession, custody, or control.

REQUEST FOR ADMISSION NO. 44:
Admit that You did not review the Online Cancelation Flow in any form other than the
screenshots of the Online Cancelation Flow included in Your Complaint before You sued Match
Group, Inc.

ANSWER
Plaintiff objects to this Request as it seeks privileged information, the form of the Online
Cancelation Flow is vague, ambiguous, unintelligible, and because it is duplicative. Plaintiff also
objects because the requested information is not relevant to any claim or defense in this matter
and is not reasonably calculated to lead to discoverable evidence.

REQUEST FOR ADMISSION NO. 45:
Admit that You reviewed only the screenshots included in the Complaint of the Online
Cancelation Flow, as opposed to any other form of the Online Cancelation Flow, before You
sued Match Group, Inc.

ANSWER
Plaintiff objects to this Request as it seeks privileged information, form of the Online
Cancelation Flow is vague, ambiguous, unintelligible, and because it is duplicative.
Plaintiff also objects because the requested information is not relevant to any claim or defense in
this matter and is not reasonably calculated to lead to discoverable evidence.

REQUEST FOR ADMISSION NO. 46:
Admit that, on average, 86% of Match.com’s free trial members successfully canceled their
subscription before being billed.

ANSWER
Plaintiff objects to this Request because the information sought is already in Match’s possession,
custody, or control, and Plaintiff’s only access to that data comes from Match’s summary
representations. Moreover, Plaintiff objects to Match’s request because free trial users were
frequently fraudulent users that used Match’s platform to monetize fraud.

Subject to and without waiving the foregoing objections, Plaintiff admits that Match has
represented that 86% of its free trial members successfully canceled their subscription before
being billed.

REQUEST FOR ADMISSION NO. 47:
Admit that, on average, a large percentage of Match.com’s free trial members successfully
canceled their subscription before being billed.




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ANSWER
Plaintiff objects to this Request as “a large percentage” is vague and ambiguous. Plaintiff also
objects to the Request because the information sought is already in Match’s possession, custody,
or control.

REQUEST FOR ADMISSION NO. 48:
Admit that, on average, 89% of Match.com’s subscribers successfully canceled their subscription
within 24 hours of initiating cancelation.

ANSWER
Plaintiff objects to this Request as “initiating cancelation” is vague and ambiguous. Plaintiff also
objects to the Request because the information sought is already in Match’s possession, custody,
or control.

Subject to and without waiving the foregoing objections, Plaintiff admits that Match has
represented that on average, 89% of Match.com’s subscribers successfully canceled their
subscription within 24 hours of initiating cancelation.

REQUEST FOR ADMISSION NO. 49:
Admit that, on average, a large percentage of Match.com’s subscribers successfully canceled
their subscription within 24 hours of initiating cancelation.

ANSWER
Plaintiff objects to this Request as “a large percentage” and “initiating cancelation” are vague
and ambiguous. Plaintiff also objects to the Request because the information sought is already in
Match’s possession, custody, or control.

REQUEST FOR ADMISSION NO. 50:
Admit that, of the percentage of Match.com subscribers that do not successfully cancel their
subscription within 24 hours of initiating cancelation, some percentage of Match.com subscribers
take advantage of a save offer (meaning an offer to continue a subscription at a discount).

ANSWER
Plaintiff objects to this Request as “some percentage” is vague, ambiguous, and unintelligible,
and “initiating cancelation” is vague and ambiguous. Plaintiff also objects to the Request because
the information sought is in Match’s possession, custody, or control.

Subject to and without waiving the foregoing objections, Plaintiff admits that Match has
represented that of the percentage of Match.com subscribers that do not successfully cancel their
subscription within 24 hours of initiating cancelation, some percentage of Match.com subscribers
take advantage of a save offer (meaning an offer to continue a subscription at a discount).



Date: August 8, 2022                          /s/ M. HASAN AIJAZ
                                              REID TEPFER



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                                CERTIFICATE OF SERVICE

       I, M. HASAN AIJAZ, certify that, on August 8, 2022, I served the foregoing Plaintiff’s

Responses to Defendant’s First set of Interrogatories by email on the following counsel of record

at the email address listed below:

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                                                    By: /s/ M. HASAN AIJAZ




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              EXHIBIT 1-C




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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


FEDERAL TRADE COMMISSION,                                Case No. 3:19-cv-02281-K

        Plaintiff,                                       PLAINTIFF’S RESPONSES TO
                                                         DEFENDANT’S FIRST REQUESTS
   v.                                                    FOR PRODUCTION

MATCH GROUP, INC.,

        Defendant.




        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, and subject to the

general and specific objections set forth below, Plaintiff, the Federal Trade Commission (“FTC”)

responds to Defendant Match Group Inc. (“Match” or “MGI”)’s First Set of Requests for

Production (“RFPs” or “Requests”).

                                  I.   GENERAL OBJECTIONS

   1. Lack of Waiver; Right to Modify. The following responses are made without waiving

        any objections raised by the FTC in this proceeding or any objections the FTC may have

        with respect to the subsequent use of these answers. The FTC specifically reserves: (a)

        the right to challenge authenticity or admissibility of documents referred to in the

        responses; (b) the right to object on any and all proper grounds, at any time to other

        discovery procedures involving or relating to the subject matter of RFPs answered herein;

        and (c) the right, at any time, upon proper showing, to revise, correct or clarify the

        following responses.




                                                  1

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  2. Right to Supplement. The FTC reserves the right to supplement and will supplement

     these responses as required under FED. R. CIV. P. 26(e) if additional responsive

     information becomes available.

  3. Attorney Client Privilege, Deliberative Process Privilege, and Attorney Work

     Product Doctrine. Plaintiff generally objects to Match’s RFPs insofar as these seek,

     directly or indirectly, information subject to the attorney client privilege, deliberative

     process privilege or work product doctrine.

  4. Scope of Discovery. Plaintiff objects to Match’s RFPs to the extent that the instructions

     and definitions attempt to impose upon the Plaintiff obligations greater than those

     required by the Federal Rules of Civil Procedure.

  5. Non-Waiver by Production. Without waiving any stated objections, Plaintiff intends to

     make available all responsive, relevant, and non-privileged documents within Plaintiff’s

     custody, control, or possession.

  6. Impermissible Contention Requests for Production Based on Use in Court. Plaintiff

     objects to Match’s RFPs based on whether the document supports a contention or based

     on how the document may be used in court (“Contention Request for Production”). Such

     a request is beyond the scope of Rule 34. Rule 34 does not authorize requests based on

     contentions or how the document can be used in court because to detail how a document

     can be used in court violates the work product doctrine. See, e.g., Myers v. Goldco, Inc.,

     Case No. 4:08cv8-RH/WCS, 2008 U.S. Dist. LEXIS 37089, *14 (N.D. Fla. May 6, 2008)

     (disallowing Rule 34 request for “all documents which you intend to introduce at the trial

     of this case or which may be used to refresh the recollections of witnesses” because

     documents “that a party ‘intends to use at trial’ are protected by the work product




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     privilege”). Rule 34 requires document requests to “describe with reasonable particularity

     each item or category of items to be inspected.” FED. R. CIV. P. 34. A Contention Request

     for Production fails to do so. See Kidwiler v. Progressive Paloverde Ins. Co., 192 F.R.D.

     193, 202 (N.D. W. Va. 2000) (stating that a document request is not reasonably particular

     if it merely requests documents “related to a claim or defense” in the litigation); see also

     Reagan-Touhy v. Walgreen Co., 526 F.3d 641, 649-50 & n. 6 (10th Cir. 2008) (a request

     for “all documents that relate” is overly broad and fails to identify documents as required

     by Rule 34).

  7. Fishing Expedition Requests for Production. Plaintiff objects to Match’s RFPs that

     seek “all documents relating to” a specific topic, item, or matter. Not only is such a

     request beyond the scope of Rule 34, it violates the work product doctrine and

     deliberative process privilege, and is an impermissible fishing expedition. Lopez v.

     Chertoff, Case No. CV 07-1566-LEW, 2009 U.S. Dist. LEXIS 50419, **5-8 (E.D. Cal.

     June 2, 2009) (stating that “one of the purposes of Rule 34 is to prevent fishing

     expeditions, and thus Plaintiff has some responsibility to narrow his request” and denying

     request for documents “relating to” claims as facially overbroad). A request for “all

     documents” that support a contention is a not only an impermissible fishing expedition

     but an attempt to “drain the pond and collect the fish from the bottom.” Amcast Indus.v.

     Detrex Corp., 138 F.R.D. 115, 121 (N.D. Ind. 1991) (citation omitted).

  8. Expert Employed Only for Trial Preparation. Plaintiff objects to Match’s discovery

     requests to Plaintiff insofar as these requests seek information and documentation from a

     non-testifying expert and the requested information and documentation are neither:




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           a. Facts or data considered by the Plaintiff’s testify expert in forming her opinions,

               nor

           b. Exhibits that will be used to summarize or support her opinions, and has failed to

               show exceptional circumstances under which it is impracticable for the

               Defendants to obtain facts or opinions on the same subject by other means. FED.

               R. CIV. P. 26(B)(4)(D).

   9. Trial Preparation: Materials. Plaintiff generally objects to Match’s discovery requests

       to Plaintiff insofar as these requests seek discovery of documents and tangible things that

       are/were prepared in anticipation of litigation or for trial by or for Plaintiff or its

       representative, and Match has not shown:

           a. That the request is otherwise discoverable under Rule 26(b)(1), and

           b. That they have substantial need for the materials to prepare its case and cannot,

               without undue hardship, obtain their substantial equivalent by other means. FED.

               R. CIV. P. 26(b)(3)(A)(i) & (ii).

                            II.    OBJECTIONS AND RESPONSES

RFP NO. 1: All Documents Relating to any and all investigations by the FTC of Match or
Match.com, Including but not limited to all Documents that tend to support or undermine the
FTC’s contention that (1) Match has violated, is violating, or is about to violate Section 5 of the
FTC Act or ROSCA or (2) the FTC’s contention that there is a fair inference that Match would
continue to violate the law absent restraint.

ANSWER:

       The FTC objects to this request on the grounds it is vague, overbroad, unduly

burdensome, and not proportional to the needs of the case. The FTC also objects to this request

to the extent it seeks communications or other documents protected by FED. R. CIV. P.

26(b)(3)(A) and (B).




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       The FTC further objects to this request insofar as it seeks irrelevant documents, including

those unrelated to this matter. Such documents with no bearing on any claim or defense in this

matter are not reasonably calculated to lead to the discovery of relevant evidence. The request as

a whole is overbroad, unduly burdensome, and is an impermissible Fishing Expedition. The FTC

objects that this request is overbroad, unduly burdensome, and constitutes an impermissible

Fishing Expedition when limited to the investigation that resulted in this case. Seeking “All

Documents Relating” to that investigation would seek documents wholly unrelated to any claim

or defense in the case, is not calculated to lead to discoverable information, and is instead an

indiscriminate abuse of the discovery process that imposes an impermissible burden on the

producing party, seeks privileged information, and is therefore impermissible. The FTC objects

to this request to the extent it seeks documents protected from disclosure by the attorney client

and deliberative process privilege, or work product doctrine. The FTC also objects because the

request seeks documents that are already in Match’s possession.

       Notwithstanding the foregoing objections, the FTC responds as follows. The FTC will

identify documents we have uncovered so far that support or call into question whether Match’s

violations are likely to recur absent restraint and produce responsive non-privileged documents if

any are located.

       In addition, the FTC refers Match to documents in its possession, custody, or control,

including the chargeback and cancellation polies and practices relevant to Tinder, OKCupid, and

PlentyofFish, including internal correspondence and publicly available policies.




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RFP NO. 2: All Documents You believe give rise to a fair inference of a reasonable expectation
of continued FTC Act violations absent restraint.

ANSWER:

       The FTC objects to this request on the grounds that it is vague. The FTC further objects

to this request as not reasonably calculated to lead to the discovery of relevant evidence. This

request is overbroad, unduly burdensome, not proportional to the needs of the case, and a Fishing

Expedition. This request is also duplicative of Request 1. The FTC also objects to this request as

being irrelevant to the extent it is not duplicative of Request 1. The FTC also objects to this

request to the extent it seeks documents protected from disclosure by the attorney client and

deliberative process privilege, or work product doctrine.

       Notwithstanding the foregoing objections, the FTC refers to its answer to Request 1.

RFP NO. 3: All Documents which the FTC contends supports [sic] an argument that any of the
discontinued practices at issue in the Complaint are likely to be reinstituted by Match or on
Match.com.

ANSWER:

       The FTC objects to this request as duplicative of Requests 1 and 2. This Request

therefore is unduly burdensome. The FTC also objects to this request is irrelevant to the extent it

is not duplicative of Requests 1 and 2. The FTC further objects to this document request as

premature. Discovery has just begun in this matter, and the Commission is gathering evidence in

support of its claims. Moreover, the Court’s scheduling order provides dates on which the parties

will exchange lists of exhibits they may use at trial. By responding now, the Commission does

not waive its rights to identify other potential documents at the time provided in the scheduling

order. The FTC objects to this request to the extent it seeks documents protected from disclosure

by the attorney client and deliberative process privilege, or work product doctrine.




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         Notwithstanding the foregoing objections, the FTC refers to its response to Requests 1

and 2.

RFP NO. 4: All Documents—Including regulations, opinions, notices, or guidance—in which
the FTC has described what does or does not constitute a “simple” cancelation method under
ROSCA.

ANSWER:

         The FTC objects to this request on the grounds it is overbroad, unduly burdensome, not

proportionate to the needs of the case, and irrelevant to the extent that it seeks anything beyond

official interpretations. The FTC also objects to this request to the extent it seeks documents

protected from disclosure by the attorney client and deliberative process privilege, or work

product doctrine. To the extent it seeks official interpretations, such interpretations are publicly

available.

         Notwithstanding the foregoing objections, the FTC responds as follows. The FTC will

search for documents relevant to this matter as required and produce responsive non-privileged

documents if any are located.

RFP NO. 5: All surveys, copy tests, research, analyses, studies, or other tests conducted by or
done for the FTC regarding cancelation methods.

ANSWER:

         The FTC also objects to this request as it is overbroad, is not proportional to the needs of

the case, and seeks irrelevant documents, including those unrelated to this matter and concerning

unrelated cancelation methods. This request is therefore not reasonably calculated to lead to the

discovery of relevant evidence. Surveys, copy tests, research, analyses, studies, or other tests of

different cancelation mechanisms are not relevant to whether Match failed to provide simple

mechanisms to cancel its own recurring subscriptions. The FTC objects to this request to the

extent it seeks documents protected from disclosure by the attorney client and deliberative



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process privilege, or work product doctrine. The FTC also objects to this request to the extent

that it seeks trial preparation materials. The FTC also objects on the grounds that it is premature.

Discovery has just begun in this matter, and the Commission is gathering evidence in support of

its claims. Moreover, the Court’s scheduling order provides dates on which the parties will

exchange lists of exhibits they may use at trial. By responding now, the Commission does not

waive its rights to identify other potential documents at the time provided in the scheduling

order.

RFP NO. 6: All Documents regarding evaluations the FTC has performed of subscription
service cancelation processes.

ANSWER:

         The FTC objects to this Request on the grounds it is vague, overbroad, and not

proportional to the needs of the case. The FTC also objects to this request as it is overbroad and

seeks irrelevant documents, including those unrelated to this matter and concerning unrelated

cancelation methods. This request is therefore not reasonably calculated to lead to the discovery

of relevant evidence. Further, as in its response to Request 5, the FTC objects to this request to

the extent that it seeks documents protected by attorney client privilege, work product doctrine,

or trial preparation materials. The FTC also objects to the request seeking documents “regarding”

the subject matter of the request as that language seeks documents covered by attorney client and

deliberative process privilege and work product doctrine and is therefore intended to abuse the

discovery process. The FTC also objects on the grounds that this request is duplicative of

Request 5.




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RFP NO. 7: All Documents Related to the calculation of monetary damages sought by the FTC,
Including Documents Related to the nature and extent of any alleged injury to consumers.

ANSWER:

       The FTC objects to this request as it is vague. The FTC also objects to this request to the

extent it seeks documents protected from disclosure by the attorney client and deliberative

process privilege, or work product doctrine. The FTC also objects to the request seeking

documents “regarding” the subject matter of the request as that language seeks documents

covered by attorney client and deliberative process privilege and work product doctrine and is

therefore intended to abuse the discovery process. The requested documents, related to billing,

refunds, and other Match subscription and billing information, are in Match’s possession,

custody or control.

RFP NO. 8: All Documents Related to any other instance in which the FTC has sought
monetary damages for violation of ROSCA, Including Documents indicating how the FTC
calculated monetary damages.

ANSWER:

       The FTC objects to this request on the grounds it is vague, overbroad, unduly

burdensome, and not proportional to the needs of the case. FTC also objects to this request as

irrelevant, as calculations of monetary damages in other cases have no connection to any

damages caused by Match to its subscribers. This request therefore impermissibly seeks

documents with no bearing on any claim or defense in this matter and is not reasonably

calculated to lead to the discovery of relevant evidence. The FTC also objects to this request to

the extent it seeks documents protected from disclosure by the attorney client and deliberative

process privilege, or work product doctrine.

       The FTC will search for documents as required and produce responsive non-privileged

documents if any are located.



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RFP NO. 9: All Documents Related to the calculation of civil penalties sought by the FTC.

ANSWER:

       The FTC objects to this request on the grounds it is vague, overbroad, unduly

burdensome, and not proportional to the needs of the case. FTC also objects to this request as

irrelevant, as calculations of civil penalties in other cases has no connection to the appropriate

amount of civil penalties appropriate for Match’s conduct. The FTC objects to this request to the

extent it seeks documents protected from disclosure by the attorney client and deliberative

process privilege, or work product doctrine.

       Notwithstanding the foregoing objections, the FTC responds as follows. The FTC will

search for documents as required and produce responsive non-privileged documents if any are

located.

RFP NO. 10: Documents sufficient to identify other lawsuits in which You have been involved
that relate to a cancelation method being not “simple,” as that term is used in ROSCA, 15 U.S.C.
§ 8403.

ANSWER:

       The FTC objects to the request on the grounds that it is irrelevant as the cancelation

methods challenged in other cases does not bear on Match’s failure to provide a simple

cancelation mechanism. Additionally, any responsive information is as readily available to

Match as it is to the FTC. Moreover, this request appears to be an improper interrogatory

presented in the form of a document request. The FTC objects to this request to the extent it

seeks documents protected from disclosure by the attorney client and deliberative process

privilege, or work product doctrine.




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       Notwithstanding the foregoing objections, the FTC responds as follows. The FTC will

search for documents as required and produce responsive non-privileged documents if any are

located.

RFP NO. 11: All Documents cited to, referenced in, or relied upon in preparing Your responses
to the Interrogatories.

ANSWER:

       The FTC objects to this request to the extent it seeks documents protected from

disclosure by the attorney client and deliberative process privilege, or work product doctrine.

Notwithstanding the foregoing, the FTC will search for documents as required and produce

responsive non-privileged documents if any are located.

RFP NO. 12: All Documents provided to the FTC by any third party that Relate to Count V of
Your Complaint, Including Documents provided by Match.com users and former users.

ANSWER:

       The FTC also objects to this request as it is vague, overbroad, and not proportional to the

needs of the case. The FTC objects to this request to the extent it seeks documents protected

from disclosure by the attorney client and deliberative process privilege, or work product

doctrine. Notwithstanding the foregoing objections, the FTC responds as follows. The FTC will

search for documents as required and produce responsive non-privileged documents if any are

located.




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RFP NO. 13: Any Communications or Documents Related to Communication with any third
party that Relate to Count V of Your Complaint, Including Communication with Match.com
users and former users.

ANSWER:

       The FTC objects to this request to the extent it seeks documents protected from

disclosure by the attorney client and deliberative process privilege, or work product doctrine.

The FTC also objects to this request to the extent that it is duplicative of Request 12.

       Notwithstanding the foregoing objections, the FTC responds as follows. The FTC will

search for documents as required and produce responsive non-privileged documents if any are

located.

RFP NO. 14: All screenshots, which Relate to Count V of Your Complaint, of Match.com,
websites on which Match.com advertised, and/or the “websites of other online platforms”
referenced in Your Initial Disclosures.

ANSWER:

       The FTC objects to this request as it is vague and ambiguous as to what screenshots are

being requested. The FTC also objects to this request as it is overbroad, and not proportional to

the needs of the case in seeking “All screenshots” of Match.com, websites it advertised on, and

the websites of Match group’s other platforms whether or not such screenshots relate to any

claim or defense in this matter. The FTC also objects because the documents sought are as

readily or more readily available to Match as they are to the FTC. The FTC objects to this

request to the extent it seeks documents protected from disclosure by the attorney client and

deliberative process privilege, or work product doctrine.

       Notwithstanding the foregoing objections, the FTC responds as follows. The FTC will

search for documents as required and produce responsive non-privileged documents if any are

located.




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RFP NO. 15: Any videos, which Relate to Count V of Your Complaint, of Match.com or
websites on which Match.com advertised.

ANSWER:

       The FTC objects to this request as it is vague and ambiguous as to what videos are being

requested. The FTC also objects to this request as it is overbroad, and not proportional to the

needs of the case in seeking “Any videos” of Match.com, websites it advertised on, and the

websites of Match group’s other platforms whether or not such screenshots relate to any claim or

defense in this matter. The FTC also objects because the documents sought are as readily or

more readily available to Match as they are to the FTC. The FTC objects to this request to the

extent it seeks documents protected from disclosure by the attorney client and deliberative

process privilege, or work product doctrine.

       Notwithstanding the foregoing objections, the FTC responds as follows. The FTC will

search for documents as required and produce responsive non-privileged documents if any are

located.

RFP NO. 16: All surveys, copy tests, research, analyses, studies, or other tests conducted by or
done for the FTC Related to any investigation of Count V of Your Complaint.

ANSWER:

       The FTC objects to this request to the extent it calls for materials protected by attorney

client or deliberative process privilege or by the work product doctrine. The FTC does not

currently have non-privileged materials responsive to this request.

RFP NO. 17: All Documents Relating to any complaints or other negative statements regarding
Count V of Your Complaint.

ANSWER:

       The FTC objects to this request as “complaints or other negative statements regarding

Count V” is vague and unintelligble. The FTC also objects that this request is overbroad, unduly



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burdensome, seeks irrelevant documents, not proportional to the needs of the case, and

constitutes an impermissible Fishing Expedition.

        The FTC objects to this request to the extent it seeks documents protected from

disclosure by the attorney client and deliberative process privilege, or work product doctrine.

The FTC further objects to this request as it fails “to describe with reasonable particularity each

item or category of items to be inspected,” as required under FED. R. CIV. P. 34(b)(1)(A).

RFP NO. 18: All Documents cited to, referenced in, or relied upon in preparing Count V of
Your Complaint.

ANSWER:

        The FTC objects to this request on the grounds that it amounts to an intrusion into the

FTC’s deliberative process and attorney work product. This Request is overbroad, not

reasonably calculated to lead to discoverable evidence, and not proportional to the needs of the

case.

RFP NO. 19: All Documents You may use at trial that Relate to Count V of Your Complaint.

ANSWER:

        The FTC objects to this request on the grounds it seeks trial preparation materials. The

FTC also objects that this request is an impermissible Fishing Expedition, and violates the work

product doctrine by seeking documents that reflects Plaintiff’s mental impressions in support of

the claim. The FTC further objects to the request on the grounds that such documents, to the

extent that they exist, are likely already in Match’s possession. The FTC further objects to this

document request as premature. Discovery has just begun in this matter, and the Commission is

gathering evidence in support of its claims. Moreover, the Court’s scheduling order provides

dates on which the parties will exchange lists of exhibits they may use at trial. By responding

now, the Commission does not waive its rights to identify other potential documents at the time



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provided in the scheduling order. The FTC objects to this request to the extent it seeks

documents protected from disclosure by the attorney client and deliberative process privilege, or

work product doctrine.



Date: August 8, 2022                          /s/ M. HASAN AIJAZ
                                             REID TEPFER
                                             M. HASAN AIJAZ
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                                CERTIFICATE OF SERVICE

       I, M. HASAN AIJAZ, certify that, on August 8, 2022, I served the foregoing Plaintiff’s

Responses to Defendant’s First Requests for Production by email on the following counsel of

record at the email address listed below:

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                                                   By: /s/ M. HASAN AIJAZ




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                 EXHIBIT 1-D




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                                                                            August 18, 2022

Via E-mail rtepfer@ftc.gov

Reid A. Tepfer
Federal Trade Commission
1999 Bryan Street, Suite 2150
Dallas, Texas 75201


         Re:            FTC v. Match Group, Inc. et al., Case No. 3:19-cv-02281-K (N.D. Tex.)

Counsel:

        This letter, sent on behalf of Defendant Match Group, Inc. details the severe deficiencies
in the FTC’s Responses to the First Set of Interrogatories (the “Interrogatory Responses”), First
Set of Requests for Admission (the “Admission Responses”), and First Requests for Production
(the “Production Responses”) (collectively, the “Discovery Responses”), which the FTC served
on August 8, 2022. As detailed below, the Discovery Responses violate the Federal Rules of Civil
Procedure (the “Rules”) and clear discovery precedents in this District. 1 Absent an immediate
agreement to supplement, withdraw unfounded objections, and amend the Discovery Responses
to meet the specific requests, as detailed below, Match Group, Inc. will seek judicial relief. We
will be fully prepared to discuss the issues set forth below during our scheduled call next
Wednesday, August 24.

                                                                   Interrogatory Responses

        Initially, the FTC failed to verify its Interrogatory Responses, which violates Rule 33. See
Fed. R. Civ. P. 33(b)(3) (“Each interrogatory must, to the extent it is not objected to, be answered
separately and fully in writing under oath.”). Courts in the Northern District of Texas, including
Judge Kinkeade, routinely enforce the requirement that parties verify interrogatory answers. See
DeLeon v. City of Dallas, No. 3:02-CV-1097, 2005 WL 8158033, at *1 (N.D. Tex. Mar. 30, 2005)
(Kinkeade, J.) (ordering plaintiff to provide “a sworn verification with his interrogatory
responses”). Accordingly, Match Group, Inc. requests that the FTC immediately verify its
Interrogatory Responses to comply with Rule 33.

        Further, the FTC incorrectly objects to each and every interrogatory as “premature.” There
is no legal basis for the FTC to object to discovery here as “premature.” Given the large volume
and substance of discovery that the FTC has already obtained from Match Group, Inc. and other

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 Match Group, Inc. reserves all rights to challenge any other aspects of the Discovery Responses that are not expressly
challenged in this letter.
        Sidley Austin (TX) LLP is a Delaware limited liability partnership doing business as Sidley Austin LLP and practicing in affiliation with other Sidley Austin partnerships.




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publicly available sources during the years of pre-filing investigation, the FTC has sufficient
information to respond to Match Group, Inc.’s interrogatories. If the FTC presently has no basis
for its allegation that, for example, Match Group, Inc. “is about to violate” the FTC Act, then it
must so state. Additionally, several of the interrogatories ask about the FTC’s contentions
regarding publicly available processes (e.g., Interrogatory No. 2 asking which features of
Match.com’s Online Cancelation Flow the FTC contends makes the flow not “simple”), so the
FTC has no excuse for refusing fully and completely to answer such interrogatories now. It is not
“premature” to ask about the FTC’s contentions on which it filed a lawsuit. “Discovery by
interrogatory requires candor in responding.... The candor required is a candid statement of the
information sought or of the fact that objection is made to furnishing the information.” Dollar v.
Long Mfg., N.C., Inc., 561 F.2d 613, 616-17 (5th Cir. 1977). The FTC must correct its Interrogatory
Responses to provide full and complete answers. If it fails to do so, Match Group, Inc. will move
to compel and preclude the FTC from relying on any such evidence or argument in the case. See
Fed. R. Civ. P. 37(c)(1) (“If a party fails to provide information or identify a witness as required
by Rule 26(a) or (e), the party is not allowed to use that information or witness to supply evidence
on a motion, at a hearing, or at a trial, unless the failure was substantially justified or is harmless.”).

        Many of the Interrogatory Responses are also inadequate because, in response to requests
that the FTC identify “facts” and “evidence,” the FTC points to allegations in its Complaint or
its response to Match Group, Inc.’s Motion to Dismiss. E.g., Resp. to Interrog. No. 1. In other
instances, the FTC doesn’t point to anything specific at all. E.g., Resp. to Interrog. No. 7
(referencing “email records” purportedly “show[ing] Match’s senior executives and CEO directing
day-to-day activities and business practices and receiving reports about those activities and
practices,” but not identifying any specific document). The FTC has received interrogatory
responses and hundreds of thousands of documents, and, presumably, it used those documents
when drafting its Complaint and making its allegations. Despite the volume of information
available to the FTC—both from CID production and information publicly available on
Match.com—the FTC does not cite a single document or piece of evidence in any of its
Interrogatory Responses. It is far past time for the FTC to identify what evidence it has, not just
allegations in a Complaint or attorney argument in response to a Motion to Dismiss. If the FTC
has no such evidence, it must say so.

         There are also numerous specific deficiencies in the Interrogatory Responses:

        The Response to Interrogatory No. 2, which asks the FTC to describe all features of
Match.com’s Online Cancelation Flow that the FTC contends make the flow not “simple,” and
what changes would be required to make the flow “simple,” is deficient. First, the FTC’s objection
that this is a “Blockbuster Interrogatory” is incorrect. Interrogatory No. 2 does not ask the FTC to
identify “every conceivable detail and fact which may relate to a case,” Nieman v. Hale, No. 3:12-
CV-2433-L-BN, 2013 WL 6814789, at *11 (N.D. Tex. Dec. 26, 2013); rather, it asks the FTC to
identify the specific features of Match.com’s Online Cancelation Flow that the FTC contends




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makes the Online Cancelation Flow not “simple” (and therefore, according to the FTC, violative
of ROSCA). It is incumbent upon the FTC now to identify exactly what about Match.com’s
cancelation process is allegedly improper. Worse, the FTC objects that Match Group, Inc.’s request
that the FTC describe the changes that the FTC contends would be necessary to make the Online
Cancelation Flow simple is “irrelevant.” Hardly. The FTC seeks injunctive relief in this case with
respect to the cancelation flow. The characteristics of what the FTC would contend is a “simple”
cancelation flow are undeniably relevant to the FTC’s claims that the Match.com Online
Cancelation Flow is not simple. Match Group, Inc. is entitled to know what changes the FTC thinks
would be necessary to bring Match.com into compliance. Regulation by the federal government
should not be based on “hide the ball” or a shell game. Nor is the FTC’s objection that the
interrogatory is compound because it contains a “discrete request” a justification for the FTC’s
refusal to answer. A subpart is a discrete request only if it is “not logically or factually subsumed
within and necessarily related to the primary question.” Randstad General Partner (US), LLC v.
Beacon Hill Staffing Group, LLC, 2021 WL 4319673, at *15 (N.D. Tex. Sept. 23, 2021). A request
that the FTC identify which features of Match.com’s Online Cancelation Flow make the flow not
“simple” and therefore what changes would be necessary to make the flow “simple” are logically
and factually subsumed within and necessarily related to one another. 2 It is, of course, Match
Group, Inc.’s contention in this case that the Match.com Online Cancelation Flow is and always
has been compliant with ROSCA. If the FTC cannot identify why that is not the case, and cannot
point to any changes that the FTC believes would bring it into compliance, the FTC should dismiss
the case.

        The Response to Interrogatory No. 3 is inadequate. Match Group, Inc. asked the FTC to
identify and describe the harm to consumers that has flowed from the alleged non-compliant
conduct, including a description of how the damages were calculated, the number of users
allegedly unable to cancel their subscriptions, and the amount of harm or damages per user. The
FTC responded that the number of consumers harmed “is approximately 64,000, with each harmed
by an average amount of $136.” But this is not close to a complete answer to the interrogatory,
because the FTC does not explain how the 64,000 consumers were harmed, how the FTC identified
those consumers, or how an average harm of $136 per consumer was derived. The FTC must
supplement its response to explain “how the [monetary harm]” is derived.

          The Response to Interrogatory No. 5 is inadequate. Match Group, Inc. asked the FTC to
identify and describe the factors that the FTC considers in deciding whether a cancelation method
is or is not simple. This information is critical—particularly in light of the FTC’s refusal to describe
exactly what is allegedly wrong with Match.com’s Online Cancelation Flow or what changes
would be necessary to bring it into compliance. Yet the FTC effectively refused to answer. First,
the FTC claimed that it was a “Blockbuster Interrogatory,” but the interrogatory does not ask for

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  Even if that were not true and the FTC were correct that Interrogatory No. 2 contains multiple discrete subparts (it
is not), the FTC would still be obligated to answer all parts of Interrogatory No. 2, as Match Group, Inc. is nowhere
near the 25 interrogatory limit. See Fed. R. Civ. P. 33(a)(1).




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all facts supporting the FTC’s contentions; it simply asks what factors the FTC considers in its
analysis of whether or not a cancelation flow is “simple.” It is plainly an interrogatory that asks
the FTC to articulate what standard the Match.com cancelation process is being measured against.
Absent such articulation, Match Group, Inc. has serious constitutional concerns about any
enforcement action of this type pursuant to ROSCA. Next, the FTC claims that the interrogatory
is “irrelevant because it asks about cancelation methods that are not at issue in this case.” Yet the
standard for what constitutes a “simple” cancelation mechanism—which is essentially what this
interrogatory requests—should be the same regardless of the website. Match Group, Inc. is entitled
to know what factors the FTC considers in assessing simplicity of website cancelation processes
generally, not just on Match.com. The FTC then claims that the interrogatory is duplicative of
Interrogatories 2 and 4. Not so. Interrogatory No. 5 asks about the standard by which the FTC
evaluates whether or not a cancelation method is simple. Finally, the FTC objects that the
interrogatory is premature because it asks for information that will be obtained during discovery
from documents in Match Group, Inc.’s possession, but the interrogatory doesn’t ask anything
about Match.com’s cancelation process specifically. Candidly, this final objection is absurd. The
FTC should be able to answer what factors it considers when deciding whether a cancelation
mechanism is simple without any insight into Match.com’s specific cancelation mechanisms (and
in any event, the FTC has access to Match.com’s cancelation mechanisms, both through the public
website and the CID). For these reasons, the FTC’s Interrogatory Response referring back to its
answer to Interrogatories 2 and 4 is not a sufficient response to Interrogatory No. 5, as those seek
entirely different information.

                                       Admission Responses

        The Admission Responses in response to numerous Requests for Admission are wholly
deficient and improper.

        Admission Responses 1–6. The Admission Responses 1–6 are not sufficient. First, the
FTC must admit, deny, or state in detail why it cannot truthfully admit or deny Requests for
Admission 40–43. See Fed. R. Civ. P. 36(a)(4) (“If a matter is not admitted, the answer must
specifically deny it or state in detail why the answering party cannot truthfully admit or deny it.”).
Instead of doing so, the FTC response to Requests for Admission 1–6 with an evasive narrative.
Moreover, that narrative is inaccurate, because the FTC falsely repeats that Match Group, Inc. “has
claimed through unsworn and unsubstantiated statements by its attorneys” that the challenged
guarantee and chargeback practices at issue were discontinued in March and April 2019. Contrary
to the Admission Responses, Match Group, Inc. served the FTC with Amarnath Thombre’s
Verification of Match Group, Inc.’s Responses to the FTC’s First Set of Interrogatories. And such
responses provided, in part, that the guarantee practice “was actually permanently discontinued in
April 2019” and that the chargeback practice “was actually permanently discontinued in March
2019.” Furthermore, the FTC’s claim that it “cannot independently verify th[e] information” about
permanent discontinuance is patently inaccurate and unjustifiable. The Match.com Guarantee,




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when it was available, was publicly offered on Match.com’s website, and the chargeback policy
was clearly disclosed in Match.com’s Terms of Use, so the FTC is able to independently verify
this information simply by visiting Match.com. Furthermore, the Admission Responses 1–6 are
inconsistent with its own Complaint and Amended Complaint, which both acknowledge that the
guarantee and chargeback practices were discontinued. Compl. ¶ 38 (noting that guarantee was in
effect “[u]ntil mid-2019”); id. ¶ 61 (noting that chargeback policy was in effect “[u]ntil mid-
2019”); Am. Compl. ¶ 39 (noting that guarantee was in effect “[u]ntil mid-2019”); id. ¶ 62 (noting
that chargeback policy was in effect “[u]ntil mid-2019”). Accordingly, the Admission Responses
1–6 are false and deficient and not made in good faith.

        “If a party fails to admit what is requested under Rule 36 and if the requesting party later
proves a document to be genuine or the matter true, the requesting party may move that the party
who failed to admit pay the reasonable expenses, including attorney’s fees, incurred in making that
proof.” Fed. R. Civ. P. 37(c)(2). Courts in this District have also interpreted Rule 37(c)(2) to permit
“sanctions against a party for improperly denying a request for admission that is later proven to be
true.” See, e.g., Longoria v. Cnty. of Dallas, No. 3:14-cv-3111-L, 2016 WL 6893625, at *6 (N.D.
Tex. Nov. 22, 2016) (citing Vantage Trailers, Inc. v. Beall Corp., No. Civ. A. H-06-3008, 2008
WL 4093691, at *2 (S.D. Tex. Aug. 28, 2008)). If the FTC fails to correct its Admission
Responses, Match Group, Inc. will pursue all appropriate remedies, including dispositive sanctions
if necessary.

        Admission Responses 7–8. The Admission Responses 7 and 8 are also inadequate and
evasive. Those Requests specifically asked the FTC to admit that “as of the deadline for [the
FTC’s] response,” it had no evidence that Match.com plans to reinstate either the Guarantee or
the chargeback policy challenged in the FTC’s Complaint (emphasis added). The FTC apparently
has not identified any such evidence, and in fact states in its response that it “does not have any
evidence regarding Match’s ‘plans,’” yet the FTC failed to simply “admit” as required by the
Rules. The FTC claims that it “anticipates uncovering such evidence in discovery,” but that
Admission Response ignores that Match Group, Inc. asked specifically about the FTC’s evidence
“as of the deadline for [its] response.” While the Court did deny Match’s Motion to Dismiss on
this issue, holding that the Complaint met the threshold for pleading, the FTC must now actually
present evidence to support the allegations. Because the FTC has no evidence, it must admit, but
it improperly failed to do so. Match Group, Inc. has similar issues with Admission Responses Nos.
9–12. It is simply not plausible for the FTC to submit in formal discovery responses that Match
Group, Inc.’s prior statement to the effect that there are no plans or intentions ever to reinstitute
the guaranty or charge back practices is somehow ineffectual because there is no “commitment.”
Of course, such responses do not actually meet the substance of the Requests for Admission and
are therefore defective.

      Admission Responses 13–14, 17–18, 21–22, 25–26, and 29–30. The Admission
Responses 13–14, 17–18, 21–22, 25–26, and 29–30 are also inadequate and evasive.




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       Specifically, Requests for Admission 13–14, 17–18, 21–22, 25–26, and 29–30 seek
admissions about users’ ability to cancel their Match.com subscriptions via various mechanisms:

   •     13: Admit that users are able to cancel their Match.com subscription via online chat.
   •     14: Admit that, at all times relevant to Count V in Your Complaint, users were able to
         cancel their Match.com subscription via online chat.
   •     17: Admit that users are able to cancel their Match.com subscription via telephone.
   •     18: Admit that, at all times relevant to Count V in Your Complaint, users were able to
         cancel their Match.com subscription via telephone.
   •     21: Admit that users are able to cancel their Match.com subscription via mail.
   •     22: Admit that, at all times relevant to Count V in Your Complaint, users were able to
         cancel their Match.com subscription via mail.
   •     25: Admit that users are able to cancel their Match.com subscription via fax.
   •     26: Admit that, at all times relevant to Count V in Your Complaint, users were able to
         cancel their Match.com subscription via fax.
   •     29: Admit that users are able to cancel their Match.com subscription via e-mail.
   •     30: Admit that, at all times relevant to Count V in Your Complaint, users were able to
         cancel their Match.com subscription via e-mail.

        Instead of admitting, specifically denying, or stating why it cannot truthfully admit or deny,
as required by Rule 36(a)(4), the FTC provides non-responsive information in an effort to avoid
responding to the straightforward request. For example, instead of admitting that users are able to
cancel Match.com subscriptions via email, Admission Response 29 provides, “Plaintiff responds
that Match has possession, custody, or control of the information about the frequency its users
faced unavailability or malfunction of its cancelation methods and whether such failures are
currently present on its platform. Match is in a better position to answer whether Match.com users
are able to cancel their subscription than Plaintiff.” The FTC does not identify what “unavailability
or malfunction” it is referring to that would affect email cancelations. Nor is such information
necessary to address the straightforward question of whether a user is able to cancel a subscription
via email (or any other method Match.com offers and about which the Requests for Admission
ask). The Admission Response is particularly inappropriate given that the FTC knows that users
are able to cancel their Match.com subscription via email and other methods, because Match
Group, Inc. told the FTC as much in response to interrogatories during the CID (June 13, 2017
Resp. to Interrog. 15, at 27), and even produced samples of a variety of cancelation
communications to the FTC several years ago. See, e.g., MATCHFTC672164 (examples of chat
cancelations). The Admission Responses 13–14, 17–18, 21–22, 25–26, and 30 are equally absurd,
inappropriate, and deficient for these same reasons.

       Furthermore, it is improper for the FTC to refuse to respond to a Request for Admission
simply because Match Group, Inc. also has access to relevant information. Longoria v. Cnty. of
Dallas, No. 3:14-cv-3111-L, 2016 WL 6893625, at *7 (N.D. Tex. Nov. 22, 2016) (“A party served




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with Rule 36 requests cannot deny them or refuse to answer simply because the same information
may be available to the requesting party by other means.”). The FTC’s refusals to answer violate
the central purpose of Rule 36 to “allow[] parties to narrow the issues to be resolved at trial by
identifying and eliminating those matters on which the parties agree.” Id. at *5 (citing Am. Auto.
Ass’n v. AAA Legal Clinic of Jefferson Crooke, P.C., 930 F.2d 1117, 1121 (5th Cir. 1991)). The
FTC’s refusal to admit these straightforward requests drives up costs for no reason.

        Admission Responses 33–38. The FTC’s Responses to Request for Admission Nos. 33–
38 are also not sufficient because the FTC’s denials do not “fairly respond to the substance of the
matter,” which violates Rule 36(a)(4). Fed. R. Civ. P. 36(a)(4) (“A denial must fairly respond to
the substance of the matter; and when good faith requires that a party qualify an answer or deny
only a part of a matter, the answer must specify the part admitted and qualify or deny the rest.”).

         Requests for Admission 33–38 seek various admissions about a cancelation method:

   •     33: Admit that a cancelation method can be simple even if it includes a save offer (meaning
         an offer to continue a subscription at a discount).
   •     34: Admit that a cancelation method can be simple if it includes a save offer (meaning an
         offer to continue a subscription at a discount) but the subscriber is not required to answer
         the question.
   •     35: Admit that a cancelation method can be simple even if it asks a subscriber why they
         are canceling.
   •     36: Admit that a cancelation method can be simple if it asks a subscriber why they are
         canceling but the subscriber is not required to answer the question.
   •     37: Admit that a cancelation method can be simple even if it asks a subscriber whether
         they would recommend the service.
   •     38: Admit that a cancelation method can be simple if it asks a subscriber whether they
         would recommend the service but the subscriber is not required to answer the question.

        The FTC referred to each of these Requests as a “hypothetical” and responded that
“Plaintiff denies that Match’s cancellation method is simple.” But none of these Requests sought
admissions about whether any of the many Match.com cancelation methods are simple. Instead,
the Requests seek the FTC’s position on how and when it deems a cancelation method to be simple.
The FTC’s “denial[s] [did not] fairly respond to the substance of the matter” and therefore are
improper. Fed. R. Civ. P. 36(a)(4).

       Admission Responses 40–43. Requests for Admission 40–43 seek admissions that the
Online Cancelation Flow (defined in the Requests as the “Match.com online cancelation process,
which You put at issue in Count V of Your Complaint”) can be completed within 30, 60, 90, and
120 seconds, respectively. The FTC objects to these Requests and refuses to respond, again failing
to admit, deny, or state in detail why it cannot truthfully admit or deny, as it is required to do by




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the Rules. See Fed. R. Civ. P. 36(a)(4). But the FTC’s objections are unfounded and the FTC must
admit, deny, or state in detail why it cannot truthfully admit or deny Requests for Admission 40–
43. See Fed. R. Civ. P. 36(a)(4) (“If a matter is not admitted, the answer must specifically deny it
or state in detail why the answering party cannot truthfully admit or deny it.” (emphasis added)).
For example, the FTC objects to each Request as “vague because it is ambiguous what type of
person the requests [sic] refers to with regard to, for example, familiarity with the platform,
whether they have canceled previously, what type of device they are using, and other factors
relevant to the speed of competing the cancelation flow.” That repeated objection is improper
because the Requests do not seek admissions that the Online Cancelation Flow can always be
completed within a certain number of seconds. Rather, the Requests simply seek admissions that
the Online Cancelation Flow can be completed within a certain number of seconds.

        The FTC also inappropriately objects that these Requests are “irrelevant because the fastest
possible completion speed of a cancelation process it [sic] not relevant to any claim or defense in
this case.” The FTC’s objection, however, is contradicted by the FTC’s repeated allegations in the
live Complaint that the Online Cancelation Flow is “confusing and cumbersome.” Compl. ¶ 55.
Additionally, the FTC’s own enforcement policy puts speed of cancelation at issue, as that policy
indicates that a simple cancelation mechanism should not “impose unreasonable delays on
consumers’ cancellation efforts.” Enforcement Policy Statement Regarding Negative Option
Marketing, 86 Fed. Reg. 60822 (Nov. 4, 2021).

         These objections are particularly inappropriate because the FTC has never explained why
it believes that Match.com’s multiple cancellation methods are not simple and even now, in
litigation, it has objected to Match Group, Inc.’s efforts to discern the FTC’s rationale and asserts
that whether a cancellation method is “simple” is a legal conclusion. See Resp. to Req. for Admis.
Nos. 15, 16, 19, 20, 23, 24, 27, 28, 31, 32. In short, the FTC’s refusals leave Match Group, Inc.
without any information about what the FTC thinks is wrong with the Match.com Online
Cancelation Flow (or other cancelation mechanisms) and what could be done to resolve the alleged
problem.

        Admission Responses 47 and 49. Requests for Admission 47 and 49 ask the FTC to admit
that a large percentage of Match.com’s free trial members and subscribers were able to
successfully cancel their subscriptions. The FTC refused to answer these Requests, claiming that
the information is already in Match Group, Inc.’s possession, custody, and control. As noted above,
an objection on the basis that the information is already within Match Group, Inc.’s possession is
improper. See supra. The FTC also claimed that the Requests are vague and ambiguous, but even
if that were true (it is not), the FTC is obligated to answer the Requests “utiliz[ing] the ordinary
definition of the phrases.” Squires v. Toyota Motor Corp., No. 4:18-cv-00138, 2021 WL 1930721,
at *5 (E.D. Tex. May 13, 2021) (Mazzant, J.) (ordering party to respond to requests for admission
using the phrases “area” and “maximum amount”). It cannot entirely refuse to answer. The FTC
must supplement its answer to include an actual response.




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                                       Production Responses

        Many of the Production Responses are also deficient, based on both general and specific
objections. First, the FTC objects to the production requests because they are “contention
requests,” citing caselaw outside this District. See Pl.’s Objs. and Resps. to Defs.’ First Reqs.
Produc. at 2–3. However, that is not a proper basis for refusing to produce documents in this
District. Instead, courts within the Fifth Circuit, including the Northern District of Texas, routinely
require parties to respond to contention discovery requests. See, e.g., Fractus, S.A. v. ZTE Corp.,
2019 WL 5697205, at *3 (N.D. Tex. Nov. 4, 2019) (holding a party could not object to a contention
discovery request stating, “[w]hether or not these contentions must later be proven by fact or expert
evidence has no bearing on what the actual contentions are and a party’s obligation to assert those
contentions”); In re Katrina Canal Breaches Consol. Litig., 2007 WL 1959191, at *3 (E.D. La.
June 27, 2007) (requiring a response to a contention request included in a party’s first set of
interrogatories); Lopez v. Don Herring Ltd., 327 F.R.D. 567, 597 (N.D. Tex. 2018) (ordering party
to produce documents responsive to requests for production asking for documents that
“demonstrate or confirm [a party’s] contention” as to certain issues). Moreover, given the
substantial amount of discovery that the FTC received from Match Group, Inc. during the CID,
the FTC should possess evidence to support its contentions in response to the requests, if any such
evidence exists. The FTC cannot hide that lack of evidence behind a baseless objection.

        The FTC’s specific responses are also deficient. In response to Request No. 1, which seeks
documents relating to “investigations by the FTC of Match or Match.com,” the FTC objects on
the grounds that the request is vague, overbroad, unduly burdensome, and not proportional to the
needs of the case. The FTC goes so far as to argue that the request “constitutes an impermissible
Fishing Expedition when limited to the investigation that resulted in this case.” It is unclear how
a request seeking documents regarding the investigation performed by the FTC that resulted in
this case could be vague, overbroad, or unduly burdensome or be a “fishing expedition.”
Furthermore, the FTC’s unilateral decision to limit its production to only those documents that
“support or call into question whether Match’s violations are likely to recur absent restraint” is
improper, as Match Group, Inc. is entitled to discovery into the entirety of the FTC’s investigation,
not just those parts that the FTC wants to highlight. Please produce responsive documents to the
entirety of the request, or explain whether the FTC is withholding documents based on its
objections.

        The FTC also asserts the deliberative process privilege in response to Request No. 1 (in
addition to other requests). The FTC cannot rely on the “deliberative process privilege” to withhold
factual information obtained during the course of its investigation. See Skelton v. U.S. Postal Serv.,
678 F.2d 35, 38 (5th Cir. 1982) (explaining the deliberative process privilege “protects
predecisional materials reflecting deliberative or policy-making processes, but not materials that
are purely factual.” (quotation marks omitted)); see also SEC v. Cuban, 2013 WL 1091233, at *9
(N.D. Tex. Mar. 15, 2013) (explaining the privilege does not extend to facts such as who conducted




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investigations and identity of witnesses, the actions taken by an agency during an investigation,
and communications between an agency and witnesses). To the extent that the FTC is in possession
of documents or information reflecting facts relevant to this matter and that are responsive to
Match Group, Inc.’s requests, they must be produced.

        The FTC’s response to Request No. 2 is also deficient. Request No. 2 seeks “Documents
You believe give rise to a fair inference of a reasonable expectation of continued FTC Act
violations absent restraint.” This Request is particularly important because, as explained above,
Match Group, Inc. has repeatedly informed the FTC (including under oath) that the practices that
the FTC complains about were permanently discontinued. If the FTC has no documents suggesting
otherwise, it should so state. Because the FTC’s response to Request No. 2 simply refers back to
Request No. 1, it is deficient for the same reasons.

        The FTC’s objections that Requests for Production 5 and 6 seek irrelevant documents also
lacks merit. Request for Production 5 seeks “surveys, copy tests, research, analysis, studies, or
other tests conducted by or done for the FTC regarding cancelation methods,” and Request for
Production 6 seeks “Documents regarding evaluations the FTC has performed of subscription
service cancelation processes.” These requests go directly to a key issue in this case – whether
Match.com’s Online Cancelation Flow is simple. Courts in this District permit “discovery of any
matter relevant to the subject matter involved in the action,” and “a request for discovery should
be considered relevant if there is ‘any possibility’ that the information sought may be relevant to
the claim or defense of any party.” S.E.C. v. Brady, 238 F.R.D. 429, 437 (N.D. Tex. 2006)
(Ramirez, M.J.); see also Fractus, S.A. v. ZTE Corp., No. 3:18-CV-2838-K, 2019 WL 2103698
(N.D. Tex. May 14, 2019) (Kinkeade, J.) (“The party resisting discovery must show specifically
how each request is not relevant or is otherwise objectionable.”).

        Requests for Production 5 and 6 seek documents directly related to the FTC’s allegations
against Match Group, Inc. in Count V. The FTC alleges in Count V that the Match.com Online
Cancelation Flow violates ROSCA because it is not “simple,” but the FTC has never explained to
Match Group, Inc. how the Match.com Online Cancelation Flow or other cancelation mechanisms
offered are not simple or need to be changed. If the FTC possesses surveys, tests, research, studies,
or other assessments about cancelation methods, that information is highly relevant to allow the
parties (and the Court) to assess what features make a cancelation method simple (or not) and how
Match.com’s cancelation mechanisms compare. If the FTC is not in possession of any responsive
documents, it should so state.

       The FTC’s response to Request No. 7 is likewise deficient. Match Group, Inc. seeks
documents related to the calculation of monetary damages sought by the FTC. The FTC refused
to produce such documents, and also claimed that the requested documents are “in Match’s
possession.” But this response is inconsistent with the FTC’s response to Interrogatory No. 3,
where the FTC claimed that the alleged ROSCA violation harmed approximately 64,000
consumers, each by an average amount of $136. The FTC is clearly referring to some sort of




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document or repository of information for those numbers, but it refuses to produce or otherwise
identify those documents for Match Group, Inc. That is improper. Moreover, the FTC’s
interrogatory response states that part of the damages include “costs imposed on consumers by
time spent rectifying failed cancelation attempts.” Match Group, Inc. is unaware of having in its
possession any documents about “costs imposed on consumers by time spent rectifying failed
cancelation attempts.” The FTC must produce whatever documents the FTC is relying on for those
alleged damages.

        The FTC’s response to Request No. 17 is also deficient. This Request seeks “[a]ll
Documents Relating to any complaints or other negative statements regarding Count V of Your
Complaint.” In other words, Match Group, Inc. seeks all documents that reflect complaints or
negative statements regarding Match.com’s Online Cancelation Flow. The FTC objects that this
Request is (1) “vague and unintelligible;” (2) “overbroad, unduly burdensome;” (3) “seeks
irrelevant documents, not proportional to the needs of the case;” (4) “constitutes an impermissible
Fishing Expedition;” (5) “seeks documents protected from disclosure by the attorney client and
deliberative process privilege, or work product doctrine;” and (6) “fails ‘to describe with
reasonable particularity each item or category of items to be inspected.’” None of these objections
has any merit. Seeking documents relating to complaints about the online cancellation process that
the FTC accuses of violating ROSCA is not unduly burdensome or a fishing expedition—it is
directly relevant to the claim at issue. Nor is it unclear what documents Match Group, Inc. seeks.
Such documents must be promptly produced.

        Finally, Request Nos. 18 and 19 seek documents “cited to, referenced in, or relied upon in
preparing Count V of Your Complaint” or that the FTC “may use at trial that Relate to Count V of
Your Complaint.” As described above, these Requests go to the heart of the FTC’s allegations
regarding Match.com’s Online Cancelation Flow, and Match Group, Inc. is entitled to discovery
into what documentation exists to support the FTC’s allegations in the Complaint. In response to
Request No. 18, the FTC objected on the grounds that “it amounts to an intrusion into the FTC’s
deliberative process and attorney work product” and “is overbroad, not reasonably calculated to
lead to discoverable evidence, and not proportional to the needs of the case.” But seeking factual
information relating to the FTC’s allegations does not intrude into the FTC’s deliberative process
(see caselaw cited above), and the request is narrowly tailored to Count V of the Complaint, not
disproportional to the needs of the case. In addition to these objections, the FTC asserts the
following objections to Request No. 19: (1) trial preparation materials; (2) impermissible Fishing
Expedition; (3) violates the work product doctrine by seeking documents that reflects Plaintiff’s
mental impressions in support of the claim; (4) such documents, to the extent that they exist, are
likely already in Match’s possession; and (5) the request is premature. None of the objections has
merit. The request is not premature – it seeks documents that the FTC may use at trial. To the
extent that the FTC discovers additional responsive information during the course of this case, it
may supplement if it is otherwise in compliance with the Rules. Seeking documents now that the
FTC may use is not a Fishing Expedition – it is directly relevant to Count V. Finally, the request




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does not violate the work product doctrine or any other privilege. The FTC cannot seriously
contend that it may keep secret from Match Group, Inc. the very documents that the FTC may use
against Match Group, Inc. at trial. That is the very definition of trial by ambush, which the
discovery rules are designed to prevent. See Peterson v. Bell Helicopter Textron, Inc., 806 F.3d
335, 340 (5th Cir. 2015) (explaining that “the aims of the Federal Civil Rules” are “to eliminate
trial by ambush and afford full and fair litigation of disputed issues”).

                                              ***

        We ask that the FTC correct its responses and produce responsive documents within five
business days. We will be fully prepared to discuss the issues set forth below during our scheduled
call next Wednesday, August 24.



                                             Sincerely,

                                             /s/ Angela C. Zambrano


                                             Angela C. Zambrano




cc:    Counsel of Record




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                  EXHIBIT 1-E




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                                                                                APP 070
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                  EXHIBIT 1-F




                                                                                APP 072
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                                                                              May 20, 2022
Reid Tepfer
Federal Trade Commission
1999 Bryan St Ste 2150
Dallas, TX 75201
rtepfer@ftc.gov

        Re:            FTC v. Match Group, Inc., No. 3:19-cv-02281-K (N.D. Tex.)

Dear Reid:

       Match Group, Inc. (“Match”) and the FTC have repeatedly discussed the FTC’s allegations
about certain practices on Match.com that the FTC claims violate the FTC Act. Although Match
has denied any wrongdoing related to the FTC’s allegations and continues to do so, as you are
aware, these practices were discontinued by March and April 2019, prior to the FTC filing its
Complaint against Match. Additionally, in an August 6, 2019, letter to the FTC, Match left
absolutely no doubt regarding any intent to resume these practices, writing that there were “no
plans or intentions ever to reinstitute any of these practices” on Match.com. It has now been over
three years since these practices were discontinued, and the same remains true today. There are
no plans or intentions to either:

       Offer a “guarantee” program that allows consumers who meet certain terms and conditions
        to extend their subscriptions without cost, as alleged in Count III, or

       Bar consumers who have unsuccessfully disputed charges through their financial
        institutions, including preventing them from using paid Match.com subscription services,
        as alleged in Count IV.

         Given that these practices were discontinued many years ago, and there are no plans or
intentions to reinstitute those practices, there is no evidence that Match Group, Inc. (or Match
Group, LLC) is violating or is about the violate the FTC Act with respect to any of the permanently
discontinued practices described above. As a result, Match requests that the FTC dismiss its FTC
Act claims to avoid the unnecessary expenditure of the parties’ and the Court’s time and resources
litigating about permanently discontinued practices.

                                                                                    Sincerely,
                                                                                    /s/ Chad S. Hummel
                                                                                    Chad S. Hummel
cc: Counsel of Record
       Sidley Austin (CA) LLP is a Delaware limited liability partnership doing business as Sidley Austin LLP and practicing in affiliation with other Sidley Austin partnerships.




                                                                                                                                                                                     APP 073
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                 EXHIBIT 1-G




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                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


FEDERAL TRADE COMMISSION,

                                  Plaintiff,

        vs.                                                         Case No. 3:19-cv-02281-K

MATCH GROUP, INC., a corporation,

                                  Defendant.


      DEFENDANT MATCH GROUP, INC’S RESPONSES AND OBJECTIONS TO
               PLAINTIFF FEDERAL TRADE COMMISSION’S
                   FIRST SET OF INTERROGATORIES

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure (the “Rules”)

Defendant Match Group, Inc. (“Match”), by and through its undersigned counsel, objects and

responds to Plaintiff Federal Trade Commission’s (“Plaintiff” or “FTC”) First Set of

Interrogatories (each an “Interrogatory” and, collectively, the “Interrogatories”) as follows:

I.      GENERAL OBJECTIONS

        1.       Irrelevant. Match objects to each and every Interrogatory to the extent that it

purports to seek information that is irrelevant to Plaintiff’s claims and is not reasonably calculated

to lead to the discovery of admissible evidence. In particular, Match objects to each and every

Interrogatory to the extent that it seeks information relevant to the claims that were dismissed in

the Court’s March 24, 2022 Order on Match’s Motion to Dismiss (the “Dismissed Claims”).1

Match further objects to each and every Interrogatory to the extent that it seeks documents or



1
 ECF No. 86 (dismissing Counts I & II of FTC’s complaint, filed on September 25, 2019, at ECF No. 1 (the
“Complaint”), due to Match’s affirmative defense of CDA § 230 immunity).


MATCH’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES                               1



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information from an entity or dating site not yet named in the present litigation in any operative

pleading, including but not limited to Match Group, LLC, OKCupid, Plenty of Fish, and Tinder.

These responses are being provided solely by Match Group, Inc. based on information within its

possession, custody and control.

        2.      Undue Burden. Match objects to each and every Interrogatory to the extent that it

seeks to impose obligations beyond what is required under the Rules or Local Rules or is unduly

burdensome. Accordingly, Match objects to each and every Interrogatory where the burden or

expense of the proposed discovery outweighs its likely benefit, considering the needs of the case,

the amount in controversy, the parties’ resources, the importance of the issues at stake in the action,

and the importance of the discovery in resolving the issues.

        3.      Overbroad. Match objects to each and every Interrogatory to the extent that it seeks

information that is beyond the scope of Plaintiff’s claims, including, but not limited to, documents

and information related to Plaintiff’s Dismissed Claims, and documents and information related to

entities or dating sites that are not yet party to, or otherwise related to, this litigation, such as Match

Group, LLC, OKCupid, Plenty of Fish, and Tinder. Match further objects to each and every

Interrogatory to the extent that it seeks documents and information that are not within Match’s

possession, custody, or control, including by seeking documents and information from and related

to entities that are not named as parties to this litigation.

        4.      Privilege. Match objects to each and every Interrogatory to the extent it seeks

documents or information that is subject to the attorney-client privilege, work-product doctrine, or

any other applicable privilege or immunity from discovery (including, without limitation, all

communications with, or work product of, any outside attorney) (collectively, “Privileged




MATCH’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES                             2



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Information”). Any inadvertent disclosure of Privileged Information by Match shall not constitute

a waiver of any applicable privilege, doctrine, or immunity.

       5.      Vagueness and Ambiguity. Match objects to each and every Interrogatory to the

extent that such Interrogatory is so vague, ambiguous, or confusing as not to be susceptible to a

reasoned interpretation or response. In the absence of clear instructions or definitions associated

with terms that are too vague, ambiguous, or confusing, Match will give the terms used in the

Interrogatory a reasonable interpretation.

       6.      Confidentiality. Match objects to each and every Interrogatory to the extent that it

seeks the production of confidential or commercially sensitive information. Match will confer

with Plaintiff in an effort to reach an agreement regarding the terms of a protective order. If an

agreement cannot be reached, Match will move for a protective order. Any responses to these

Interrogatories that are provided before a protective order is entered will be deemed subject to any

protective order entered at a later date.

       7.      Accessibility. Match objects to each and every Interrogatory to the extent that it

seeks information that is not reasonably accessible in the ordinary course of business.

       8.      Cumulative Interrogatories and Availability of Information Elsewhere. Match

objects to each and every Interrogatory that is cumulative, duplicative of, or to which documents

or information already are in the possession, custody, or control of Plaintiff, or have been or could

be obtained from another source that is equally available to Plaintiff or is more convenient, less

burdensome, or less expensive. In particular, Match objects to each and every Interrogatory insofar

as it seeks documents or information already obtained by Plaintiff during the FTC’s prior

investigation in connection with the Civil Investigative Demand served on Match in 2017 (the

“2017 CID”).



MATCH’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES                       3



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       9.      Lack of Possession, Custody, or Control. Match objects to each Interrogatory to

the extent it does not appear to be addressed to Match and seeks information that is necessarily

outside Match’s knowledge.

       10.     Legal Conclusions. Match objects to each and every Interrogatory to the extent that

it requires Match to draw legal conclusions.

       11.     Reservation of Right to Supplement. Given the stage of the litigation, Match has

not completed its investigation of the facts or law relating to this action, and discovery in this

matter is ongoing. Accordingly, consistent with the Rules, these responses and objections are

made without prejudice to, and are not a waiver of, Match’s right to amend, correct, or supplement

these responses, and are subject to Match’s right to produce evidence of any subsequently

discovered facts, or additional facts, information, or documents that may exist. Match provides

these responses in good faith after reasonable inquiry and based on information that it knows or

can readily obtain.

       12.     No Waiver. By responding to these Interrogatories, Match does not concede the

relevancy of an Interrogatory, nor the relevancy or admissibility of any information provided in

response thereto. The fact that information is provided in response to a particular Interrogatory

does not mean that it is probative of any particular issue in this case. Match expressly reserves its

right to assert any and all objections to the admissibility of any responses into evidence at any

hearing or trial of this proceeding, or in any other actions or proceedings, on any and all grounds,

including, but not limited to, competency, relevancy, materiality, privilege, confidentiality,

hearsay, or admissibility as evidence for any other purpose. Moreover, the right to object on any

ground to the use of the responses or information provided, in any aspect of this or any other court

action, arbitration, or judicial or administrative proceeding or investigation, is reserved.



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       13.     Multiple Subparts. Match objects to each and every Interrogatory to the extent it

purports to include more than one single discrete question, and to the Definitions and Instructions

to the extent they imbed in any Interrogatory a series of subpart questions, as these Interrogatories

violate the Rules that limit each party to 25 single questions, including subparts.

II.    SPECIFIC OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

       1.      Match specifically objects to the Interrogatories’ Instructions and Definitions to the

extent they purport to impose obligations on Match that exceed those imposed by the Rules and

the Local Rules. In responding to these Interrogatories, Match will follow the requirements set

forth in the Rules and the Local Rules.

       2.      Match specifically objects to the definitions of “Match,” the “Company,” and

“You” because they are vague, ambiguous, confusing, irrelevant, not proportional to the needs of

the case, and overly burdensome in that Plaintiff defines these term as including “Match Group,

Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures, operations

under assumed names, and affiliates, and all directors, officers, employees, agents, consultants,

and other persons working for or on behalf of the foregoing.” This definition necessarily and

inappropriately includes attorneys and other entities that are not relevant to the claims or

allegations in the Complaint. Furthermore, Match objects to Plaintiff’s definitions of “Match,” the

“Company,” and “You” as defined to “include any descriptor used by Match in its business

practice,” again encompassing other entities and dating sites that are not relevant to this matter,

including, but not limited to, OKCupid, Plenty of Fish, and Tinder. In responding to these

Interrogatories, Match will construe the terms “Match,” the “Company,” and “You” to refer only

to Match Group, Inc.




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       3.      Match specifically objects to the definitions of “and” and “or” and because they are

ambiguous and confusing. Match will interpret these terms to have their plain, ordinary, and

common sense meaning. Match further objects to these definitions to the extent they purport to

impose obligations on Match that exceed those imposed by the Rules. Match objects to the

definition of these terms as overly broad, unduly burdensome, and oppressive to the extent they

purport to require information that is neither relevant to any party’s claim or defense nor

proportional to the needs of the case and exceedingly burdensome. In responding to these

Interrogatories, Match will comply with the Rules and the Local Rules.

       4.      Match specifically objects to the definition of “any” as ambiguous and confusing.

Match will interpret this term to have its plain, ordinary, and common sense meaning. Match

further objects to this definition to the extent it purports to impose obligations on Match that exceed

those imposed by the Rules. Match objects to the definition of this term as overly broad, unduly

burdensome, and oppressive to the extent it purports to require information that is neither relevant

to any party’s claim or defense nor proportional to the needs of the case. In responding to these

Interrogatories, Match will comply with the Rules and the Local Rules.

       5.      Match specifically objects to the definitions of “Customer” and “Customers” as

overbroad, unduly burdensome, and oppressive, insofar as they purport to cover individual(s) “who

have maintained an account on any website owned or operated by the Company, including

OKCupid, Plenty of Fish, and Tinder,” which Match does not actually own or operate, and which

encompasses websites and entities that are not party to, or otherwise related to, the present

litigation. Match further objects that the definitions of “Customer” and “Customers” are thus not

tailored to the allegations in the complaint, not proportional to the needs of the case, and not

reasonably calculated to lead to the discovery of admissible evidence. In responding to these



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Interrogatories, Match will construe the terms “Customer” and “Customers” to refer only to

Customer(s) of Match.com.

         6.    Match objects to the definition of “Document” as overly broad and unduly

burdensome. Match further objects to this definition to the extent it refers to items outside of

Match’s possession, custody, or control, particularly through its use of the phrases “regardless of

origin or location” and “however and by whomever prepared, produced, disseminated, or made.”

Match further objects to this definition to the extent it refers to items in Plaintiff’s possession,

custody, or control, or to items that have been or could be obtained from another source that is

equally available to Plaintiff or is more convenient, less burdensome, or less expensive. Match

further objects to this definition to the extent it purports to impose obligations on Match that exceed

those required by the Rules. In responding to these Interrogatories, Match will interpret the word

“Document” to have its plain, ordinary, and common sense meaning and will comply with the

Rules.

         7.    Match specifically objects to the definition of “each” as ambiguous and confusing.

Match will interpret this term to have its plain, ordinary, and common sense meaning. Match

further objects to this definition to the extent it purports to impose obligations on Match that exceed

those imposed by the Rules. Match objects to the definition of this term as overly broad, unduly

burdensome, and oppressive to the extent it purports to require information that is neither relevant

to any party’s claim or defense nor proportional to the needs of the case. In responding to these

Interrogatories, Match will comply with the Rules and the Local Rules.

         8.    Match specifically objects to the definitions of “Identity” and “the identity of” and

because they are ambiguous and confusing. Match will interpret these terms to have their plain,

ordinary, and common sense meaning. Match further objects to these definitions to the extent they



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purport to impose obligations on Match that exceed those imposed by the Rules. Match objects to

the definition of these terms as overly broad, unduly burdensome, and oppressive to the extent they

purport to require information that is neither relevant to any party’s claim or defense nor

proportional to the needs of the case. In responding to these Interrogatories, Match will comply

with the Rules and the Local Rules.

       9.      Match specifically objects to the definition of “Match Group, LLC” as vague,

ambiguous, confusing, and overbroad.

       10.     Match objects to the definition of “OKCupid,” because it is overbroad, ambiguous,

and confusing. Match further objects to the definition of “OKCupid” as irrelevant, since OKCupid

is not referenced in the operative Complaint, and thus any Interrogatory relying on the definition

of “OKCupid” is not proportional to the needs of the case and is unduly burdensome.

       11.     Match objects to the definition of “Plenty of Fish,” because it is overbroad,

ambiguous, and confusing. Match further objects to the definition of “Plenty of Fish” as irrelevant,

since Plenty of Fish is not even referenced in the Complaint, and thus any Interrogatory relying on

the definition of “Plenty of Fish” is not proportional to the needs of the case and is unduly

burdensome.

       12.     Match specifically objects to the definitions of “referring to” and “relating to” and

because they are ambiguous and confusing. Match will interpret these terms to have their plain,

ordinary, and common sense meaning. Match further objects to these definitions to the extent they

purport to impose obligations on Match that exceed those imposed by the Rules. Match objects to

the definition of these terms as overly broad, unduly burdensome, and oppressive to the extent they

purport to require information that is neither relevant to any party’s claim or defense nor




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proportional to the needs of the case. In responding to these Interrogatories, Match will comply

with the Rules and the Local Rules.

       13.     Match specifically objects to the definition of “Subscriber” as overbroad, unduly

burdensome, and oppressive, insofar as it purports to cover a “Subscriber” to “any website owned

or operated by” Match, which would necessarily encompass websites and entities that are not party

to, or otherwise related to, the present litigation. Match further objects that the definition of

“Subscriber” is thus not tailored to the allegations in the complaint and not proportional to the

needs of the case, and not reasonably calculated to lead to the discovery of admissible evidence.

In responding to these Interrogatories, Match will construe the term “Subscriber” to refer only to

Subscribers to Match.com.

       14.     Match objects to the definition of “Tinder,” because it is overbroad, ambiguous,

and confusing. Match further objects to the definition of “Tinder” as irrelevant, since Tinder is

not even referenced in the Complaint, and thus any Interrogatory relying on the definition of

“Tinder” is not proportional to the needs of the case and is unduly burdensome.

       15.     The foregoing general objections and specific objections to the instructions and

definitions provided by Plaintiff shall be fully incorporated by reference into each of the below

specific objections to the Interrogatories.

III.   SPECIFIC OBJECTIONS AND RESPONSES TO THE INTERROGATORIES

INTERROGATORY NO. 1: Identify, including by job title, place of employment, and dates of
service, all persons that Match consulted with while preparing its response to the 2017 CID,
Plaintiff’s First Set of Interrogatories, Plaintiff’s First Requests for Production, Plaintiff’s First
Request for Admission, or any other submission or presentation the Company sent to the FTC. For
each such person, state the 2017 CID request, discovery request, interrogatory, or other submission
or presentation for which the person answered or otherwise assisted in answering.

RESPONSE: Match objects to this Interrogatory on the grounds that it seeks discovery that is not

relevant to either party’s claims or defenses and is not proportional to the needs of the case. Match


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further objects to this Interrogatory insofar as it suggests that Match Group, Inc. ever offered any

kind of “Match Guarantee” or maintained a “Chargeback” policy. Match.com has permanently

discontinued the “Match Guarantee” and related practices, as well as all practices related to

“Chargebacks,” and Match has repeatedly told the FTC this orally and in writing. Match is

prepared to enter a binding stipulation in a form acceptable to the Court that Match could never

and would never, and Match.com would never, engage in the conduct challenged in Counts III and

IV in the Complaint, to which this discovery relates. The FTC has identified no evidence that the

challenged conduct is about to, or is likely to, recur. Thus, the question of whether any injunctive

relief should be issued that addresses this alleged conduct is moot and does not ever need to be

litigated. The Court has also dismissed with prejudice any claim by the FTC for monetary relief

based on the conduct at issue in this Interrogatory. For these reasons, discovery into the questions

of what occurred or whether the alleged conduct related to the “Match Guarantee” or

“Chargebacks” violated the FTC Act are impermissibly burdensome and calculated to harass.

       Match further objects to this Interrogatory because, by asking for the identity of all persons

that Match “consulted with” in responding to the FTC’s CID or discovery requests, it seeks

documents or information that is subject to the attorney-client privilege and work-product doctrine.

The FTC is not entitled to know the identity of every individual with whom Match’s attorneys

consulted.

INTERROGATORY NO. 2: Describe any criteria Match uses or has used to determine whether
to grant a Customer’s request for a refund relating to PTR Ads, fraud or alleged fraud, Match
Guarantees, consumer’s belief that they had already canceled their subscription, or his or her
claimed lack of knowledge about recurring charges.

RESPONSE: Match objects to this Interrogatory because “PTR Ads” is vague and undefined,

and to the extent this Interrogatory seeks Privileged Information. Match further objects to this

Interrogatory on the grounds that it seeks discovery that is not relevant to either party’s claims or

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defenses and is not proportional to the needs of the case. Match further objects to this Interrogatory

insofar as it suggests that Match Group, Inc. ever offered any kind of “Match Guarantee.”

Match.com has permanently discontinued the “Match Guarantee” and related practices, and Match

has repeatedly told the FTC this orally and in writing. Match is prepared to enter a binding

stipulation in a form acceptable to the Court that Match could never and would never, and

Match.com would never, engage in the conduct challenged in Counts III and IV in the Complaint,

to which this discovery relates. The FTC has identified no evidence that the challenged conduct

is about to, or is likely to, recur. Thus, the question of whether any injunctive relief should be

issued that addresses this alleged conduct is moot and does not ever need to be litigated. The Court

has also dismissed with prejudice any claim by the FTC for monetary relief based on the conduct

at issue in this Interrogatory. For these reasons, discovery into the questions of what occurred or

whether the alleged conduct related to the “Match Guarantee” violated the FTC Act are

impermissibly burdensome and calculated to harass.

       Match further objects to this Interrogatory as irrelevant, overly broad, unduly burdensome,

and disproportionate to the needs of the case, in that it seeks information that is beyond the scope

of Plaintiff’s Complaint, because Count I and II relating to PTR Ads and fraud or alleged fraud

were dismissed with prejudice by the Court on March 24, 2022. See ECF No. 86 (“The Court []

grants Defendant Match Group, Inc.’s Motion to Dismiss Counts I and II because Match is entitled

to immunity under 47 U.S.C. § 230 of the Communications Decency Act, thus those claims are

barred and dismissed with prejudice.”). Additionally, Match objects to this Interrogatory as it

includes more than one single discrete question, and incorporates definitions that further imbed a

series of subpart questions, ultimately violating the Rules that limit each party to 25 single




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questions, including subparts. Match further objects to this Interrogatory to the extent it purports

to impose a burden beyond what is required by the Rules and Local Rules.

       Subject to and without waiving the foregoing objections, Match responds as follows: Match

Group, Inc. does not use any criteria to determine whether to grant a Match.com Customer’s

request for a refund relating to a consumer’s belief that they had already canceled their

subscription, or his or her claimed lack of knowledge about recurring charges because Match

Group, Inc. does not own or operate Match.com. Match expressly reserves the right to supplement

or amend this response, as discovery and document production is ongoing.

INTERROGATORY NO. 3: Identify and describe in complete detail the full basis for each
affirmative defense You have asserted in Your Answer, including but not limited to every fact and
document that supports, contradicts, refutes, or rebuts that particular affirmative defense, and every
witness who may have information or testimony relevant to that particular defense.

RESPONSE: Match objects to this Interrogatory because “relevant” is vague and undefined and

to the extent this Interrogatory seeks Privileged Information. Match further objects to this

Interrogatory on the grounds that it seeks discovery that is not relevant to either party’s claims or

defenses and is not proportional to the needs of the case. Match further objects to this Interrogatory

insofar as it suggests that Match Group, Inc. ever offered any kind of “Match Guarantee” or

maintained a Chargeback policy.         Match.com has permanently discontinued the “Match

Guarantee” and related practices, as well as all practices related to “Chargebacks,” and Match has

repeatedly told the FTC this orally and in writing. Match is prepared to enter a binding stipulation

in a form acceptable to the Court that Match could never and would never, and Match.com would

never, engage in the conduct challenged in Counts III and IV in the Complaint, to which this

discovery relates. The FTC has identified no evidence that the challenged conduct is about to, or

is likely to, recur. Thus, the question of whether any injunctive relief should be issued that

addresses this alleged conduct is moot and does not ever need to be litigated. The Court has also

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dismissed with prejudice any claim by the FTC for monetary relief based on the conduct at issue

in this Interrogatory. For these reasons, discovery into the questions of what occurred or whether

the alleged conduct related to the “Match Guarantee” or “Chargebacks” violated the FTC Act are

impermissibly burdensome and calculated to harass.

        Match further objects that this Interrogatory is vague, ambiguous, confusing, irrelevant,

not proportional to the needs of the case, and overly burdensome in that Plaintiff defines “You” as

including “Match Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions,

joint ventures, operations under assumed names, and affiliates, and all directors, officers,

employees, agents, consultants, and other persons working for or on behalf of the foregoing.”

Plaintiff’s definition of “You” necessarily and inappropriately includes other entities or dating sites

that are not relevant to the claims or allegations in the Complaint. Match also objects to this

Interrogatory as premature and to the extent it seeks to require Match to marshal all of its evidence

before trial. Match further objects to this Interrogatory to the extent it purports to impose a burden

beyond what is required by the Rules and Local Rules. Match also objects to this Interrogatory to

the extent it seeks to require Match to provide information that is not in its possession, custody, or

control, or that is already in Plaintiff’s possession, custody, or control.

        Subject to and without waiving the foregoing objections, Match responds as follows:

        First Affirmative Defense (Failure to State a Claim): Match asserts FTC’s Complaint fails

to state a claim, including because the Complaint names the wrong entity. Since March 2017,

when the FTC served Match Group, Inc. with the Civil Investigative Demand (“CID”), Match has

repeatedly informed the FTC that Match Group, Inc. is in fact a separate holding company, and

Match Group, LLC (formerly named Match.com, LLC) actually owns and operates Match.com.

For example, Match stated in its May 15, 2017 Interrogatory Responses to the FTC’s CID that



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Match.com, LLC is the general operating company that operates Match.com. Delaware Secretary

of State records show that Match.com, LLC filed a certificate of amendment on September 12,

2017, changing its name from Match.com, LLC to Match Group, LLC. Match continued to raise

these concerns in a December 16, 2018 White Paper and in negotiating a potential Consent Order

with the FTC. Additionally, shortly after the Complaint was served, counsel for Match emailed

the FTC to again inform it that Match Group, Inc. was incorrectly named as a defendant in the

lawsuit and should be voluntarily dismissed.       See Dkt. 21 at 35.      Counsel for the FTC

acknowledged the email but declined to voluntarily dismiss the Complaint against Match Group,

Inc. See id. at 37.

       The Complaint fails to state a claim for the additional reason that the Guarantee and

Chargeback policy at issue in the Complaint were discontinued prior to the FTC filing suit, and

there are no plans to resume those practices, as the FTC is aware from multiple communications.

Thus, both Match Group, Inc. and Match.com are not violating, nor are they about to violate, the

FTC Act.

       Second Affirmative Defense (Compliance with Applicable Law):              The Complaint’s

Count V fails as Match did not violate Section 4 of ROSCA, 15 U.S.C. § 8403. As a preliminary

matter, Match Group, Inc. does not own or operate Match.com and thus could not have engaged

in the practices at issue in the Complaint. Rather, at all times with respect to Count V, Match.com

complied with all applicable laws and acted reasonably and in good faith. As a preliminary matter,

even assuming that the online cancelation flow at issue in Count V is not simple (although it is),

the plain language of ROSCA requires only “simple mechanisms” for cancelation, and ROSCA

does not provide that every cancelation method must be simple. Count V fails because Match.com

offers several other cancelation methods in full compliance with ROSCA, including simple



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methods to cancel by phone, fax, email, internet chat, or standard mail, and the FTC challenges

only the online cancelation method. Thus, even if the FTC were correct (which it is not) that the

online cancelation flow is not simple, the existence of other unchallenged methods of cancelation

defeats the FTC’s claim.

       Count V also fails because the Match.com online cancelation flow is not complicated or in

any material way different from numerous other online subscription cancelation mechanisms. It

is essentially industry standard. Consumers in fact readily canceled using the Match.com online

cancelation flow, as reflected by data proving that subscribers have no difficulty canceling via the

online cancelation flow, which can be completed in less than one minute. Based on data reviewed

during the FTC’s pre-suit investigation, on average, 89% of Match.com subscribers who initiated

an online cancelation request successfully canceled their subscription within the same day.

       Third Affirmative Defense (Good Faith Belief and Conduct): As a preliminary matter,

Match Group, Inc. does not own or operate Match.com and thus could not have engaged in the

practices at issue in the Complaint. Match.com’s subscription cancelation flow was designed and

implemented to be simple and readily accessible to users.

       Fourth Affirmative Defense (Requested Relief Contrary to Public Policy):               As a

preliminary matter, Match Group, Inc. does not own or operate Match.com and thus could not have

engaged in the practices at issue in the Complaint. The FTC’s requested relief with respect to

Count V is contrary to the public interest because Match.com’s online cancelation flow is intended

to benefit consumers by protecting their privacy (by requiring them to insert their passwords prior

to accessing private account information, such as billing), offering them discounted rates, and

allowing Match.com to understand how to better serve them.




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       Fifth Affirmative Defense (Alleged Failure to Clearly and Conspicuously Disclose Not

Material): As a preliminary matter, Match Group, Inc. does not own or operate Match.com and

thus could not have engaged in the practices at issue in the Complaint. Any alleged failure by

Match.com to clearly and conspicuously disclose some requirements of the guarantee practice was

not material because most consumers who did not qualify for the guarantee failed to satisfy the

requirements that were unquestionably adequately disclosed (i.e., the requirements in the

numbered and bullet-pointed list in the Program Rules). So even had other requirements been

more clearly and conspicuously disclosed (or waived), most users would not have been eligible

for a guarantee regardless.

       Sixth Affirmative Defense (Mootness): As a preliminary matter, Match Group, Inc. does

not own or operate Match.com and thus could not have engaged in the practices at issue in the

Complaint. As to Count III, Match asserts the FTC’s claim for injunctive relief is moot under

applicable law. The FTC admits in its Complaint that this guarantee practice at issue in Count III

ceased in mid-2019 (but it was actually permanently discontinued in April 2019). Match asserts

Count IV is also moot, because, as the FTC admits in its Complaint, Match.com’s chargeback

practice ceased in mid-2019 (but it was actually permanently discontinued in March 2019). Count

IV’s claim for injunctive relief is therefore also moot. There is nothing to enjoin because the

challenged practices have been discontinued.

       Seventh Affirmative Defense (Overbroad Injunction): As a preliminary matter, Match

Group, Inc. does not own or operate Match.com and thus could not have engaged in the practices

at issue in the Complaint. The FTC’s requested injunction with respect to Count III and the

“guarantee” practice is overbroad and not specifically tailored to the violations alleged in the

Complaint. The FTC’s requested injunction with respect to Count IV and the chargeback policy



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is overbroad and not specifically tailored to the violations alleged in the Complaint. Finally, the

FTC’s requested injunction is overbroad and not specifically tailored to the violations alleged in

the Complaint. In particular, the FTC’s requested injunction is overbroad not only because the

Complaint fails to allege all necessary facts, but also because the FTC attempts to apply such

injunction to Match Group, Inc., which does not own or operate Match.com, and to brands other

than Match.com that are not implicated by the Complaint.

       Eighth Affirmative Defense (Mitigation): As a preliminary matter, Match Group, Inc. does

not own or operate Match.com and thus could not have engaged in the practices at issue in the

Complaint. With respect to Count V, the FTC has not offered any reliable methodology for

quantifying alleged consumer harm, and any restitution amount would be subject to mitigation to

the extent that consumers received refunds or utilized the services on the renewed subscription.

       Ninth Affirmative Defense (Reservation of Other Affirmative Defenses): Match lacks

sufficient information regarding the facts and evidence alleged and is therefore unable to ascertain

at this time any additional affirmative defenses which Match may have. Therefore, Match

expressly reserves the right to amend its Answer to assert such other affirmative defenses as may

become apparent subsequent to the filing of its Answer, whether in discovery, at trial, or otherwise.

       Match expressly reserves the right to supplement or amend this response, as discovery and

document production is ongoing.

INTERROGATORY NO. 4: Identify any tests, reports, A/B testing, Customer surveys, usability
tests, focus groups, or other user experience studies, whether formal or informal, You have
conducted related to:

      a.      Match Guarantees;
      b.      Chargebacks; and
      c.      means of subscription renewal or cancellation.




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Your response to this Interrogatory should include descriptions of the types of usability studies,
beta studies, and surveys that the response covers. In addition, please provide Your response in
machine-readable format, for example, in a .csv or spreadsheet file format.

RESPONSE: Match objects to this Interrogatory because “tests,” “reports,” “A/B testing,”

“surveys,” “usability tests,” “focus groups,” “user experience studies,” “formal,” and “informal”

are vague and undefined, and to the extent this Interrogatory seeks Privileged Information. Match

further objects to this Interrogatory on the grounds that it seeks discovery that is not relevant to

either party’s claims or defenses and is not proportional to the needs of the case. Match further

objects to this Interrogatory insofar as it suggests that Match Group, Inc. ever offered any kind of

“Match Guarantee” or maintained a Chargeback policy. Match.com has permanently discontinued

the “Match Guarantee” and related practices, as well as all practices related to “Chargebacks,” and

Match has repeatedly told the FTC this orally and in writing. Match is prepared to enter a binding

stipulation in a form acceptable to the Court that Match could never and would never, and

Match.com would never, engage in the conduct challenged in Counts III and IV in the Complaint,

to which this discovery relates. The FTC has identified no evidence that the challenged conduct

is about to, or is likely to, recur. Thus, the question of whether any injunctive relief should be

issued that addresses this alleged conduct is moot and does not ever need to be litigated. The Court

has also dismissed with prejudice any claim by the FTC for monetary relief based on the conduct

at issue in this Interrogatory. For these reasons, discovery into the questions of what occurred or

whether the alleged conduct related to the “Match Guarantee” or “Chargebacks” violated the FTC

Act are impermissibly burdensome and calculated to harass.

       Match further objects that this Interrogatory is vague, ambiguous, confusing, irrelevant,

not proportional to the needs of the case, and overly burdensome in that Plaintiff defines “You” as

including “Match Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions,



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joint ventures, operations under assumed names, and affiliates, and all directors, officers,

employees, agents, consultants, and other persons working for or on behalf of the foregoing.”

Plaintiff’s definition of “You” necessarily and inappropriately includes other entities or dating sites

that are not relevant to the claims or allegations in the Complaint. Additionally, Match objects to

this Interrogatory as it includes more than one single discrete question, and incorporates definitions

that further imbed a series of subpart questions, ultimately violating the Rules that limit each party

to 25 single questions, including subparts. Match further objects to this Interrogatory to the extent

it purports to impose a burden beyond what is required by the Rules and Local Rules.

       Subject to and without waiving the foregoing objections, Match responds with respect to

subpart (c) as follows: pursuant to Federal Rule of Civil Procedure 33(d), Match directs the FTC

to any documents that will be produced in response to the FTC’s RFP No. 26. Match expressly

reserves the right to supplement or amend this response, as discovery and document production is

ongoing.

INTERROGATORY NO. 5:

On a monthly basis, state:

      a.      the number of Match.com subscriptions subject to the Guarantee sold;
      b.      the number of Guarantee Extensions that Match provided Customers;
      c.      the number of Customer inquiries regarding the automatic renewal of subscriptions
              subject to the Match Guarantee;
      d.      the number of refund requests Customers submitted to Match relating to Match
              Guarantees and the dollar amount of these requested refunds; and
      e.      the number of refunds Match granted relating to Match Guarantees and the amount
              of money refunded relating to Match Guarantees.

RESPONSE: Match objects to this Interrogatory because “subscriptions” and “inquires” are

vague and undefined and to the extent this Interrogatory seeks Privileged Information. Match

further objects to this Interrogatory on the grounds that it seeks discovery that is not relevant to

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either party’s claims or defenses and is not proportional to the needs of the case. Match further

objects to this Interrogatory insofar as it suggests that Match Group, Inc. ever offered any kind of

“Match Guarantee” or maintained a Chargeback policy. Match.com has permanently discontinued

the “Match Guarantee” and related practices, and Match has repeatedly told the FTC this orally

and in writing. Match is prepared to enter a binding stipulation in a form acceptable to the Court

that Match could never and would never, and Match.com would never, engage in the conduct

challenged in Counts III and IV in the Complaint, to which this discovery solely relates. The FTC

has identified no evidence that the challenged conduct is about to, or is likely to, recur. Thus, the

question of whether any injunctive relief should be issued that addresses this alleged conduct is

moot and does not ever need to be litigated. The Court has also dismissed with prejudice any claim

by the FTC for monetary relief based on the conduct at issue in this Interrogatory. For these

reasons, discovery into the questions of what occurred or whether the alleged conduct related to

the “Match Guarantee” violated the FTC Act are impermissibly burdensome and calculated to

harass.

          Match further objects that this Interrogatory is vague, ambiguous, confusing, irrelevant,

not proportional to the needs of the case, and overly burdensome in that Plaintiff defines “Match”

as including “Match Group, Inc., its wholly or partially owned subsidiaries, unincorporated

divisions, joint ventures, operations under assumed names, and affiliates, and all directors, officers,

employees, agents, consultants, and other persons working for or on behalf of the foregoing.”

Plaintiff’s definition of “Match” necessarily and inappropriately includes other entities or dating

sites that are not relevant to the claims or allegations in the Complaint. Additionally, Match objects

to this Interrogatory as it includes more than one single discrete question, and incorporates

definitions that further imbed a series of subpart questions, ultimately violating the Rules that limit



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each party to 25 single questions, including subparts. Match further objects to this Interrogatory

to the extent it purports to impose a burden beyond what is required by the Rules and Local Rules.

INTERROGATORY NO. 6: State all limitations on Customers’ rights to redeem a Match
Guarantee or receive a Guarantee Extension and all actions consumers had to complete to redeem
a Match Guarantee or receive a Guarantee Extension. For each such limitation or action Identify:

      a.      the date such limitation was implemented and/or eliminated;
      b.      all advertisements, notices, disclosures, or other notifications where Match disclosed
              the need to complete that action; and
      c.      The number of consumers whose request for a Guarantee Extension were denied due
              to that limitation or for failing to complete that particular action.
RESPONSE: Match objects to this Interrogatory because “rights to redeem,” “that limitation,”

and “that particular action” are vague and undefined and to the extent this Interrogatory seeks

Privileged Information. Match further objects to this Interrogatory on the grounds that it seeks

discovery that is not relevant to either party’s claims or defenses and is not proportional to the

needs of the case. Match further objects to this Interrogatory insofar as it suggests that Match

Group, Inc. ever offered any kind of “Match Guarantee.” Match.com has permanently

discontinued the “Match Guarantee” and related practices, and Match has repeatedly told the FTC

this orally and in writing. Match is prepared to enter a binding stipulation in a form acceptable to

the Court that Match could never and would never, and Match.com would never, engage in the

conduct challenged in Counts III and IV in the Complaint, to which this discovery solely relates.

The FTC has identified no evidence that the challenged conduct is about to, or is likely to, recur.

Thus, the question of whether any injunctive relief should be issued that addresses this alleged

conduct is moot and does not ever need to be litigated. The Court has also dismissed with prejudice

any claim by the FTC for monetary relief based on the conduct at issue in this Interrogatory. For

these reasons, discovery into the questions of what occurred or whether the alleged conduct related




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to the “Match Guarantee” violated the FTC Act are impermissibly burdensome and calculated to

harass.

          Additionally, Match objects to this Interrogatory as it includes more than one single

discrete question, and incorporates definitions that further imbed a series of subpart questions,

ultimately violating the Rules that limit each party to 25 single questions, including subparts.

Match further objects to this Interrogatory to the extent it purports to impose a burden beyond what

is required by the Rules and Local Rules.

INTERROGATORY NO. 7: Describe all of Match’s policies relating to Customer Chargebacks,
including regarding:

      a.        the circumstances in which Match will dispute a Customer Chargeback;
      b.        denying Customer account access due to a Chargeback request;
      c.        deleting or reinstating accounts of consumers who unsuccessfully attempt a
                Chargeback and when such deletions or reinstatements are effective; and
      d.        the effective dates of the policies.

RESPONSE: Match objects to the extent this Interrogatory seeks Privileged Information. Match

further objects to this Interrogatory on the grounds that it seeks discovery that is not relevant to

either party’s claims or defenses and is not proportional to the needs of the case. Match further

objects to this Interrogatory insofar as it suggests that Match Group, Inc. ever had any policy

relating to a Chargeback—or offered any kind of “Match Guarantee” or maintained a Chargeback

policy. Match.com has permanently discontinued “Chargebacks” and related practices, and Match

has repeatedly told the FTC this orally and in writing. Match is prepared to enter a binding

stipulation in a form acceptable to the Court that Match could never and would never, and

Match.com would never, engage in the conduct challenged in Counts III and IV in the Complaint,

to which this discovery solely relates. The FTC has identified no evidence that the challenged

conduct is about to, or is likely to, recur. Thus, the question of whether any injunctive relief should


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be issued that addresses this alleged conduct is moot and does not ever need to be litigated. The

Court has also dismissed with prejudice any claim by the FTC for monetary relief based on the

conduct at issue in this Interrogatory. For these reasons, discovery into the questions of what

occurred or whether the alleged conduct related to “Chargebacks” violated the FTC Act are

impermissibly burdensome and calculated to harass.

       Additionally, Match objects to this Interrogatory as it includes more than one single

discrete question, and incorporates definitions that further imbed a series of subpart questions,

ultimately violating the Rules that limit each party to 25 single questions, including subparts.

Match further objects to this Interrogatory to the extent it purports to impose a burden beyond what

is required by the Rules and Local Rules. Match also objects to this Interrogatory to the extent it

seeks to require Match to provide information that is not in its possession, custody, or control, or

that is already in Plaintiff’s possession, custody, or control.

INTERROGATORY NO. 8: On a monthly basis, state:

      a.      the number of Customer communications Match received regarding account
              cancellation or cancellation processes;
      b.      the number of refund requests made by Customers who claimed they believed they
              already canceled their subscriptions or who attempted to cancel;
      c.      the dollar value of the refund requests made by Customers who claimed they
              believed they already canceled their subscriptions or who attempted to cancel;
      d.      the number of refunds Match provided to Customers who claimed they believed they
              already canceled their subscriptions or who attempted to cancel;
      e.      the dollar value of the refunds provided to Customers who claimed they believed
              they already canceled their subscriptions or who attempted to cancel;
      f.      the amount charged to Customers who had requested a refund on the basis that they
              believed they had cancelled and had this request denied by Match; and
      g.      the amount charged to Customers who had requested a refund on the basis that they
              were unaware of Match’s recurring charge and had this request denied by Match.




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RESPONSE:         Match objects to this Interrogatory because “communications,” “account

cancellation or cancellation processes,” “attempted,” “believed,” and “claimed,” are vague and

undefined and to the extent this Interrogatory seeks Privileged Information. Match further objects

that this Interrogatory is vague, ambiguous, confusing, irrelevant, not proportional to the needs of

the case, and overly burdensome in that Plaintiff defines “Match” as including “Match Group, Inc.,

its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures, operations

under assumed names, and affiliates, and all directors, officers, employees, agents, consultants,

and other persons working for or on behalf of the foregoing.” Plaintiff’s definition of “Match”

necessarily and inappropriately includes other entities that are not relevant to the claims or

allegations in the Complaint. Furthermore, Plaintiff’s definition of “Match,” which is defined to

“include any descriptor used by Match in its business practice,” encompasses other entities and

dating sites that are not relevant to this matter, including, but not limited to, OKCupid, Plenty of

Fish, and Tinder. Additionally, Match objects to this Interrogatory as it includes more than one

single discrete question, and incorporates definitions that further imbed a series of subpart

questions, ultimately violating the Rules that limit each party to 25 single questions, including

subparts. Match further objects to this Interrogatory to the extent it purports to impose a burden

beyond what is required by the Rules and Local Rules. Match also objects to this Interrogatory to

the extent it seeks to require Match to provide information that is not in its possession, custody, or

control, or that is already in Plaintiff’s possession, custody, or control. By responding to this

Interrogatory, Match does not concede the relevancy of this Interrogatory nor the relevancy or

admissibility of any information provided in response thereto. The fact that information is

provided in response to this Interrogatory does not mean that it is probative of any particular issue

in this case.



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       Subject to and without waiving the foregoing objections, Match responds as follows:

Match Group, Inc. has not received any Customer communications or refund requests because

Match Group, Inc. does not own or operate Match.com (or any other dating site).

       Match expressly reserves the right to supplement or amend this response, as discovery and

document production is ongoing.

INTERROGATORY NO. 9: Describe each method through which consumers could cancel their
subscriptions. For each such method, describe in detail:

      a.      how Match informed or disclosed to consumers the availability of each method;
      b.      each step that consumers would have to take in order to successfully cancel;
      c.      each representation that Match would make to consumers at each step in the
              cancellation process; and
      d.      by month, how many Customers attempted to cancel via that particular method;
      e.      by month, how many Customers successfully canceled via that particular method.

RESPONSE: Match objects to this Interrogatory because “attempted” is vague and undefined

and to the extent this Interrogatory seeks Privileged Information. Match further objects that this

Interrogatory is vague, ambiguous, confusing, irrelevant, not proportional to the needs of the case,

and overly burdensome in that Plaintiff defines “Match” as including “Match Group, Inc., its

wholly or partially owned subsidiaries, unincorporated divisions, joint ventures, operations under

assumed names, and affiliates, and all directors, officers, employees, agents, consultants, and other

persons working for or on behalf of the foregoing.” Plaintiff’s definition of “Match” necessarily

and inappropriately includes other entities that are not relevant to the claims or allegations in the

Complaint. Furthermore, Plaintiff’s definition of “Match,” which is defined to “include any

descriptor used by Match in its business practice,” encompasses other entities and dating sites that

are not relevant to this matter, including, but not limited to, OKCupid, Plenty of Fish, and Tinder.

Additionally, Match objects to this Interrogatory as it includes more than one single discrete


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question, and incorporates definitions that further imbed a series of subpart questions, ultimately

violating the Rules that limit each party to 25 single questions, including subparts. Match also

objects to this Interrogatory as premature and to the extent it seeks to require Match to marshal all

of its evidence before trial. Match further objects to this Interrogatory to the extent it purports to

impose a burden beyond what is required by the Rules and Local Rules. Match also objects to this

Interrogatory to the extent it seeks to require Match to provide information that is not in its

possession, custody, or control, or that is already in Plaintiff’s possession, custody, or control. By

responding to this Interrogatory, Match does not concede the relevancy of this Interrogatory nor

the relevancy or admissibility of any information provided in response thereto. The fact that

information is provided in response to this Interrogatory does not mean that it is probative of any

particular issue in this case.

        Subject to and without waiving the foregoing objections, Match responds as follows: Match

Group, Inc. does not inform, disclose to, or make representations to Match.com subscribers,

because Match Group, Inc. does not own or operate Match.com (or any other dating site).

Therefore, Match Group, Inc. does not have the cancelation data requested by this Interrogatory.

        Match expressly reserves the right to supplement or amend this response, as discovery and

document production is ongoing.

Dated: July 19, 2022                                  Respectfully submitted,

                                                      /s/ Angela C. Zambrano
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the above and forgoing document

was served on all counsel of record via e-mail as outlined below on July 19, 2022.

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                                                    /s/ Angela C. Zambrano
                                                    Angela C. Zambrano




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                  EXHIBIT 1-H




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                                          UNITED STATES DISTRICT COURT
                                       FOR THE NORTHERN DISTRICT OF TEXAS
                                                 DALLAS DIVISION


             FEDERAL TRADE COMMISSION,

                                              Plaintiff,

                       vs.                                                Case No. 3:19-cv-02281-K

             MATCH GROUP, INC.,

                                              Defendant.


                       AMARNATH THOMBRE’S VERIFICATION OF MATCH GROUP, INC.’S
                         RESPONSES TO PLAINTIFF FEDERAL TRADE COMMISSION’S
                                    FIRST SET OF INTERROGATORIES

                       I, Amarnath Thombre, state that I am an employee of Match Group, LLC and a CEO-

             appointed officer of Match Group, Inc. I serve as the Chief Executive Officer of Match Group

             Americas and provide this verification of Match Group, Inc.’s (“Match”) Responses to Plaintiff

             Federal Trade Commission’s First Set of Interrogatories (the “Responses”). I further state that the

             Responses have been prepared by counsel for Match in consultation with me and others with

             knowledge of the matters involved; that the facts are based upon the business records of Match,

             with which I have general familiarity; and that, to the best of my knowledge and belief, all of the

             facts stated therein are true and correct in all material respects with the understanding that Match

             is continuing to research its Responses and reserves the right to supplement its Responses as

             authorized by the Federal Rules of Civil Procedure and any other applicable law.

                       I verify under penalty of perjury that the foregoing is true and correct in all material

             respects.




             VERIFICATION OF MATCH GROUP, INC.’S RESPONSES
             TO FTC’S FIRST SET OF INTERROGATORIES                                                    PAGE 1 OF 2


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             Dated: July 19, 2022                            Respectfully submitted,



                                                             Amarnath Thombre




             VERIFICATION OF MATCH GROUP, INC.’S RESPONSES
             TO FTC’S FIRST SET OF INTERROGATORIES                                              PAGE 2 OF 2


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                  EXHIBIT 1-I




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Zachary A. Keller                                                       *FOIA CONFIDENTIAL*
June 13, 2017

Interrogatory #15

Describe the company’s notifications and other disclosures to Customers Relating to the
following:

    a. Free trial offers;
    b. Guarantees, including;
          i.   Notifications prior to the Company charging a Customer’s account for a
               successive subscription when that Customer has attempted to comply with the
               Guarantees;
         ii.   Notifications Relating to Customers’ compliance status; and
        iii. Notifications Relating to upcoming compliance criteria.
    c. Renewal of service packages not related to free trial offers or Guarantees;
    d. Account cancellation;
    e. The consequences of bringing a Chargeback against the Company; and
    f. Use of Test Profiles, including:
          i.   Disclosures made within the Test Profile itself;
         ii.   Disclosures contained in communications made by the Test Profile; and
        iii. Any other form of disclosure or signal whereby Customers can distinguish Test
               Profiles from Customer profiles.

Additional Limitation: Match to describe only the Company’s current disclosures.

Response to Interrogatory #15 (current disclosures)

Match’s previous response to Interrogatory 14 contains in-depth descriptions of Match’s current
policies and practices relating to free trial offers, guarantees, renewal of service packages not
related to free trial offers or guarantees, account cancellation, consequences of chargebacks, and
the use of Test Profiles. Summaries of Match’s current notifications and other disclosures for the
same are described below.

    a. Disclosures Regarding Free Trial Offers

Match offers both three-day and seven-day free trial subscriptions, which allow members to try
the service before determining whether they wish to continue using Match’s paid features. To
activate a free trial, members must have already created a Match.com account by registering with
a valid email address and providing basic profile information, including gender, date of birth,
and zip code. As demonstrated below, all material terms and conditions of these free trial offers
are disclosed in full compliance with the Restore Online Shoppers’ Confidence Act (“ROSCA”)
and all other applicable laws. Specifically, prior to activating a free trial, members are informed
of (i) the length of the free trial, (ii) the fact that the free trial will automatically convert to the
paid subscription selected if the consumer does not cancel before the expiration of the free trial
period, (iii) when the free trial expires, and (iv) the amount the consumer will be charged if he or
she does not cancel. These disclosures are presented to consumers multiple times before Match
obtains consumers’ billing information. After these multiple disclosures (which are then
repeated to consumers after enrollment), Match obtains consumers’ express informed consent to


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As with the free trial offer, the “Subscribe Now” button unambiguously communicates to
consumers that they are providing express consent to be enrolled in the automatic renewal plan.
Further, the consumer’s consent is unquestionably informed because Match has clearly and
conspicuously communicated to the consumer, immediately above the “Subscribe Now” button
and multiple other times on this page and on the prior page of the enrollment flow, the terms and
conditions of the automatic renewal offer.

               3. Easy Method of Cancellation

As described in more detail below, in Match’s response to Interrogatory 15(d) regarding Account
Cancellation, subscribers can cancel enrollment in an automatically renewing subscription by
following the instructions on the “change / cancel” membership” page within “Account
Settings.” Subscribers may also cancel by calling or emailing Match customer service or
sending written notice of cancellation to Match’s physical address. These methods of
cancellation are disclosed to the consumer multiple times, at each step of the registration process.

First, the subscription selection page provides consumers access to the “Billing – Continuous
Service” with the “Learn More” hyperlink under the bolded “Billing – Continuous Service” text
box. That page states: “To change or cancel your subscription at any time, click the “Account”
link on the upper-right corner of the website and follow the directions. You can also change or
cancel your subscription by contacting our Customer Care team as directed on the website.” (See
Figure 21).




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                         Figure 21: Excerpts from Figures 4 and 19 with red highlights.

Second, Match informs consumers of the cancellation mechanisms again on the billing page with
a disclosure above the “Subscribe Now” button. The disclosure states again that the consumers’
subscriptions will automatically renew and that consumers can “cancel via your Account Settings
page [.]” (See Figure 22 below). Also above the “Subscribe Now” button is a hyperlink with the
words “Learn More” in bolded, blue text that again leads to the “Billing – Continuous Service”
screen that describes the cancellation methods in detail. (See Figure 22 below).




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    Figure 22: Excerpt of billing page with red squares for emphasis. (See Bates No. MATCHFTC000054)

Immediately to the left of the “Subscribe Now” button is a hyperlink to Match’s Terms of Use in
bolded, blue text. (See Figure 22). The Terms of Use also disclose the easy-to-use cancellation
methods to the consumers: “You may change or cancel your membership at any time, for any
reason, by following the instructions on the “change/ cancel membership” or similar page on
your “Account Settings” page. You may change or cancel your subscription at any time online
by following the instructions on the “Subscription” page on your “Account Settings” page. You
may also cancel your membership by sending the Company written notice of cancellation to
Match.com, P.O. Box 25472, Dallas, Texas 75225 or by email notice of cancellation to Customer
Care.” (See Figure 23). The words “Customer Care” are a hyperlink that lead consumers to the
Customer Care page.




        Figure 23: Excerpt of Match Terms of Use Agreement. (See Bates No. MATCHFTC000227)

The confirmation page once again discloses to the consumer (now, a “subscriber”) the easy-to-
use methods of cancellation. The confirmation page clearly discloses: “To cancel, you may visit
your Account Settings at any time.” The words “Account Settings” are a hyperlink in bolded,

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blue text that lead consumers to the Account Settings page for easy cancellation. (See
MATCHFTC000084). The confirmation page also directs the subscriber to more information
available in the Match.com Terms of Use, which again list the multiple easy-to-use methods of
cancellation. (See Figures 6 and 23). Subscribers are provided this same information by email.
(See Bates No. MATCHFTC000084-MATCHFTC000086).

   d. Account Cancellation

In support of its continuous efforts to provide a positive subscriber experience, Match offers
several convenient and flexible means by which subscribers may cancel their subscriptions.
Subscribers may unilaterally cancel their Match subscriptions by visiting the “Account Settings”
page on the Match website. Subscribers may also cancel their subscriptions by contacting
customer service by voice, email, or online chat, or by writing to Match.com’s physical address.

Match subscribers may cancel their subscriptions at any time. Match confirms all cancellations
via email. In addition, subscribers who cancel online are also taken to a confirmation of
cancellation screen, once the cancellation has been processed.

               1. Online Cancellation

To unilaterally cancel an account online, subscribers first visit “Account Settings” and then click
on “Change/Cancel Membership” or the “Subscriptions” subpage. (See Figure 24 below). To
confirm the subscriber’s identity and choice, subscribers are prompted to insert their username
and password before making changes to or cancelling an account. Subscribers are then taken
through a brief online flow, ending at the subscription cancellation confirmation page. (See
Bates No. MATCHFTC000299).




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 Figure 24: Excerpts of the Account Settings and Subscription Status pages. (See Bates No. MATCHFTC000298)




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         Figure 25: Accessing online cancellation feature. (See Bates No. MATCHFTC000299)




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               Figure 26: Confirmation of cancellation. (See Bates No. MATCHFTC000292)

The subscription cancellation confirmation page provides the subscriber with a cancellation
confirmation number. It also states the last day of the subscriber’s subscription, for the
alleviation of doubt. After the cancellation has been processed, Match generates an automated
email, also confirming the cancellation and containing pertinent information. (See Bates No.
MATCHFTC000291).

As described above in Match’s responses to Interrogatories 15(a) regarding free trials and 15(c)
regarding renewal of services packages, Match discloses its easy-to-use cancellation methods
multiple times throughout the registration process. (See pages 2-15 and 21-27 respectively).
Match provides disclosures of how to cancel an account on the first page of the registration
process, on the billing page before the consumer subscribes, and again once the consumer has
subscribed. Additionally, the various easy-to-use methods of cancellation are described in detail
in Match’s Terms of Use Agreement, which is available via hyperlinks on the registration pages,
as well as the Main Page and subsequent pages as consumers navigate through Match.com. In
addition to the numerous disclosures throughout the Match.com pages, subscribers may also find
information on how to cancel an account by visiting the Match Frequently Asked Questions
page, and either clicking “Canceling a Membership” under “Most Popular Questions” or
searching for terms related to account Cancellation.




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Zachary A. Keller                                                   *FOIA CONFIDENTIAL*
June 13, 2017




          Figure 27: Match FAQ “Canceling a Membership.” (See Bates No. MATCHFTC000303)

Finally, due to Match’s popularity, consumers can easily find out how to change or cancel their
subscriptions with a quick Google search using terms as simple as “match cancel.” (See Figure
28 below).




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                                                                                                  APP 115
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Zachary A. Keller                                                     *FOIA CONFIDENTIAL*
June 13, 2017




                            Figure 28: Google search for “match cancel”

   e. Chargebacks

Paragraph 12(a) of the current Match.com Terms of Use Agreement clearly states to the
Customer: “If you initiate a chargeback or otherwise reverse a payment made with your Payment

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                  EXHIBIT 1-J




                                                                                 APP 117
                                                                            Case 3:19-cv-02281-K Document 134 Filed 08/29/22                                                                                                 Page 122 of 188 PageID 1567



Subject:                                                                                                                                                             RE: FTC v. Match Group, Inc., No. 3:19-cv-02281-K (N.D. Tex.)



From: Hummel, Chad S. <chummel@sidley.com>
Date: Thursday, Aug 18, 2022, 12:13 PM
To: Tepfer, Reid A. <rtepfer@ftc.gov>, Zambrano, Angela <angela.zambrano@sidley.com>, Aijaz, Hasan <maijaz@ftc.gov>,
Priest, Chelsea A. <cpriest@sidley.com>, Bragg, Tayler G. <tbragg@sidley.com>, Zuckerman, Sarah <szuckerman@ftc.gov>,
O'Gorman, John <jogorman@ftc.gov>, Hilliard, Erica <ehilliard@ftc.gov>
Subject: RE: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)

We will send a zoom invite and we are hoping to get you the letter today. To be clear, it is our intent to cover only the
topics in the letter on this call. Thanks. Chad.

Sent with BlackBerry Work
(www.blackberry.com)



From: Tepfer, Reid A. <rtepfer@ftc.gov>
Date: Thursday, Aug 18, 2022, 10:11 AM
To: Zambrano, Angela <angela.zambrano@sidley.com>, Hummel, Chad S. <chummel@sidley.com>, Aijaz, Hasan
<maijaz@ftc.gov>, Priest, Chelsea A. <cpriest@sidley.com>, Bragg, Tayler G. <tbragg@sidley.com>, Zuckerman, Sarah
<szuckerman@ftc.gov>, O'Gorman, John <jogorman@ftc.gov>, Hilliard, Erica <ehilliard@ftc.gov>
Subject: RE: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)
Hi Angela—3PM works for us. Should we expect to receive the letter today? Talk to you soon. Thanks, Reid Reid Tepfer Federal Trade Commission (202) 677‐9483 From:
ZjQcmQRYFpfptBannerStart




EXTERNAL EMAIL - Use caution with links and attachments.
ZjQcmQRYFpfptBannerEnd




Hi Angela—3PM works for us. Should we expect to receive the letter today? Talk to you soon.

Thanks,
Reid

Reid Tepfer
Federal Trade Commission
(202) 677‐9483

From: Zambrano, Angela <angela.zambrano@sidley.com>
Sent: Thursday, August 18, 2022 11:03 AM
To: Hummel, Chad S. <chummel@sidley.com>; Tepfer, Reid A. <rtepfer@ftc.gov>; Aijaz, Hasan <maijaz@ftc.gov>; Priest,
Chelsea A. <cpriest@sidley.com>; Bragg, Tayler G. <tbragg@sidley.com>; Zuckerman, Sarah <szuckerman@ftc.gov>;
O'Gorman, John <jogorman@ftc.gov>; Hilliard, Erica <ehilliard@ftc.gov>
Subject: RE: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)

Can we make this 3 CT?

Angela C. Zambrano
(214) 981‐3405



                                                                                                                                                                                                            1



                                                                                                                                                                                                                                                           APP 118
                                                                             Case 3:19-cv-02281-K Document 134 Filed 08/29/22                                                                                                                          Page 123 of 188 PageID 1568
From: Hummel, Chad S. <chummel@sidley.com>
Date: Thursday, Aug 18, 2022, 9:49 AM
To: Tepfer, Reid A. <rtepfer@ftc.gov>, Aijaz, Hasan <maijaz@ftc.gov>, Priest, Chelsea A. <cpriest@sidley.com>, Bragg, Tayler
G. <tbragg@sidley.com>, Zuckerman, Sarah <szuckerman@ftc.gov>, O'Gorman, John <jogorman@ftc.gov>, Hilliard, Erica
<ehilliard@ftc.gov>
Cc: Zambrano, Angela <angela.zambrano@sidley.com>
Subject: RE: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)

That works. Let’s shoot for 230pm ct. we will send zoom invite. Thanks.

Sent with BlackBerry Work
(www.blackberry.com)



From: Tepfer, Reid A. <rtepfer@ftc.gov>
Date: Wednesday, Aug 17, 2022, 11:44 AM
To: Hummel, Chad S. <chummel@sidley.com>, Aijaz, Hasan <maijaz@ftc.gov>, Priest, Chelsea A. <cpriest@sidley.com>, Bragg,
Tayler G. <tbragg@sidley.com>, Zuckerman, Sarah <szuckerman@ftc.gov>, O'Gorman, John <jogorman@ftc.gov>, Hilliard,
Erica <ehilliard@ftc.gov>
Cc: Zambrano, Angela <angela.zambrano@sidley.com>
Subject: RE: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)
Chad, Of course; we can get this meeting on calendar. However, it would be difficult for us to make a meeting work tomorrow, as we have been very tied up this week working to prepare for our upcoming document production in response to MGI's




Chad,

Of course; we can get this meeting on calendar. However, it would be difficult for us to make a meeting work tomorrow,
as we have been very tied up this week working to prepare for our upcoming document production in response to MGI's
discovery requests. Would the afternoon of Wednesday the 24th work for you all? We have availability much of that
afternoon after 1pm.

Thanks,
Reid

Reid Tepfer
Federal Trade Commission
(202) 677‐9483

From: Hummel, Chad S. <chummel@sidley.com>
Sent: Wednesday, August 17, 2022 12:47 PM
To: Tepfer, Reid A. <rtepfer@ftc.gov>; Aijaz, Hasan <maijaz@ftc.gov>; Priest, Chelsea A. <cpriest@sidley.com>; Bragg,
Tayler G. <tbragg@sidley.com>; Zuckerman, Sarah <szuckerman@ftc.gov>; O'Gorman, John <jogorman@ftc.gov>;
Hilliard, Erica <ehilliard@ftc.gov>
Cc: Zambrano, Angela <angela.zambrano@sidley.com>
Subject: RE: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)

Need to set a time. Can walk through letter on the call. How about tomorrow at 3pm ct?

Sent with BlackBerry Work
(www.blackberry.com)



From: Tepfer, Reid A. <rtepfer@ftc.gov>
Date: Wednesday, Aug 17, 2022, 10:45 AM
                                                                                                                                                                                                                                                   2



                                                                                                                                                                                                                                                                                     APP 119
                                                                                Case 3:19-cv-02281-K Document 134 Filed 08/29/22                                                                                                                      Page 124 of 188 PageID 1569
To: Hummel, Chad S. <chummel@sidley.com>, Aijaz, Hasan <maijaz@ftc.gov>, Priest, Chelsea A. <cpriest@sidley.com>, Bragg,
Tayler G. <tbragg@sidley.com>, Zuckerman, Sarah <szuckerman@ftc.gov>, O'Gorman, John <jogorman@ftc.gov>, Hilliard,
Erica <ehilliard@ftc.gov>
Cc: Zambrano, Angela <angela.zambrano@sidley.com>
Subject: Re: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)
Hi Chad, I have returned from paternity leave. We would prefer to review your letter before scheduling a meeting to ensure that we have sufficient time to prepare for a productive conversation. I will reach back out after you have sent it.




Hi Chad,

I have returned from paternity leave. We would prefer to review your letter before scheduling a meeting to ensure that
we have sufficient time to prepare for a productive conversation. I will reach back out after you have sent it.

Thanks,
Reid


From: Hummel, Chad S. <chummel@sidley.com>
Sent: Wednesday, August 17, 2022 11:47 AM
To: Aijaz, Hasan <maijaz@ftc.gov>; Priest, Chelsea A. <cpriest@sidley.com>; Bragg, Tayler G. <tbragg@sidley.com>;
Tepfer, Reid A. <rtepfer@ftc.gov>; Zuckerman, Sarah <szuckerman@ftc.gov>; O'Gorman, John <jogorman@ftc.gov>;
Hilliard, Erica <ehilliard@ftc.gov>
Cc: Zambrano, Angela <angela.zambrano@sidley.com>
Subject: RE: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)

What time tomorrow? You will be receiving a letter this afternoon

Sent with BlackBerry Work
(www.blackberry.com)



From: Aijaz, Hasan <maijaz@ftc.gov>
Date: Sunday, Aug 14, 2022, 11:36 AM
To: Hummel, Chad S. <chummel@sidley.com>, Priest, Chelsea A. <cpriest@sidley.com>, Bragg, Tayler G.
<tbragg@sidley.com>, Tepfer, Reid A. <rtepfer@ftc.gov>, Zuckerman, Sarah <szuckerman@ftc.gov>, O'Gorman, John
<jogorman@ftc.gov>, Hilliard, Erica <ehilliard@ftc.gov>
Cc: Zambrano, Angela <angela.zambrano@sidley.com>
Subject: RE: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)
On Friday we reached a resolution of all the issues the parties had been negotiating at the time you requested a call. We are happy to talk, but please let us know what you want to discuss, and we’ll be able to get back to you on timing.




On Friday we reached a resolution of all the issues the parties had been negotiating at the time you requested a call.

We are happy to talk, but please let us know what you want to discuss, and we’ll be able to get back to you on timing.

Thank you,
‐Hasan



From: Hummel, Chad S. <chummel@sidley.com>
Sent: Saturday, August 13, 2022 2:19 AM
To: Aijaz, Hasan <maijaz@ftc.gov>; Priest, Chelsea A. <cpriest@sidley.com>; Bragg, Tayler G. <tbragg@sidley.com>;
Tepfer, Reid A. <rtepfer@ftc.gov>; Zuckerman, Sarah <szuckerman@ftc.gov>; O'Gorman, John <jogorman@ftc.gov>;
Hilliard, Erica <ehilliard@ftc.gov>
Cc: Zambrano, Angela <angela.zambrano@sidley.com>
Subject: RE: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)
                                                                                                                                                                                                                                                  3



                                                                                                                                                                                                                                                                                    APP 120
                                                                               Case 3:19-cv-02281-K Document 134 Filed 08/29/22                                                                                                                         Page 125 of 188 PageID 1570

Hasan: please let me know when the FTC can speak next Tuesday or Wednesday, per my prior email. We have numerous
issues to discuss and hope to resolve. Thank you.

Sent with BlackBerry Work
(www.blackberry.com)



From: Aijaz, Hasan <maijaz@ftc.gov>
Date: Saturday, Aug 13, 2022, 5:54 AM
To: Priest, Chelsea A. <cpriest@sidley.com>, Bragg, Tayler G. <tbragg@sidley.com>, Tepfer, Reid A. <rtepfer@ftc.gov>,
Zuckerman, Sarah <szuckerman@ftc.gov>, O'Gorman, John <jogorman@ftc.gov>, Hilliard, Erica <ehilliard@ftc.gov>
Cc: Zambrano, Angela <angela.zambrano@sidley.com>, Hummel, Chad S. <chummel@sidley.com>
Subject: RE: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)
Thank you From: Priest, Chelsea A. <cpriest@sidley.com> Sent: Friday, August 12, 2022 10:53 PM To: Aijaz, Hasan <maijaz@ftc.gov>; Bragg, Tayler G. <tbragg@sidley.com>; Tepfer, Reid A. <rtepfer@ftc.gov>; Zuckerman, Sarah




Thank you

From: Priest, Chelsea A. <cpriest@sidley.com>
Sent: Friday, August 12, 2022 10:53 PM
To: Aijaz, Hasan <maijaz@ftc.gov>; Bragg, Tayler G. <tbragg@sidley.com>; Tepfer, Reid A. <rtepfer@ftc.gov>;
Zuckerman, Sarah <szuckerman@ftc.gov>; O'Gorman, John <jogorman@ftc.gov>; Hilliard, Erica <ehilliard@ftc.gov>
Cc: Zambrano, Angela <angela.zambrano@sidley.com>; Hummel, Chad S. <chummel@sidley.com>
Subject: RE: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)

Hi Hasan,

On the login page, click forgot password, then enter your email address and it will email you a temporary password or a
link to create one. The password that Tayler provided is to open the file once you are logged in. The password for
ShareFile is separate.

Best,
Chelsea

Sent with BlackBerry Work
(www.blackberry.com)



From: Aijaz, Hasan <maijaz@ftc.gov>
Date: Friday, Aug 12, 2022, 10:49 PM
To: Bragg, Tayler G. <tbragg@sidley.com>, Tepfer, Reid A. <rtepfer@ftc.gov>, Zuckerman, Sarah <szuckerman@ftc.gov>,
O'Gorman, John <jogorman@ftc.gov>, Hilliard, Erica <ehilliard@ftc.gov>
Cc: Zambrano, Angela <angela.zambrano@sidley.com>, Hummel, Chad S. <chummel@sidley.com>, Priest, Chelsea A.
<cpriest@sidley.com>
Subject: RE: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)
Hi Taylor, Thank you for this. The link below directs to a login page, and I received an error when I attempted to use my email address and the password you provided in your follow‐up email. Please let me know if we are intended to create an




Hi Taylor,

Thank you for this. The link below directs to a login page, and I received an error when I attempted to use my email
address and the password you provided in your follow‐up email.

Please let me know if we are intended to create an account then use the provided password to open the file, as I want to
avoid creating an account if possible.
                                                                                                                                                                                                                                                    4



                                                                                                                                                                                                                                                                                      APP 121
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Thank you,
Hasan

From: Bragg, Tayler G. <tbragg@sidley.com>
Sent: Friday, August 12, 2022 7:40 PM
To: Tepfer, Reid A. <rtepfer@ftc.gov>; Aijaz, Hasan <maijaz@ftc.gov>; Zuckerman, Sarah <szuckerman@ftc.gov>;
O'Gorman, John <jogorman@ftc.gov>; Hilliard, Erica <ehilliard@ftc.gov>
Cc: Zambrano, Angela <angela.zambrano@sidley.com>; Hummel, Chad S. <chummel@sidley.com>; Priest, Chelsea A.
<cpriest@sidley.com>
Subject: FTC v. Match Group, Inc., No. 3:19‐cv‐02281‐K (N.D. Tex.)

Counsel,

Please see the attached. Below is the referenced secure FTP link:

        https://sidley.sharefile.com/f/fo3e8edb‐d5a3‐49be‐b4f4‐42b97ef29dd4

If you are unable to access this production for any reason or need us to send this via a different file sharing system,
please let us know.

Best,
Tayler

TAYLER G. BRAGG
Managing Associate

SIDLEY AUSTIN LLP
2021 McKinney Avenue
Suite 2000
Dallas, TX 75201
+1 214 981 3423
tbragg@sidley.com
www.sidley.com




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immediately.

**************************************************************************************************
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                  EXHIBIT 1-K




                                                                                 APP 123
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                                                 United States of America
                                         FEDERAL TRADE COMMISSION
                                               Southwest Region



Southwest Region
1999 Bryan Street, Suite 2150
Dallas, Texas 75201



        August 25, 2022

        By E-Mail only

        Chad S. Hummel
        Sidley Austin LLP
        1999 Avenue of the Stars, 17th Floor
        Los Angeles, CA 90067
        chummel@sidley.com

        Angela C. Zambrano
        Sidley Austin LLP
        2021 McKinney Ave, Suite 2000
        Dallas, Texas 75201
        Angela.zambrano@sidley.com

        Re:       FTC v. Match Group, Inc. and Match Group, LLC, Case No. 3:19-cv-02281-K (N.D. Tex.)

        Dear Mr. Hummel:

               I am writing in an effort to resolve the discovery dispute between the parties as identified in
        Match Group, Inc.’s (“MGI”) letter of August 18 (“MGI’s Letter”), the FTC’s letter of August 19
        (“FTC’s Letter”), and as discussed during our meet-and-confer call on August 24. Below, I first
        propose a fair and reasonable resolution to the purported deficiencies identified in MGI’s Letter, which
        should obviate the need to involve the Court on those issues. I then discuss Match’s ongoing refusal to
        address its discovery deficiencies. Finally, I address your assertion that a second conference call is
        required for the FTC to satisfy its meet and confer obligation before filing a motion to compel.

                  A. The FTC’s Proposed Resolution of the Purported Discovery Deficiencies Identified
                     by MGI

               The FTC has satisfied its discovery obligations under the Federal Rules, and MGI’s claims
        about purported deficiencies are without merit. Despite this, the FTC is willing to supplement its
        responses to satisfy your concerns. As I stated yesterday, the FTC is committed to amending its
        responses within two weeks of our meet and confer and will provide them no later than September 7,
        2022. Below, I detail the FTC’s plans for supplementing its responses to MGI’s Requests for
        Production (“RFPs”), Interrogatories, and Request for Admission.




                                                                                                               APP 124
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       RFPs

        Although the FTC has properly objected to many of the RFPs, the FTC has conducted a
diligent search for responsive documents and is not withholding any non-privileged non-work product
documents that are responsive and relevant to these requests except where explicitly stated in our
responses. The FTC produced all such documents that were nonconfidential last Friday, Aug. 19 and
has produced today all confidential documents subject to the stipulated protective order in this case. In
addition, the FTC will be producing additional documents relating to Request 17. As drafted, this
request was unintelligible because it asked for complaints about Count V, not the practices described in
the Count V. The FTC can produce additional complaints in response to the new question propounded
in your August 18 letter under the guise of clarifying Request 17.

       Interrogatories

      The FTC will amend its interrogatory responses to add additional details and cites to specific
documents, by Bates number, as described below:

              Regarding Interrogatories 1 and 7: These interrogatories seek facts and evidence
               supporting the FTC’s contentions. Contrary to your assertion that “the FTC doesn’t
               point to anything specific at all,” the FTC’s responses identified facts, drawing on
               specific language found in documents MGI produced in response to the FTC’s 2017
               Civil Investigative Demand. However, we will be amending these interrogatory
               responses to cite by Bates number to the specific documents referenced.

              Regarding Interrogatory 2: Contrary to your assertions, the FTC has responded to this
               interrogatory by identifying specific facts that render Match.com’s cancellation process
               not simple under the Restore Online Shoppers’ Confidence Act. However, the FTC will
               amend by identifying, by Bates number, specific documents supporting the facts
               identified in this interrogatory response.

              Regarding Interrogatory 3: As you admitted on our August 24 discussion, MGI must
               submit revised data for the FTC to provide current figures relating to the consumer
               injury caused by MGI’s practices. However, as we discussed, the FTC will amend to
               describe with greater specificity the methodology the FTC intends to use in its
               calculation of consumer harm.

              Regarding Interrogatory 5: This interrogatory calls for documents supporting the FTC’s
               contention that Match.com’s cancellation process was not simple. While we provided
               an explanation of our contentions regarding Match.com’s cancellation process, we will
               point to publicly available guidance and the specific documents produced by MGI we
               refer to in our responses that show how the process was not simple.

       As I stated in our call, the FTC reserves the right to amend and supplement its responses to
MGI’s interrogatories. As the FTC has advised MGI, these contention interrogatories are premature
because, among other things, MGI served them before it had responded to the FTC’s discovery
requests. Moreover, the interrogatories relate to documents that the FTC has requested through
discovery and which Match continues to improperly withhold.




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        Finally, regarding your concerns regarding the FTC’s method of verifying its interrogatory
responses, the FTC’s responses in this case were submitted consistent with its ordinary practices and
are consistent with its obligations under the federal rules. See Johns v. United States, No.Civ.A. 96-
1058, 1997 WL 732423, at *2 (E.D. La. Nov. 21, 1997) (holding that Assistant United States Attorney
answers to interrogatories meet requirements of Rule 33(a) because AUSA is permissible agent). You
indicated that the FTC has provided its responses with a verification in addition to a digital signature in
your past personal experiences with the agency, notably in the DirecTV litigation, but we were unable
to identify examples of the FTC using the methods you reference in that litigation.

       Requests for Admission

       The FTC will review and amend where appropriate its responses to MGI’s Requests for
Admission to Requests 1 through 6 to and provide additional explanation concerning our inability to
respond. Additionally, as discussed, in response to Requests 13–14, 17–18, 21–22, 25–26, and 29–30,
we are prepared to state that MGI has represented to the FTC that Match.com has other cancellation
mechanisms, although these representations are inadequate for the FTC to admit these RFAs.

       B. MGI’s Deficient Discovery Responses

        We reiterate our demand that MGI remedy the many deficiencies outlined in the FTC’s Letter.
Among the most egregious is its refusal to search for and produce responsive documents relevant to
Counts III and IV because it contends those counts are somehow moot and because it is willing to enter
into some kind of unspecified stipulation. MGI cannot in good faith contend that its belief about the
merits of this litigation relieve MGI of its discovery obligations, and it has pointed to no caselaw
suggesting otherwise. Further, while MGI has contended that many of the FTC’s RFPs relate only to
Counts I and II, which have been dismissed, it failed to identify any such requests. In fact, the FTC’s
discovery requests relate to issues that are still live in this case.

       MGI’s continual delay and refusal to produce relevant documents appear to be calculated to
deny the FTC a meaningful opportunity to conduct discovery on all of its counts. If MGI will not
commit to curing its discovery deficiencies, we will have no choice but to seek relief from the Court,
including an extension of the discovery deadlines to account for MGI’s dilatory conduct.

       C. The FTC Has Satisfied its Meet and Confer Obligations

         As you know, the FTC has gone to great lengths to resolve our discovery disputes without court
involvement. The FTC sent you a letter last week outlining in detail MGI’s deficiencies. Moreover,
though not required by the local rules, we afforded you an opportunity to discuss those issues on our
August 24 conference call. You scheduled a 90-minute conference call before the exchange of
deficiency letters with no statement concerning what was to be discussed or any limitation of topics.
Your attempts to unilaterally limit the discussion topics after the fact was improper and a transparent
effort to delay the resolution of this dispute.

        During our August 24 call, you requested a second call to discuss the issues outlined in the
FTC’s Letter. However, you further stated unequivocally that MGI would not produce additional
documents regardless of the FTC’s concerns. Given this representation, we believe that further
discussion would be of limited value and only serve to delay. Nevertheless, we are willing to discuss
these issues with you further. On the call, you stated that you were unavailable to discuss these issues
except at Midnight CT this Friday; 8 a.m. CT this Saturday; and 5:30 p.m. next Monday. These times
are unacceptable and do not represent a good-faith effort to schedule a call to address our concerns. We
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are offering a broad availability of time to discuss these issues during normal business hours.
Specifically, we would be available to discuss at a mutually agreeable time this Friday or next
Monday. If you wish to discuss on these dates, please let us know times that you are available as soon
as possible so that we can schedule this call.


                                                       Sincerely,

                                                       /s/ Reid Tepfer
                                                       Reid Tepfer
                                                       M. Hasan Aijaz
                                                       Sarah Zuckerman
                                                       John R. O’Gorman
                                                       Erica Rollins Hilliard
                                                       Jason C. Moon
                                                       Federal Trade Commission
                                                       Southwest Region
                                                       1999 Bryan Street, Suite 2150
                                                       Dallas, Texas 75201




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                  EXHIBIT 2
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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


FEDERAL TRADE COMMISSION,

                               Plaintiff,

        vs.                                                  Case No. 3:19-cv-02281-K

MATCH GROUP, INC., a corporation,

                               Defendant.


       DEFENDANT MATCH GROUP, INC.’S RESPONSES AND OBJECTIONS TO
     PLAINTIFF FEDERAL TRADE COMMISSION’S FIRST SET OF REQUESTS FOR
                       PRODUCTION OF DOCUMENTS

        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure (the “Rules”),

Defendant Match Group, Inc. (“Match”), by and through its undersigned counsel, objects and

responds to Plaintiff Federal Trade Commission’s (“Plaintiff” or “FTC”) First Request for

Production of Documents (each a “Request” and, collectively, the “Requests”) as follows:

I.      GENERAL OBJECTIONS

        1.     ESI Protocol. Match objects to each and every Request pending the parties’

negotiation of an agreed upon ESI Protocol outlining proper discovery production protocols for

this case. Match will work with Plaintiff to develop an ESI Protocol prior to the production of any

documents or information.

        2.     Lack of Confidentiality or Protective Order. Match objects to each and every

Request to the extent that the Request seeks confidential, trade secret, and proprietary information,

without the protection of an enforceable protective order. Match will not produce any documents

or provide any information in response to the Requests until it can ensure the protection of its

confidential information and trade secrets. Match will confer with Plaintiff in an effort to reach

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an agreement regarding the terms of a protective order. If an agreement cannot be reached, Match

will move for a protective order. Any responses to these Requests that are provided before a

protective order is entered will be deemed subject to any protective order entered at a later date.

       3.      Irrelevant. Match objects to each and every Request to the extent that it purports

to seek information that is irrelevant to Plaintiff’s claims or Match’s defenses and is not

proportional to the needs of the case. In particular, Match objects to each and every Request to

the extent that it seeks information about the FTC’s claims that were dismissed with prejudice in

the Court’s March 24, 2022 Order on Match’s Motion to Dismiss (the “Dismissed Claims”).1

Match further objects to each and every Request to the extent that it seeks documents or

information from an entity not yet named in the operative Complaint, including, but not limited to,

Match Group, LLC, or about a website or dating app not relevant to the live Complaint, including,

but not limited to, OKCupid, Plenty of Fish, and Tinder.

       4.      Undue Burden. Match objects to each and every Request to the extent that it seeks

to impose obligations beyond what is required under the Rules or is unduly burdensome.

Accordingly, Match objects to each and every Request where the burden or expense of the

proposed discovery outweighs its likely benefit, considering the needs of the case, the amount in

controversy, the parties’ resources, the importance of the issues at stake in the action, and the

importance of the discovery in resolving the issues.

       5.      Overbroad. Match objects to each and every Request to the extent that it seeks

information that is beyond the scope of Plaintiff’s claims in the Complaint, including, but not

limited to, documents and information related to Plaintiff’s Dismissed Claims, and documents and



1
 ECF No. 86 (dismissing Counts I & II of FTC’s complaint, filed on September 25, 2019 at ECF No. 1 (the
“Complaint”), due to Match’s affirmative defense of CDA § 230 immunity).


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information related to entities and/or dating sites that are not party to, or otherwise related to, this

litigation, such as OKCupid, Plenty of Fish, and Tinder. Match further objects to each and every

Request to the extent that it seeks documents and information that are not within Match’s

possession, custody, or control, including by seeking documents and information from and related

to entities that are not named as parties to this litigation.

        6.      Privilege. Match objects to each and every Request to the extent it seeks documents

that are or information that is subject to the attorney-client privilege, work-product doctrine, or

any other applicable privilege or immunity from discovery (including, without limitation, all

communications with, or work product of, any outside attorney) (collectively, “Privileged

Information”). Any inadvertent disclosure of Privileged Information by Match shall not constitute

a waiver of any applicable privilege, doctrine, or immunity.

        7.      Vagueness and Ambiguity. Match objects to each and every Request to the extent

that such Request is so vague, ambiguous, or confusing as not to be susceptible to a reasoned

interpretation or response. In the absence of clear instructions or definitions associated with terms

that are too vague, ambiguous, or confusing, Match will give the terms used in the Request a

reasonable interpretation.

        8.      Accessibility. Match objects to each and every Request to the extent that it seeks

information that is not reasonably accessible in the ordinary course of business.

        9.      Cumulative Requests and Availability of Information Elsewhere. Match objects to

each and every Request that is cumulative, duplicative of, or to which documents or information

already are in the possession, custody, or control of Plaintiff, or have been or could be obtained

from another source that is equally available to Plaintiff or is more convenient, less burdensome,

or less expensive. In particular, Match objects to each and every Request insofar as it seeks



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documents or information already obtained by Plaintiff during the FTC’s prior investigation in

connection with the Civil Investigative Demand served on Match in 2017 (the “2017 CID”). In

connection with the 2017 CID, Match produced over 225,000 documents that spanned a date range

of 2013 to 2018. Such prior productions and the massive volume of documents produced therein

should be sufficient to provide the FTC with the information it requires.

       10.     Lack of Possession, Custody, or Control. Match objects to each Request to the

extent it does not appear to be addressed to Match and seeks documents that are necessarily outside

Match’s possession, custody, or control.

       11.     Legal Conclusions. Match objects to each and every Request to the extent that it

requires Match to draw legal conclusions.

       12.     Reservation of Right to Supplement. Given the stage of the litigation, Match has

not completed its investigation of the facts or law relating to this action, and discovery in this

matter is ongoing. Accordingly, consistent with the Rules, these responses and objections are

made without prejudice to, and are not a waiver of, Match’s right to amend, correct, or supplement

these responses, and are subject to Match’s right to produce evidence of any subsequently

discovered facts, or additional facts, information, or documents that may exist. Match provides

these responses in good faith after a reasonable inquiry and based on information that it knows or

can readily obtain.

       13.     No Waiver.      By responding to these Requests, Match does not concede the

relevancy of a Request nor the relevancy or admissibility of any information provided in response

thereto. The fact that information is provided in response to a particular Request does not mean

that it is probative of any particular issue in this case. Match expressly reserves its right to assert

any and all objections to the admissibility of any responses into evidence at any hearing or trial of



MATCH’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS 4



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this proceeding, or in any other actions or proceedings, on any and all grounds, including, but not

limited to, competency, relevancy, materiality, privilege, confidentiality, hearsay, or admissibility

as evidence for any other purpose. Moreover, the right to object on any ground to the use of the

responses or information provided, in any aspect of this or any other court action, arbitration, or

judicial or administrative proceeding or investigation, is reserved.

II.    SPECIFIC OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

       1.      Match specifically objects to the Requests’ Instructions and Definitions to the

extent they purport to impose obligations on Match that exceed those imposed by the Rules. In

responding to these Requests, Match will follow the requirements set forth in the Rules.

       2.      Match specifically objects to the definitions of “Match,” the “Company,” and

“You” because they are vague, ambiguous, confusing, irrelevant, not proportional to the needs of

the case, and overly burdensome in that Plaintiff defines these terms as including “Match Group,

Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures, operations

under assumed names, and affiliates, and all directors, officers, employees, agents, consultants and

other persons working for or on behalf of the foregoing.” This definition necessarily and

inappropriately includes attorneys and other entities that are not relevant to the claims or

allegations in the Complaint. Furthermore, Match objects to Plaintiff’s definitions of “Match,” the

“Company,” and “You” as defined to “include any descriptor used by Match in its business

practice,” again encompassing other entities and dating sites that are not relevant to this matter,

including, but not limited to, OKCupid, Plenty of Fish, and Tinder. In responding to these

Requests, Match will construe the terms “Match,” the “Company,” and “You” to refer only to

Match Group, Inc.




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       3.      Match specifically objects to the definitions of “and” and “or” and because they are

ambiguous and confusing. Match will interpret these terms to have their plain, ordinary, and

common sense meaning. Match further objects to these definitions to the extent they purport to

impose obligations on Match that exceed those imposed by the Rules. Match objects to the

definition of these terms as overly broad, unduly burdensome, and oppressive to the extent they

purport to require information that is neither relevant to any party’s claim or defense, nor

proportional to the needs of the case. In responding to these Requests, Match will comply with

the Rules.

       4.      Match specifically objects to the definition of “any” as ambiguous and confusing.

Match will interpret this term to have its plain, ordinary, and common- sense meaning. Match

further objects to this definition to the extent it purports to impose obligations on Match that exceed

those imposed by the Rules. Match objects to the definition of this term as overly broad, unduly

burdensome, and oppressive to the extent it purports to require information that is neither relevant

to any party’s claim or defense nor proportional to the needs of the case. In responding to these

Requests, Match will comply with the Rules.

       5.      Match specifically objects to the definitions of “Customer” and “Customers” as

overbroad, unduly burdensome, and oppressive, insofar as they purport to cover individual(s) “who

have maintained an account on any website owned or operated by” Match, including “OKCupid,

Plenty of Fish, and Tinder,” which encompasses websites and entities that are not party to, or

otherwise related to, the present litigation. Match further objects that the definitions of “Customer”

and “Customers” are thus not tailored to the allegations in the complaint, not proportional to the

needs of the case, and exceedingly burdensome. In responding to these Requests, Match will




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construe the terms definitions of “Customer” and “Customers” to refer only to Customer(s) of

Match.com.

         6.    Match objects to the definition of “Document” as overly broad and unduly

burdensome. Match further objects to this definition to the extent it refers to items outside of

Match’s possession, custody, or control, particularly through its use of the phrases “regardless of

origin or location” and “however and by whomever prepared, produced, disseminated, or made.”

Match further objects to this definition to the extent it refers to items in Plaintiff’s possession,

custody, or control, or to items that have been or could be obtained from another source that is

equally available to Plaintiff or is more convenient, less burdensome, or less expensive. Match

further objects to this definition to the extent it purports to impose obligations on Match that exceed

those required by the Rules. In responding to these Requests, Match will interpret the word

“Document” to have its plain, ordinary, and common sense meaning and will comply with the

Rules.

         7.    Match specifically objects to the definition of “each” as ambiguous and confusing.

Match will interpret this term to have its plain, ordinary, and common sense meaning. Match

further objects to this definition to the extent it purports to impose obligations on Match that exceed

those imposed by the Rules. Match objects to the definition of this term as overly broad, unduly

burdensome, and oppressive to the extent it purports to require information that is neither relevant

to any party’s claim or defense nor proportional to the needs of the case. In responding to these

Requests, Match will comply with the Rules.

         8.    Match specifically objects to the definitions of “Identity” and “the identity of” and

because they are ambiguous and confusing. Match will interpret these terms to have their plain,

ordinary, and common sense meaning. Match further objects to these definitions to the extent they



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purport to impose obligations on Match that exceed those imposed by the Rules. Match objects to

the definition of these terms as overly broad, unduly burdensome, and oppressive to the extent they

purport to require information that is neither relevant to any party’s claim or defense nor

proportional to the needs of the case. In responding to these Requests, Match will comply with

the Rules.

       9.      Match specifically objects to the definition of “Match Group, LLC” as vague,

ambiguous, confusing, and overbroad.

       10.     Match objects to the definition of “OKCupid” because it is overbroad, ambiguous,

and confusing. Match further objects to the definition of “OKCupid” as irrelevant, since OKCupid

is not referenced in the Complaint, and thus any Request relying on the definition of “OKCupid”

is not proportional to the needs of the case and is unduly burdensome.

       11.     Match objects to the definition of “Plenty of Fish” because it is overbroad,

ambiguous, and confusing. Match further objects to the definition of “Plenty of Fish” as irrelevant,

since Plenty of Fish is not referenced in the Complaint, and thus any Request relying on the

definition of “Plenty of Fish” is not proportional to the needs of the case and is unduly burdensome.

       12.     Match specifically objects to the definitions of “referring to” and “relating to”

because they are ambiguous and confusing. Match will interpret these terms to have their plain,

ordinary, and common sense meaning. Match further objects to these definitions to the extent they

purport to impose obligations on Match that exceed those imposed by the Rules. Match objects to

the definition of these terms as overly broad, unduly burdensome, and oppressive to the extent they

purport to require information that is neither relevant to any party’s claim or defense nor

proportional to the needs of the case. In responding to these Requests, Match will comply with

the Rules.



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       13.     Match specifically objects to the definition of “Subscriber” as overbroad, unduly

burdensome, and oppressive, insofar as it purports to cover a “Subscriber” to “any website owned

or operated by” Match, which would necessarily encompass websites and entities that are not party

to, or otherwise related to, the present litigation. Match further objects that the definition of

“Subscriber” is thus not tailored to the allegations in the Complaint and not proportional to the

needs of the case. In responding to these Requests, Match will construe the term “Subscriber” to

refer only to Subscribers to Match.com.

       14.     Match objects to the definition of “Tinder” because it is overbroad, ambiguous, and

confusing. Match further objects to the definition of “Tinder” as irrelevant, since Tinder is not

referenced in the Complaint, and thus any Request relying on the definition of “Tinder” is not

proportional to the needs of the case and is unduly burdensome.

       15.     The foregoing general objections and specific objections to the instructions and

definitions provided by Plaintiff shall be fully incorporated by reference into each of the below

specific objections to the Requests.

III.   SPECIFIC OBJECTIONS AND RESPONSES TO THE REQUESTS

REQUEST NO. 1: The Company’s certificate of incorporation, bylaws, rules, regulations,
procedures, and any amendments to them.

RESPONSE: Match objects to this Request because “rules,” “regulations,” and “procedures” are

vague and undefined, and also to the extent Plaintiff seeks Privileged Information. Match further

objects that this Request is vague, ambiguous, confusing, irrelevant, not proportional to the needs

of the case, and overly burdensome in that Plaintiff defines “the Company” as including “Match

Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures,

operations under assumed names, and affiliates, and all directors, officers, employees, agents,

consultants and other persons working for or on behalf of the foregoing.” Plaintiff’s definition of


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“the Company” necessarily and inappropriately includes other entities that are not relevant to the

claims or allegations in the Complaint. Furthermore, Plaintiff’s definition of “the Company,”

which is defined to “include any descriptor used by Match in its business practice,” encompasses

other entities and dating sites that are not relevant to this matter, including, but not limited to,

OKCupid, Plenty of Fish, and Tinder.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as the Company’s corporate formation documents are not relevant to any

of Plaintiff’s claims, live or dismissed. Moreover, Match objects that this Request is part of an

attempted fishing expedition by Plaintiff to impermissibly probe matters beyond the scope of the

present litigation, and that this Request is an abuse of the discovery process. Match further objects

to the extent that the requested documents already are in Plaintiff’s possession, custody, or control,

or to the extent that the requested documents are not in Match’s possession, custody, or control.

REQUEST NO. 2: All minutes (including attachments) of meetings of the Company’s Board of
Directors and all materials submitted to the Board.

RESPONSE: Match objects to this Request on the grounds that it seeks discovery that is not

relevant to either party’s claims or defenses and is not proportional to the needs of the case. The

“Match Guarantee” and related practices, as well as all practices related to “Chargebacks,” have

been permanently discontinued, and Match has repeatedly told the FTC this orally and in writing.

Match is prepared to enter a binding stipulation in a form acceptable to the Court that Match could

never and would never, and Match.com would never, engage in the conduct challenged in Counts

III and IV in the Complaint, to which this discovery relates. The FTC has identified no evidence

that the challenged conduct is about to, or is likely to, recur. Thus, the question of whether any

injunctive relief should be issued that addresses this alleged conduct is moot and does not ever


MATCH’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS 10



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need to be litigated. The Court has also dismissed with prejudice any claim by the FTC for

monetary relief based on the conduct at issue in this Request. For these reasons, discovery into

the questions of what occurred or whether the alleged conduct related to the “Match Guarantee”

or “Chargebacks” violated the FTC Act are impermissibly burdensome and calculated to harass.

          Match further objects to this Request because “attachments” and “materials” are vague and

undefined, and also to the extent Plaintiff seeks Privileged Information. Match further objects that

this Request is vague, ambiguous, confusing, irrelevant, not proportional to the needs of the case,

and overly burdensome in that Plaintiff defines “the Company” as including “Match Group, Inc.,

its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures, operations

under assumed names, and affiliates, and all directors, officers, employees, agents, consultants and

other persons working for or on behalf of the foregoing.” Plaintiff’s definition of “the Company”

necessarily and inappropriately includes other entities or dating sites that are not relevant to the

claims or allegations in the Complaint.

          Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, by requesting “[a]ll minutes” and “materials” regardless of subject

matter.

          Subject to and without waiving the foregoing specific and general objections, Match will

conduct a reasonable search for minutes (including attachments) of meetings of the Company’s

Board of Directors and all materials submitted to the Board that reference or are reasonably related

to Match.com’s cancelation flow. Match will produce, following the entry of an enforceable




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protective order, non-privileged responsive documents identified through such search, if any are

located.

REQUEST NO. 3: All materially different versions of the Company’s organizational charts and
personnel directories.

RESPONSE: Match objects to this Request because “organizational charts” and “personnel

directories” are vague and undefined, and also to the extent Plaintiff seeks Privileged Information.

Match further objects that this Request is vague, ambiguous, confusing, irrelevant, not proportional

to the needs of the case, and overly burdensome in that Plaintiff defines “the Company” as

including “Match Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions,

joint ventures, operations under assumed names, and affiliates, and all directors, officers,

employees, agents, consultants and other persons working for or on behalf of the foregoing.”

Plaintiff’s definition of “the Company” necessarily and inappropriately includes other entities that

are not relevant to the claims or allegations in the Complaint. Furthermore, Plaintiff’s definition

of “the Company,” which is defined to “include any descriptor used by Match in its business

practice,” encompasses other entities and dating sites that are not relevant to this matter, including,

but not limited to, OKCupid, Plenty of Fish, and Tinder.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as the Company’s “organizational charts” and “personnel directories” are

not relevant to Plaintiff’s claims in the Complaint. Moreover, Match objects that this Request is

part of an attempted fishing expedition by Plaintiff to impermissibly probe matters beyond the

scope of the present litigation, and that this Request is an abuse of the discovery process. Match

further objects to the extent that the requested documents already are in Plaintiff’s possession,

custody, or control, or to the extent that the requested documents are not in Match’s possession,


MATCH’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS 12



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custody, or control. Finally, Match objects to this Request to the extent it is duplicative of other

Requests, including Request No. 4. Any response to this Request that is provided before a

protective order is entered will be deemed subject to any protective order entered at a later date.

          Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 3 in connection with

the 2017 CID, in response to CID Document Request No. 2. Notwithstanding its prior production,

Match will conduct a reasonable search for reasonably available responsive documents with

respect to Match.com only. Match will produce, following the entry of an enforceable protective

order, non-privileged responsive documents identified through such search, if any are located.

REQUEST NO. 4: Documents sufficient to show all relationships that have existed between
Match Group, Inc. and any other corporate entity, including Match Group, Inc.’s subsidiaries,
entities with an ownership interest the Company, and any other entity You claim has operated
match.com.

RESPONSE: Match objects to this Request because “relationships” is vague and undefined, and

also to the extent Plaintiff seeks Privileged Information. Match further objects that this Request

is vague, ambiguous, confusing, irrelevant, not proportional to the needs of the case, and overly

burdensome in that Plaintiff defines “the Company” as including “Match Group, Inc., its wholly

or partially owned subsidiaries, unincorporated divisions, joint ventures, operations under assumed

names, and affiliates, and all directors, officers, employees, agents, consultants and other persons

working for or on behalf of the foregoing.” Plaintiff’s definition of “the Company” necessarily

and inappropriately includes other entities that are not relevant to the claims or allegations in the

Complaint. Furthermore, Plaintiff’s definition of “the Company,” which is defined to “include

any descriptor used by Match in its business practice,” encompasses other entities and dating sites

that are not relevant to this matter, including, but not limited to, OKCupid, Plenty of Fish, and

Tinder.


MATCH’S OBJECTIONS AND RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS 13



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       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as “all relationships that have existed between Match Group, Inc. and any

other corporate entity” are not relevant to Plaintiff’s claims in the Complaint. Match further

objects to the extent that the requested documents already are in Plaintiff’s possession, custody, or

control, or to the extent that the requested documents are not in Match’s possession, custody, or

control. Finally, Match objects to this Request to the extent it is duplicative of other Requests,

including Request No. 3. Any response to this Request that is provided before a protective order

is entered will be deemed subject to any protective order entered at a later date.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that it will conduct a reasonable search for documents sufficient to show any relationships

that have existed between Match Group, Inc. and the entity or entities that operate Match.com,

including Match Group, LLC.        Match will produce, following the entry of an enforceable

protective order, non-privileged responsive documents identified through such search, if any are

located.

REQUEST NO. 5: Documents sufficient to show all corporate officers of:

       a. Match Group, Inc.;

       b. Any corporate subsidiary of Match Group, Inc.;

       c. Any corporation that has had an ownership interest in Match Group, Inc.;

       d. Any other entity You claim has operated match.com;

       e. Any other entity You contend has operated Tinder;

       f. Any other entity You contend has operated OKCupid;

       g. Any other entity You contend has operated Plenty of Fish.




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RESPONSE: Match objects to this Request as vague, ambiguous, confusing, irrelevant, not

proportional to the needs of the case, and overly burdensome in that Plaintiff defines “You” as

including “Match Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions,

joint ventures, operations under assumed names, and affiliates, and all directors, officers,

employees, agents, consultants and other persons working for or on behalf of the foregoing.”

Plaintiff’s definition of “You” necessarily and inappropriately includes other entities that are not

relevant to the claims or allegations in the Complaint. Furthermore, Plaintiff’s definition of “You,”

which is defined to “include any descriptor used by Match in its business practice,” encompasses

other entities and dating sites that are not relevant to this matter, including, but not limited to,

OKCupid, Plenty of Fish, and Tinder.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as Plaintiff seeks documents and information about entities and dating

sites that are not party to, or otherwise related to, this litigation (OKCupid, Plenty of Fish, and

Tinder). Match further objects to the extent that the requested documents already are in Plaintiff’s

possession, custody, or control, or to the extent that the requested documents are not in Match’s

possession, custody, or control. Match further objects to this Request to the extent it is duplicative

of other Requests, including Request Nos. 3, 4, 6, and 7. Finally, subject to and without waiving

the foregoing specific and general objections, Match responds that it has already produced

documents responsive to Request No. 5 in connection with the 2017 CID, in response to CID

Document Request No. 2.

REQUEST NO. 6: Documents sufficient to identify all current and former employees of Match
Group, Inc. whose responsibilities include or relate to:

       a. advertising or marketing;


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       b. customer service;

       c. corporate governance or operations;

       d. general management;

       e. research and development;

       f. legal compliance;

       g. accounting or finance;

       h. cancellation of subscriptions;

       i.   the Match Guarantee; and

       j. policies and practices related to chargebacks.

RESPONSE: Match objects to this Request because “corporate governance or operations” and

“general management” are vague and undefined, and also to the extent Plaintiff seeks Privileged

Information, particularly in light of Plaintiff’s request for documents related to “legal compliance.”

Match further objects to this Request on the grounds that it seeks discovery that is not relevant to

either party’s claims or defenses and is not proportional to the needs of the case. Match further

objects to this Request insofar as it suggests that Match Group, Inc. ever offered any kind of

“Match Guarantee” or maintained a “Chargeback” policy. The “Match Guarantee” and related

practices, as well as all practices related to “Chargebacks,” have been permanently discontinued,

and Match has repeatedly told the FTC this orally and in writing. Match is prepared to enter a

binding stipulation in a form acceptable to the Court that Match could never and would never, and

Match.com would never, engage in the conduct challenged in Counts III and IV in the Complaint,

to which this discovery relates. The FTC has identified no evidence that the challenged conduct

is about to, or is likely to, recur. Thus, the question of whether any injunctive relief should be

issued that addresses this alleged conduct is moot and does not ever need to be litigated. The Court

has also dismissed with prejudice any claim by the FTC for monetary relief based on the conduct


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at issue in this Request. For these reasons, discovery into the questions of what occurred or

whether the alleged conduct related to the “Match Guarantee” or “Chargebacks” violated the FTC

Act are impermissibly burdensome and calculated to harass. Finally, subject to and without

waiving the foregoing specific and general objections, Match responds that it has already produced

documents responsive to Request No. 6 in connection with the 2017 CID, in response to CID

Document Request No. 1.

REQUEST NO. 7: Documents sufficient to identify all current and former Match executives.

RESPONSE: Match objects that this Request is vague, ambiguous, confusing, irrelevant, not

proportional to the needs of the case, and overly burdensome in that Plaintiff defines “Match” as

including “Match Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions,

joint ventures, operations under assumed names, and affiliates, and all directors, officers,

employees, agents, consultants and other persons working for or on behalf of the foregoing.”

Plaintiff’s definition of “Match” necessarily and inappropriately includes other entities that are not

relevant to the claims or allegations in the Complaint. Furthermore, Plaintiff’s definition of

“Match,” which is defined to “include any descriptor used by Match in its business practice,”

encompasses other entities and dating sites that are not relevant to this matter, including, but not

limited to, OKCupid, Plenty of Fish, and Tinder.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, by seeking documents regarding “all current and former Match

executives” regardless of their relevance to the claims in the Complaint. Match further objects to

the extent that the requested documents already are in Plaintiff’s possession, custody, or control,

or to the extent that the requested documents are not in Match’s possession, custody, or control.



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Match further objects to this Request to the extent that it is duplicative of other Requests, including

Request Nos. 3, 5, and 6. Finally, subject to and without waiving the foregoing specific and general

objections, Match responds that it has already produced documents responsive to Request No. 7

in connection with the 2017 CID, in response to CID Document Request No. 2.

REQUEST NO. 8: Documents sufficient to show all transfers of money between Match Group,
Inc., and any corporate subsidiary or owner or any other entity You claim has operated match.com,
OKCupid, Plenty of Fish, and Tinder.

RESPONSE: Match objects to this Request because “transfers of money” is vague and undefined.

Match further objects that this Request is vague, ambiguous, confusing, irrelevant, not proportional

to the needs of the case, and overly burdensome in that Plaintiff defines “You” as including “Match

Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures,

operations under assumed names, and affiliates, and all directors, officers, employees, agents,

consultants and other persons working for or on behalf of the foregoing.” Plaintiff’s definition of

“You” necessarily and inappropriately includes other entities that are not relevant to the claims or

allegations in the Complaint. Furthermore, Plaintiff’s definition of “You,” which is defined to

“include any descriptor used by Match in its business practice,” encompasses other entities and

dating sites that are not relevant to this matter, including, but not limited to, OKCupid, Plenty of

Fish, and Tinder.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as Plaintiff seeks documents and information about entities and dating

sites that are not party to, or otherwise related to, this litigation (OKCupid, Plenty of Fish, and

Tinder). Match further objects to this Request because it is overbroad and unduly burdensome by

seeking documents and information about financial transactions that are irrelevant to Plaintiff’s



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claims, even if limited only to Match Group, Inc. and Match.com. Moreover, Match objects that

this Request is part of an attempted fishing expedition by Plaintiff to impermissibly probe matters

beyond the scope of the present litigation, and that this Request is an abuse of the discovery

process. Match further objects to the extent that the requested documents already are in Plaintiff’s

possession, custody, or control, or to the extent that the requested documents are not in Match’s

possession, custody, or control.

REQUEST NO. 9: All Documents You contend tend to show that Match Group, Inc., is not liable
for the violations alleged in the Complaint filed in this case, including documents supporting the
claim that another entity has operated match.com, OKCupid, Plenty of Fish, and Tinder.

RESPONSE: Match objects to this Request to the extent Plaintiff seeks Privileged Information.

Match further objects that this Request is vague, ambiguous, confusing, irrelevant, not proportional

to the needs of the case, and overly burdensome in that Plaintiff defines “You” as including “Match

Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures,

operations under assumed names, and affiliates, and all directors, officers, employees, agents,

consultants and other persons working for or on behalf of the foregoing.” Plaintiff’s definition of

“You” necessarily and inappropriately includes other entities that are not relevant to the claims or

allegations in the Complaint. Furthermore, Plaintiff’s definition of “You,” which is defined to

“include any descriptor used by Match in its business practice,” encompasses other entities and

dating sites that are not relevant to this matter, including, but not limited to, OKCupid, Plenty of

Fish, and Tinder.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as Plaintiff seeks documents and information about entities and dating

sites that are not party to, or otherwise related to, this litigation (OKCupid, Plenty of Fish, and



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Tinder). Moreover, Match objects that this Request is part of an attempted fishing expedition by

Plaintiff to impermissibly probe matters beyond the scope of the present litigation, and that this

Request is an abuse of the discovery process. Match further objects to the extent that the requested

documents already are in Plaintiff’s possession, custody, or control, or to the extent that the

requested documents are not in Match’s possession, custody, or control. Match further objects to

this Request as overbroad, unduly burdensome, and oppressive, because it is not proportionate to

the needs to the case and because it requires Match to marshal all of its evidence before trial.

Match further objects to this Request to the extent it is duplicative of other Requests, potentially

including each and every other Request. Finally, subject to and without waiving the foregoing

specific and general objections, Match responds that it has already produced documents responsive

to Request No. 9 in connection with the 2017 CID, in response to each and every CID Document

Request and Interrogatory.

REQUEST NO. 10: All Documents You contend tend to show that Match Group LLC operates
or has operated Match.com, OKCupid, Plenty of Fish, and Tinder.

RESPONSE: Match objects to this Request to the extent Plaintiff seeks Privileged Information.

Match further objects that this Request is vague, ambiguous, confusing, irrelevant, not proportional

to the needs of the case, and overly burdensome in that Plaintiff defines “You” as including “Match

Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures,

operations under assumed names, and affiliates, and all directors, officers, employees, agents,

consultants and other persons working for or on behalf of the foregoing.” Plaintiff’s definition of

“You” necessarily and inappropriately includes other entities that are not relevant to the claims or

allegations in the Complaint. Furthermore, Plaintiff’s definition of “You,” which is defined to

“include any descriptor used by Match in its business practice,” encompasses other entities and




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dating sites that are not relevant to this matter, including, but not limited to, OKCupid, Plenty of

Fish, and Tinder.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as Plaintiff seeks documents and information about entities and dating

sites that are not party to, or otherwise related to, this litigation (OKCupid, Plenty of Fish, and

Tinder). Moreover, Match objects that this Request is part of an attempted fishing expedition by

Plaintiff to impermissibly probe matters beyond the scope of the present litigation, and that this

Request is an abuse of the discovery process. Match further objects to the extent that the requested

documents already are in Plaintiff’s possession, custody, or control, or to the extent that the

requested documents are not in Match’s possession, custody, or control. Finally, Match objects to

this Request to the extent it is duplicative of other Requests, including Request Nos. 4 and 11.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 10 in connection with

the 2017 CID, in response to CID Interrogatory No. 1. Notwithstanding its prior production, Match

will conduct a reasonable search for documents sufficient to show the operation of Match.com.

Match will produce, following the entry of an enforceable protective order, non-privileged

responsive documents identified through such search, if any are located.

REQUEST NO. 11: All Documents You contend tend to show that Match Group Inc. does not
or has not operated Match.com, OKCupid, Plenty of Fish, and Tinder.

RESPONSE: Match objects to this Request because the phrase “does not or has not operated”

requires Match to prove a negative, and to the extent Plaintiff seeks Privileged Information. Match

further objects that this Request is vague, ambiguous, confusing, irrelevant, not proportional to the

needs of the case, and overly burdensome in that Plaintiff defines “You” as including “Match


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Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures,

operations under assumed names, and affiliates, and all directors, officers, employees, agents,

consultants and other persons working for or on behalf of the foregoing.” Plaintiff’s definition of

“You” necessarily and inappropriately includes other entities that are not relevant to the claims or

allegations in the Complaint. Furthermore, Plaintiff’s definition of “You,” which is defined to

“include any descriptor used by Match in its business practice,” encompasses other entities and

dating sites that are not relevant to this matter, including, but not limited to, OKCupid, Plenty of

Fish, and Tinder.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as Plaintiff seeks documents and information about entities and dating

sites that are not party to, or otherwise related to, this litigation (OKCupid, Plenty of Fish, and

Tinder). Moreover, Match objects that this Request is part of an attempted fishing expedition by

Plaintiff to impermissibly probe matters beyond the scope of the present litigation, and that this

Request is an abuse of the discovery process. Match further objects to the extent that the requested

documents already are in Plaintiff’s possession, custody, or control, or to the extent that the

requested documents are not in Match’s possession, custody, or control. Finally, Match objects to

this Request to the extent it is duplicative of other Requests, including Request Nos. 4 and 10.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 11 in connection with

the 2017 CID, in response to CID Interrogatory No. 1. Notwithstanding its prior production, Match

will conduct a reasonable search for documents sufficient to show the operation of Match.com.




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Match will produce, following the entry of an enforceable protective order, non-privileged

responsive documents identified through such search, if any are located.

REQUEST NO. 12: Documents sufficient to show the Company’s quarterly and annual gross
and net revenue, including profit and loss statements and accounting documents for Match.com,
OKCupid, Plenty of Fish, and Tinder.

RESPONSE:        Match objects to this Request because “accounting documents” is vague,

undefined, and overbroad, and to the extent Plaintiff seeks Privileged Information. Match further

objects that this Request is vague, ambiguous, confusing, irrelevant, not proportional to the needs

of the case, and overly burdensome in that Plaintiff defines “the Company” as including “Match

Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures,

operations under assumed names, and affiliates, and all directors, officers, employees, agents,

consultants and other persons working for or on behalf of the foregoing.” Plaintiff’s definition of

“the Company” necessarily and inappropriately includes other entities that are not relevant to the

claims or allegations in the Complaint. Furthermore, Plaintiff’s definition of “the Company,”

which is defined to “include any descriptor used by Match in its business practice,” encompasses

other entities and dating sites that are not relevant to this matter, including, but not limited to,

OKCupid, Plenty of Fish, and Tinder. Match further objects to this Request insofar as it seeks

information that Plaintiff can obtain elsewhere and/or is publicly available.

REQUEST NO. 13: Documents showing the Company’s projections of its gross and net revenue,
including Documents provided to prospective investors.

RESPONSE: Match objects to this Request because “projections” and “prospective investors”

are vague and undefined, and to the extent Plaintiff seeks Privileged Information. Match further

objects that this Request is vague, ambiguous, confusing, irrelevant, not proportional to the needs

of the case, and overly burdensome in that Plaintiff defines “the Company” as including “Match

Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures,


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operations under assumed names, and affiliates, and all directors, officers, employees, agents,

consultants and other persons working for or on behalf of the foregoing.” Plaintiff’s definition of

“the Company” necessarily and inappropriately includes other entities that are not relevant to the

claims or allegations in the Complaint. Furthermore, Plaintiff’s definition of “the Company,”

which is defined to “include any descriptor used by Match in its business practice,” encompasses

other entities and dating sites that are not relevant to this matter, including, but not limited to,

OKCupid, Plenty of Fish, and Tinder.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as “the Company’s projections of its gross and net revenue, including

Documents provided to prospective investors,” are not relevant to Plaintiff’s claims in the

Complaint. Moreover, Match objects that this Request is part of an attempted fishing expedition

by Plaintiff to impermissibly probe matters beyond the scope of the present litigation, and that this

Request is an abuse of the discovery process.

REQUEST NO. 14: Documents sufficient to show quarterly and annual revenue from:

      a. Subscriptions to Match.com;

      b. Subscriptions to OKCupid;

      c. Subscriptions to Plenty of Fish;

      d. Subscriptions to Tinder;

      e. Subscriptions to Match.com that included or was subject to a Match Guarantee;

      f. Payments from accounts on Match.com that had been automatically renewed; and

      g. Payments from Subscribers who had clicked on the “retention offer” or “Cancel
         Subscription” hyperlinks described in Paragraph 55 of the Complaint filed in this case.




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RESPONSE: Match objects to this Request on the grounds that it seeks discovery that is not

relevant to either party’s claims or defenses and is not proportional to the needs of the case. The

“Match Guarantee” and related practices, as well as all practices related to “Chargebacks,” have

been permanently discontinued, and Match has repeatedly told the FTC this orally and in writing.

Match is prepared to enter a binding stipulation in a form acceptable to the Court that Match could

never and would never, and Match.com would never, engage in the conduct challenged in Counts

III and IV in the Complaint, to which this discovery relates. The FTC has identified no evidence

that the challenged conduct is about to, or is likely to, recur. Thus, the question of whether any

injunctive relief should be issued that addresses this alleged conduct is moot and does not ever

need to be litigated. The Court has also dismissed with prejudice any claim by the FTC for

monetary relief based on the conduct at issue in this Request. For these reasons, discovery into

the questions of what occurred or whether the alleged conduct related to the “Match Guarantee”

violated the FTC Act are impermissibly burdensome and calculated to harass.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as Plaintiff seeks documents and information about entities and dating

sites that are not party to, or otherwise related to, this litigation (OKCupid, Plenty of Fish, and

Tinder). Moreover, Match objects that this Request is part of an attempted fishing expedition by

Plaintiff to impermissibly probe matters beyond the scope of the present litigation, and that this

Request is an abuse of the discovery process. Match further objects to the extent that the requested

documents already are in Plaintiff’s possession, custody, or control, or to the extent that the

requested documents are not in Match’s possession, custody, or control. Finally, subject to and

without waiving the foregoing specific and general objections, Match responds that it has already



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produced information responsive to Request No. 14 in connection with the 2017 CID, in response

to CID Interrogatory No. 3.

REQUEST NO. 15: Each unique version of all Ads related to a Match Guarantee.

RESPONSE: Match objects to this Request as vague and undefined because it is unclear what

the FTC means by “unique.” Match further objects to this Request on the grounds that it seeks

discovery that is not relevant to either party’s claims or defenses and is not proportional to the

needs of the case. The “Match Guarantee” and related practices, as well as all practices related to

“Chargebacks,” have been permanently discontinued, and Match has repeatedly told the FTC this

orally and in writing. Match is prepared to enter a binding stipulation in a form acceptable to the

Court that Match could never and would never, and Match.com would never, engage in the

conduct challenged in Counts III and IV in the Complaint, to which this discovery relates. The

FTC has identified no evidence that the challenged conduct is about to, or is likely to, recur. Thus,

the question of whether any injunctive relief should be issued that addresses this alleged conduct

is moot and does not ever need to be litigated. The Court has also dismissed with prejudice any

claim by the FTC for monetary relief based on the conduct at issue in this Request. For these

reasons, discovery into the questions of what occurred or whether the alleged conduct related to

the “Match Guarantee” violated the FTC Act are impermissibly burdensome and calculated to

harass.   Finally, subject to and without waiving the foregoing specific and general objections,

Match responds that it has already produced documents responsive to Request No. 15 in

connection with the 2017 CID, in response to CID Request No. 3(b)(i).




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REQUEST NO. 16: Each unique version of all Ads related to cancellation of a Match.com,
OKCupid, Plenty of Fish, or Tinder subscription, including Ads related to the ease or availability
of cancellation.

RESPONSE: Match objects to this Request as vague and undefined because it is unclear what

the FTC means by “unique.”        Match also objects to this Request to the extent Plaintiff seeks

Privileged Information. Match further objects to this Request as irrelevant, overbroad, and not

proportional to the needs of the case because it purports to seek information beyond the scope of

Plaintiff’s claims in the Complaint, as Plaintiff seeks documents and information about entities

and dating sites that are not party to, or otherwise related to, this litigation (OKCupid, Plenty of

Fish, and Tinder). Moreover, Match objects that this Request is part of an attempted fishing

expedition by Plaintiff to impermissibly probe matters beyond the scope of the present litigation,

and that this Request is an abuse of the discovery process. Match further objects to the extent that

the requested documents already are in Plaintiff’s possession, custody, or control, or to the extent

that the requested documents are not in Match’s possession, custody, or control. Finally, Match

objects to this Request to the extent it is duplicative of other Requests, including Request No. 15.

Any response to this Request that is provided before a protective order is entered will be deemed

subject to any protective order entered at a later date.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 16 in connection with

the 2017 CID, in response to CID Request No. 3(c)(i). Notwithstanding its prior production, Match

will conduct a reasonable search for reasonably available responsive documents with respect to

Match.com only. Match will produce, following the entry of an enforceable protective order, non-

privileged responsive documents identified through such search, if any are located.




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REQUEST NO. 17: Documents sufficient to show each unique disclosure You contend disclosed
policies concerning terminating subscriptions in response to a Customer Chargeback.

RESPONSE: Match objects to this Request to the extent Plaintiff seeks Privileged Information.

Match further objects to this Request on the grounds that it seeks discovery that is not relevant to

either party’s claims or defenses and is not proportional to the needs of the case. Match further

objects to this Request insofar as it suggests that Match Group, Inc. ever maintained a

“Chargeback” policy. The “Match Guarantee” and related practices, as well as all practices related

to “Chargebacks,” have been permanently discontinued, and Match has repeatedly told the FTC

this orally and in writing. Match is prepared to enter a binding stipulation in a form acceptable to

the Court that Match could never and would never, and Match.com would never, engage in the

conduct challenged in Counts III and IV in the Complaint, to which this discovery relates. The

FTC has identified no evidence that the challenged conduct is about to, or is likely to, recur. Thus,

the question of whether any injunctive relief should be issued that addresses this alleged conduct

is moot and does not ever need to be litigated. The Court has also dismissed with prejudice any

claim by the FTC for monetary relief based on the conduct at issue in this Request. For these

reasons, discovery into the questions of what occurred or whether the alleged conduct related to

“Chargebacks” violated the FTC Act are impermissibly burdensome and calculated to harass.

Finally, Match responds that it has already produced documents responsive to Request No. 17 in

connection with the 2017 CID, in response to CID Request No. 9(e).

REQUEST NO. 18: Representative copies of all visual content shown to Customers during the
process of purchasing or signing up for a paid subscription.

RESPONSE: Match objects to this Request because “[r]epresentative copies of all visual content”

is vague, confusing, and overbroad. Match further objects that this Request is vague, ambiguous,

confusing, irrelevant, not proportional to the needs of the case, and overly burdensome in that



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Plaintiff defines “Customer” as “any individual or individuals who have maintained an account on

any website owned or operated by the Company” and “the Company” as including “Match Group,

Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures, operations

under assumed names, and affiliates, and all directors, officers, employees, agents, consultants and

other persons working for or on behalf of the foregoing.” Plaintiff’s definition of “the Company”

necessarily and inappropriately includes other entities that are not relevant to the claims or

allegations in the Complaint. Furthermore, Plaintiff’s definition of “the Company,” which is

defined to “include any descriptor used by Match in its business practice,” encompasses other

entities and dating sites that are not relevant to this matter, including, but not limited to, OKCupid,

Plenty of Fish, and Tinder. Plaintiff’s definition of “Customer” necessarily and inappropriately

includes other entities that are not relevant to the claims or allegations in the Complaint by

including “individuals who have maintained an account on . . . OKCupid, Plenty of Fish, and

Tinder.”

       Moreover, Match objects that this Request is part of an attempted fishing expedition by

Plaintiff to impermissibly probe matters beyond the scope of the present litigation, and that this

Request is an abuse of the discovery process. Match further objects to the extent that the requested

documents already are in Plaintiff’s possession, custody, or control, or to the extent that the

requested documents are not in Match’s possession, custody, or control. Finally, Match objects to

this Request to the extent it is duplicative of other Requests, including Request No. 19. Any

response to this Request that is provided before a protective order is entered will be deemed subject

to any protective order entered at a later date.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 18 in connection with



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the 2017 CID, in response to CID Request Nos. 3(a)(i), 3(a)(iii), 3(b)(i), 3(b)(iii), 3(c)(i), and

3(c)(iii). Notwithstanding its prior production, Match will conduct a reasonable search for

reasonably available responsive documents with respect to Match.com only. Match will produce,

following the entry of an enforceable protective order, non-privileged responsive documents

identified through such search, if any are located.

REQUEST NO. 19: Representative copies of all visual content that Match has shown to
Customers concerning the Match Guarantee, including concerning:

      a. Advertisements relating to Subscriptions subject to the Match Guarantee;

      b. Customer “progress” with regard to the Match Guarantee; and

      c. Redeeming a Match Guarantee or receiving a Guarantee Extension.

RESPONSE: Match objects to this Request because “[r]epresentative copies of all visual content”

is vague and confusing, because “progress” is vague and undefined. Match specifically objects to

this Request on the grounds that it seeks discovery that is not relevant to either party’s claims or

defenses and is not proportional to the needs of the case. Match further objects to this Request

insofar as it suggests that Match Group, Inc. ever offered any kind of “Match Guarantee.” The

“Match Guarantee” and related practices, as well as all practices related to “Chargebacks,” have

been permanently discontinued, and Match has repeatedly told the FTC this orally and in writing.

Match is prepared to enter a binding stipulation in a form acceptable to the Court that Match could

never and would never, and Match.com would never, engage in the conduct challenged in Counts

III and IV in the Complaint, to which this discovery relates. The FTC has identified no evidence

that the challenged conduct is about to, or is likely to, recur. Thus, the question of whether any

injunctive relief should be issued that addresses this alleged conduct is moot and does not ever

need to be litigated. The Court has also dismissed with prejudice any claim by the FTC for

monetary relief based on the conduct at issue in this Request. For these reasons, discovery into


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the questions of what occurred or whether the alleged conduct related to the “Match Guarantee”

violated the FTC Act are impermissibly burdensome and calculated to harass. Finally, subject to

and without waiving the foregoing specific and general objections, Match responds that it has

already produced documents responsive to Request No. 19 in connection with the 2017 CID, in

response to CID Request Nos. 3(b)(i), 3(b)(iii), and 9(b).

REQUEST NO. 20: Representative copies of all visual content that Customers have had to view
to cancel their subscriptions.

RESPONSE: Match objects to this Request because “[r]epresentative copies of all visual content”

is vague and confusing. Match further objects that this Request is vague, ambiguous, confusing,

irrelevant, not proportional to the needs of the case, and overly burdensome in that Plaintiff defines

“Customer” as “any individual or individuals who have maintained an account on any website

owned or operated by the Company” and “the Company” as including “Match Group, Inc., its

wholly or partially owned subsidiaries, unincorporated divisions, joint ventures, operations under

assumed names, and affiliates, and all directors, officers, employees, agents, consultants and other

persons working for or on behalf of the foregoing.” Plaintiff’s definition of “the Company”

necessarily and inappropriately includes other entities that are not relevant to the claims or

allegations in the Complaint. Furthermore, Plaintiff’s definition of “the Company,” which is

defined to “include any descriptor used by Match in its business practice,” encompasses other

entities and dating sites that are not relevant to this matter, including, but not limited to, OKCupid,

Plenty of Fish, and Tinder. Plaintiff’s definition of “Customer” necessarily and inappropriately

includes other entities that are not relevant to the claims or allegations in the Complaint by

including “individuals who have maintained an account on . . . OKCupid, Plenty of Fish, and

Tinder.”




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       Moreover, Match objects that this Request is part of an attempted fishing expedition by

Plaintiff to impermissibly probe matters beyond the scope of the present litigation, and that this

Request is an abuse of the discovery process. Match further objects to the extent that the requested

documents already are in Plaintiff’s possession, custody, or control, or to the extent that the

requested documents are not in Match’s possession, custody, or control. Finally, Match objects to

this Request to the extent it is duplicative of other Requests, including Request No. 19. Any

response to this Request that is provided before a protective order is entered will be deemed subject

to any protective order entered at a later date.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 20 in connection with

the 2017 CID, in response to CID Request No. 9(d). Notwithstanding its prior production, Match

will conduct a reasonable search for reasonably available responsive documents with respect to

Match.com only. Match will produce, following the entry of an enforceable protective order, non-

privileged responsive documents identified through such search, if any are located.

REQUEST NO. 21: Representative copies of all visual content that the Company has shown to
Customers concerning the available means of cancelling their subscriptions.

RESPONSE: Match objects to this Request because “[r]epresentative copies of all visual content”

is vague and confusing. Match further objects that this Request is vague, ambiguous, confusing,

irrelevant, not proportional to the needs of the case, and overly burdensome in that Plaintiff defines

“Customer” as “any individual or individuals who have maintained an account on any website

owned or operated by the Company” and “the Company” as including “Match Group, Inc., its

wholly or partially owned subsidiaries, unincorporated divisions, joint ventures, operations under

assumed names, and affiliates, and all directors, officers, employees, agents, consultants and other

persons working for or on behalf of the foregoing.” Plaintiff’s definition of “the Company”


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necessarily and inappropriately includes other entities that are not relevant to the claims or

allegations in the Complaint. Furthermore, Plaintiff’s definition of “the Company,” which is

defined to “include any descriptor used by Match in its business practice,” encompasses other

entities and dating sites that are not relevant to this matter, including, but not limited to, OKCupid,

Plenty of Fish, and Tinder. Plaintiff’s definition of “Customer” necessarily and inappropriately

includes other entities that are not relevant to the claims or allegations in the Complaint by

including “individuals who have maintained an account on . . . OKCupid, Plenty of Fish, and

Tinder.”

       Moreover, Match objects that this Request is part of an attempted fishing expedition by

Plaintiff to impermissibly probe matters beyond the scope of the present litigation, and that this

Request is an abuse of the discovery process. Match further objects to the extent that the requested

documents already are in Plaintiff’s possession, custody, or control, or to the extent that the

requested documents are not in Match’s possession, custody, or control. Finally, Match objects to

this Request to the extent it is duplicative of other Requests, including Request No. 20. Any

response to this Request that is provided before a protective order is entered will be deemed subject

to any protective order entered at a later date.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 21 in connection with

the 2017 CID, in response to CID Request No. 9(d). Notwithstanding its prior production, Match

will conduct a reasonable search for reasonably available responsive documents with respect to

Match.com only. Match will produce, following the entry of an enforceable protective order, non-

privileged responsive documents identified through such search, if any are located.




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REQUEST NO. 22: All documents related to any change or contemplated change to any means
of subscription cancellation available to Customers.

RESPONSE: Match objects to this Request to the extent Plaintiff seeks Privileged Information.

Match further objects that this Request is vague, ambiguous, confusing, irrelevant, not proportional

to the needs of the case, and overly burdensome in that Plaintiff defines “Customer” as “any

individual or individuals who have maintained an account on any website owned or operated by

the Company” and “the Company” as including “Match Group, Inc., its wholly or partially owned

subsidiaries, unincorporated divisions, joint ventures, operations under assumed names, and

affiliates, and all directors, officers, employees, agents, consultants and other persons working for

or on behalf of the foregoing.”       Plaintiff’s definition of “the Company” necessarily and

inappropriately includes other entities that are not relevant to the claims or allegations in the

Complaint. Furthermore, Plaintiff’s definition of “the Company,” which is defined to “include

any descriptor used by Match in its business practice,” encompasses other entities and dating sites

that are not relevant to this matter, including, but not limited to, OKCupid, Plenty of Fish, and

Tinder. Plaintiff’s definition of “Customer” necessarily and inappropriately includes other entities

that are not relevant to the claims or allegations in the Complaint by including “individuals who

have maintained an account on . . . OKCupid, Plenty of Fish, and Tinder.”

       Additionally, Match objects to this Request as irrelevant, overbroad, not proportional to

the needs of the case because it purports to seek information beyond the scope of Plaintiff’s claims

in the Complaint, as any “change” that may have been contemplated but never implemented is not

relevant to the allegations in Plaintiff’s Complaint. Moreover, Match objects that this Request is

part of an attempted fishing expedition by Plaintiff to impermissibly probe matters beyond the

scope of the present litigation, and that this Request is an abuse of the discovery process. Match

further objects to the extent that the requested documents already are in Plaintiff’s possession,


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custody, or control, or to the extent that the requested documents are not in Match’s possession,

custody, or control. Finally, Match objects to this Request to the extent it is duplicative of other

Requests, including Request No. 17. Any response to this Request that is provided before a

protective order is entered will be deemed subject to any protective order entered at a later date.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 22 in connection with

the 2017 CID, in response to CID Request Nos. 8(e) and 9(d). Notwithstanding its prior

production, Match will conduct a reasonable search for reasonably available responsive documents

with respect to Match.com only. Match will produce, following the entry of an enforceable

protective order, non-privileged responsive documents identified through such search, if any are

located.

REQUEST NO. 23: All documents related to account takeovers.

RESPONSE: Match objects to this Request because “account takeovers” is vague and undefined,

and to the extent Plaintiff seeks Privileged Information. Match further objects that this Request is

vague, ambiguous, confusing, irrelevant, not proportional to the needs of the case, because by

failing to specify any limiting principle on “account takeovers,” this Request necessarily captures

documents and information that fall outside the scope of what is relevant to that allegations in

Plaintiff’s Complaint. Moreover, Match objects that this Request is part of an attempted fishing

expedition by Plaintiff to impermissibly probe matters beyond the scope of the present litigation,

and that this Request is an abuse of the discovery process. Match further objects to the extent that

the requested documents already are in Plaintiff’s possession, custody, or control, or to the extent

that the requested documents are not in Match’s possession, custody, or control.




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REQUEST NO. 24: All documents related to software flaws that prevented Customers from:

      a. logging into their accounts;

      b. using their accounts; or

      c. canceling their accounts.

RESPONSE: Match objects to this Request because “software flaws” is vague, undefined, and

overbroad, and to the extent Plaintiff seeks Privileged Information. Match further objects to this

Request on the grounds that it seeks discovery that is not relevant to either party’s claims or

defenses and is not proportional to the needs of the case. Match objects to this Request because it

purports to seek information beyond the scope of Plaintiff’s claims in the Complaint, as not every

“software flaw” related to account functionality is relevant to the allegations in Plaintiff’s

Complaint. Moreover, Match objects that this Request is part of an attempted fishing expedition

by Plaintiff to impermissibly probe matters beyond the scope of the present litigation, and that this

Request is an abuse of the discovery process.

       Match further objects that this Request is vague, ambiguous, confusing, irrelevant, not

proportional to the needs of the case, and overly burdensome in that Plaintiff defines “Customer”

as “any individual or individuals who have maintained an account on any website owned or

operated by the Company” and “the Company” as including “Match Group, Inc., its wholly or

partially owned subsidiaries, unincorporated divisions, joint ventures, operations under assumed

names, and affiliates, and all directors, officers, employees, agents, consultants and other persons

working for or on behalf of the foregoing.” Plaintiff’s definition of “the Company” necessarily

and inappropriately includes other entities that are not relevant to the claims or allegations in the

Complaint. Furthermore, Plaintiff’s definition of “the Company,” which is defined to “include

any descriptor used by Match in its business practice,” encompasses other entities and dating sites

that are not relevant to this matter, including, but not limited to, OKCupid, Plenty of Fish, and

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Tinder. Plaintiff’s definition of “Customer” necessarily and inappropriately includes other entities

that are not relevant to the claims or allegations in the Complaint by including “individuals who

have maintained an account on . . . OKCupid, Plenty of Fish, and Tinder.”

       Additionally, Match objects to the extent that the requested documents already are in

Plaintiff’s possession, custody, or control, or to the extent that the requested documents are not in

Match’s possession, custody, or control. Finally, Match objects to this Request to the extent it is

duplicative of other Requests, including Request Nos. 19, 20, 21, 22, 23, and 25.

REQUEST NO. 25: All communications relating to:

      a. Match Guarantees;

      b. Cancellation of paid subscriptions by Customers;

      c. Customer Chargebacks;

      d. Denial of Customers’ access to accounts in response to chargebacks;

      e. The marketing or advertising of Tinder Gold or Tinder Boost; and

      f. The marketing or advertising of Incognito Mode, OKCupid Premium, or Profile
         Boosts on OKCupid.

RESPONSE: Match objects to this Request because “[a]ll communications” is overbroad and

unduly burdensome, and to the extent Plaintiff seeks Privileged Information. Match further objects

to this Request on the grounds that it seeks discovery that is not relevant to either party’s claims

or defenses and is not proportional to the needs of the case. Match further objects to this Request

insofar as it suggests that Match Group, Inc. ever offered any kind of “Match Guarantee” or

maintained a “Chargeback” policy. The “Match Guarantee” and related practices, as well as all

practices related to “Chargebacks,” have been permanently discontinued, and Match has

repeatedly told the FTC this orally and in writing. Match is prepared to enter a binding stipulation

in a form acceptable to the Court that Match could never and would never, and Match.com would



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never, engage in the conduct challenged in Counts III and IV in the Complaint, to which this

discovery relates. The FTC has identified no evidence that the challenged conduct is about to, or

is likely to, recur. Thus, the question of whether any injunctive relief should be issued that

addresses this alleged conduct is moot and does not ever need to be litigated. The Court has also

dismissed with prejudice any claim by the FTC for monetary relief based on the conduct at issue

in this Request. For these reasons, discovery into the questions of what occurred or whether the

alleged conduct related to the “Match Guarantee” or “Chargebacks” violated the FTC Act are

impermissibly burdensome and calculated to harass.

       Additionally, Match objects to this Request as irrelevant, overbroad, not proportional to

the needs of the case because it purports to seek information beyond the scope of Plaintiff’s claims

in the Complaint, as neither “[t]he marketing or advertising of Tinder Gold or Tinder Boost” nor

“[t]he marketing or advertising of Incognito Mode, OkCupid Premium, or Profile Boosts on

OkCupid” are relevant to Plaintiff’s claims in the Complaint. Moreover, Match objects that this

Request is part of an attempted fishing expedition by Plaintiff to impermissibly probe matters

beyond the scope of the present litigation, and that this Request is an abuse of the discovery

process. Match further objects to the extent that the requested documents already are in Plaintiff’s

possession, custody, or control, or to the extent that the requested documents are not in Match’s

possession, custody, or control. Finally, Match objects to this Request to the extent it is duplicative

of other Requests, including Request Nos. 17, 19, 20, 21, 22, 23, 24, 27, 28 and 31.




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REQUEST NO. 26: All Documents related to how consumers or Customers view, read, react to,
understand, or have been influenced by Ads relating to Match Guarantees; chargeback policies;
Ads relating to subscription renewal or cancellation; or the means of subscription renewal or
cancellation, including documents relating to copy tests, A/B testing, click-through data, consumer
or Customer surveys, usability tests, and focus groups.

RESPONSE: Match specifically objects to this Request because “tests,” “A/B testing,” “click-

through data,” “surveys,” “usability tests,” and “focus groups” are vague and undefined. Match

further objects to this Request to the extent Plaintiff seeks Privileged Information. Match further

objects to this Request on the grounds that it seeks discovery that is not relevant to either party’s

claims or defenses and is not proportional to the needs of the case. Match further objects to this

Request insofar as it suggests that Match Group, Inc. ever offered any kind of “Match Guarantee”

or maintained a “Chargeback” policy. The “Match Guarantee” and related practices, as well as all

practices related to “Chargebacks,” have been permanently discontinued, and Match has

repeatedly told the FTC this orally and in writing. Match is prepared to enter a binding stipulation

in a form acceptable to the Court that Match could never and would never, and Match.com would

never, engage in the conduct challenged in Counts III and IV in the Complaint, to which this

discovery relates. The FTC has identified no evidence that the challenged conduct is about to, or

is likely to, recur. Thus, the question of whether any injunctive relief should be issued that

addresses this alleged conduct is moot and does not ever need to be litigated. The Court has also

dismissed with prejudice any claim by the FTC for monetary relief based on the conduct at issue

in this Request. For these reasons, discovery into the questions of what occurred or whether the

alleged conduct related to the “Match Guarantee” or “Chargebacks” violated the FTC Act are

impermissibly burdensome and calculated to harass.

       Match further objects that this Request is vague, ambiguous, confusing, irrelevant, not

proportional to the needs of the case, and overly burdensome in that Plaintiff defines “Customer”



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as “any individual or individuals who have maintained an account on any website owned or

operated by the Company,” and “Match” or “the Company” as including “Match Group, Inc., its

wholly or partially owned subsidiaries, unincorporated divisions, joint ventures, operations under

assumed names, and affiliates, and all directors, officers, employees, agents, consultants and other

persons working for or on behalf of the foregoing.” Plaintiff’s definition of “the Company”

necessarily and inappropriately includes other entities and dating sites that are not relevant to the

claims or allegations in the Complaint.

       Additionally, Match objects to this Request as irrelevant, overbroad, not proportional to

the needs of the case because it purports to seek information beyond the scope of Plaintiff’s claims

in the Complaint, because by seeking information under such a broad category as “how consumers

or Customers view, read, react to, understand, or have been influenced,” this Request is not tailored

to the allegations in Plaintiff’s Complaint. Moreover, Match objects that this Request is part of an

attempted fishing expedition by Plaintiff to impermissibly probe matters beyond the scope of the

present litigation, and that this Request is an abuse of the discovery process. Match further objects

to the extent that the requested documents already are in Plaintiff’s possession, custody, or control,

or to the extent that the requested documents are not in Match’s possession, custody, or control.

Any response to this Request that is provided before a protective order is entered will be deemed

subject to any protective order entered at a later date.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 26 in connection with

the 2017 CID, in response to CID Request Nos. 3(a)(iv), 3(b)(iv), 3(c)(iv), and 4. Notwithstanding

its prior production, Match will conduct a reasonable search for reasonably available responsive

documents with respect to subscription renewal and cancelation for Match.com only. Match will



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produce, following the entry of an enforceable protective order, non-privileged responsive

documents identified through such search, if any are located.

REQUEST NO. 27: All Documents, including internal and third-party studies or audits, relating
to Customers’ efforts to cancel their subscriptions to Match.com, Tinder, or OKCupid.

RESPONSE: Match objects to this Request because “efforts” is vague and undefined, and to the

extent Plaintiff seeks Privileged Information. Match further objects that this Request is vague,

ambiguous, confusing, irrelevant, not proportional to the needs of the case, and overly burdensome

in that Plaintiff defines “Customer” as “any individual or individuals who have maintained an

account on any website owned or operated by the Company,” and “the Company” as including

“Match Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint

ventures, operations under assumed names, and affiliates, and all directors, officers, employees,

agents, consultants and other persons working for or on behalf of the foregoing.” Plaintiff’s

definition of “the Company” necessarily and inappropriately includes other entities that are not

relevant to the claims or allegations in the Complaint. Furthermore, Plaintiff’s definition of “the

Company,” which is defined to “include any descriptor used by Match in its business practice,”

encompasses other entities and dating sites that are not relevant to this matter, including, but not

limited to, OKCupid, Plenty of Fish, and Tinder. Plaintiff’s definition of “Customer” necessarily

and inappropriately includes other entities that are not relevant to the claims or allegations in the

Complaint by including “individuals who have maintained an account on . . . OKCupid, Plenty of

Fish, and Tinder.”

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as Plaintiff seeks documents and information about entities and dating

sites that are not party to, or otherwise related to, this litigation (OKCupid, Plenty of Fish, and


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Tinder). Moreover, Match objects that this Request is part of an attempted fishing expedition by

Plaintiff to impermissibly probe matters beyond the scope of the present litigation, and that this

Request is an abuse of the discovery process. Match further objects to the extent that the requested

documents already are in Plaintiff’s possession, custody, or control, or to the extent that the

requested documents are not in Match’s possession, custody, or control. Finally, Match objects to

this Request to the extent it is duplicative of other Requests, including Request Nos. 19, 20, 21,

22, 24, 25, 26, and 28. Any response to this Request that is provided before a protective order is

entered will be deemed subject to any protective order entered at a later date.

       Subject to and without waiving the foregoing specific and general objections, Match will

conduct a reasonable search for reasonably available responsive documents with respect to

Match.com only. Match will produce, following the entry of an enforceable protective order, non-

privileged responsive documents that are in Match’s possession, custody, or control identified

through such search, if any are located.

REQUEST NO. 28: All Documents relating to the policies and practices of the Company,
Match.com, Tinder, or OKCupid regarding the following:

      a. Match Guarantees;

      b. account cancellation;

      c. Availability of customer support services;

      d. availability of refunds;

      e. Customer Chargebacks;

      f. Customer access to accounts; and

      g. compliance with consumer protection laws, including the FTC Act and the Restore
         Online Shoppers’ Confidence Act.

RESPONSE: Match objects to this Request because “availability” is vague and undefined. Match

further objects to this Request to the extent Plaintiff seeks Privileged Information, specifically


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because the term “relating to” as used in this Request necessarily captures Privileged Information.

Match further objects to this Request on the grounds that it seeks discovery that is not relevant to

either party’s claims or defenses and is not proportional to the needs of the case. Match further

objects to this Request insofar as it suggests that Match Group, Inc. ever offered any kind of

“Match Guarantee” or maintained a “Chargeback” policy. The “Match Guarantee” and related

practices, as well as all practices related to “Chargebacks,” have been permanently discontinued,

and Match has repeatedly told the FTC this orally and in writing. Match is prepared to enter a

binding stipulation in a form acceptable to the Court that Match could never and would never, and

Match.com would never, engage in the conduct challenged in Counts III and IV in the Complaint,

to which this discovery relates. The FTC has identified no evidence that the challenged conduct

is about to, or is likely to, recur. Thus, the question of whether any injunctive relief should be

issued that addresses this alleged conduct is moot and does not ever need to be litigated. The Court

has also dismissed with prejudice any claim by the FTC for monetary relief based on the conduct

at issue in this Request. For these reasons, discovery into the questions of what occurred or

whether the alleged conduct related to the “Match Guarantee” or “Chargebacks” violated the FTC

Act are impermissibly burdensome and calculated to harass.

       Match further objects that this Request is vague, ambiguous, confusing, irrelevant, not

proportional to the needs of the case, and overly burdensome in that Plaintiff defines “the

Company” as including “Match Group, Inc., its wholly or partially owned subsidiaries,

unincorporated divisions, joint ventures, operations under assumed names, and affiliates, and all

directors, officers, employees, agents, consultants and other persons working for or on behalf of

the foregoing.” Plaintiff’s definition of “the Company” necessarily and inappropriately includes

other entities and dating sites that are not relevant to the claims or allegations in the Complaint.



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Finally, Match objects to this Request to the extent it is duplicative of other Requests, including

Request Nos. 19, 20, 21, 22, 24, 25, 26, and 27.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 28 in connection with

the 2017 CID, in response to CID Request No. 8. Notwithstanding its prior production, Match

will conduct a reasonable search for reasonably available responsive documents with respect to

subparts (b)-(d) and (g) for Match.com and ROSCA compliance only. Match will produce,

following the entry of an enforceable protective order, non-privileged responsive documents

identified through such search, if any are located.

REQUEST NO. 29: All Documents relating to any internal or external review concerning
compliance by the Company with consumer protection laws, including the FTC Act and the
Restore Online Shoppers’ Confidence Act.

RESPONSE: Match objects to this Request to the extent Plaintiff seeks Privileged Information,

specifically because the term “relating to” as used in this Request necessarily captures Privileged

Information, and because the Request overall appears calculated to specifically seek Privileged

Information. Match further objects that this Request is vague, ambiguous, confusing, irrelevant,

not proportional to the needs of the case, and overly burdensome in that Plaintiff defines “the

Company” as including “Match Group, Inc., its wholly or partially owned subsidiaries,

unincorporated divisions, joint ventures, operations under assumed names, and affiliates, and all

directors, officers, employees, agents, consultants and other persons working for or on behalf of

the foregoing.” Plaintiff’s definition of “the Company” necessarily and inappropriately includes

other entities and dating sites that are not relevant to the claims or allegations in the Complaint.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s



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claims in the Complaint, because not every document related to every prior investigation of

Match’s compliance with consumer protection laws is relevant to the allegations in Plaintiff’s

Complaint. Moreover, Match objects that this Request is part of an attempted fishing expedition

by Plaintiff to impermissibly probe matters beyond the scope of the present litigation, and that this

Request is an abuse of the discovery process. Finally, Match objects to this Request to the extent

it is duplicative of other Requests, including Request Nos. 27, 28, 32, and 34. Any response to

this Request that is provided before a protective order is entered will be deemed subject to any

protective order entered at a later date.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that will conduct a reasonable search for reasonably available responsive documents with

respect to Match.com’s compliance with ROSCA only. Match will produce, following the entry

of an enforceable protective order, non-privileged responsive documents identified through such

search, if any are located.

REQUEST NO. 30: All Documents relating to Customer complaints.

RESPONSE: Match objects to this Request because “complaints” is vague and undefined, and to

the extent Plaintiff seeks Privileged Information. Match further objects that this Request is vague,

ambiguous, confusing, irrelevant, not proportional to the needs of the case, and overly burdensome

in that Plaintiff defines “Customer” as “any individual or individuals who have maintained an

account on any website owned or operated by the Company” and “the Company” as including

“Match Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint

ventures, operations under assumed names, and affiliates, and all directors, officers, employees,

agents, consultants and other persons working for or on behalf of the foregoing.” Plaintiff’s




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definition of “the Company” necessarily and inappropriately includes other entities and dating sites

that are not relevant to the claims or allegations in the Complaint.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, since by seeking “all Documents” related to the inherently broad category

of “Customer complaints,” this Request necessarily captures a whole host of documents,

communications, and other information that are not relevant to the claims in Plaintiff’s Complaint.

Moreover, Match objects that this Request is part of an attempted fishing expedition by Plaintiff

to impermissibly probe matters beyond the scope of the present litigation, and that this Request is

an abuse of the discovery process. Any response to this Request that is provided before a protective

order is entered will be deemed subject to any protective order entered at a later date.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 30 in connection with

the 2017 CID, in response to CID Request No. 10. Notwithstanding its prior production, Match

will conduct a reasonable search for reasonably available responsive documents relating to

Customer complaints regarding the Match.com online cancelation flow, as alleged in the

Complaint. Match will produce, following the entry of an enforceable protective order, non-

privileged responsive documents identified through such search, if any are located.

REQUEST NO. 31: All communications with Customers relating to the Match Guarantee or the
Company’s chargeback or cancellation policies or practices.

RESPONSE: Match objects to this Request to the extent Plaintiff seeks Privileged Information.

Match further objects to this Request on the grounds that it seeks discovery that is not relevant to

either party’s claims or defenses and is not proportional to the needs of the case. Match further

objects to this Request insofar as it suggests that Match Group, Inc. ever offered any kind of


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“Match Guarantee” or maintained a “Chargeback” policy. The “Match Guarantee” and related

practices, as well as all practices related to “Chargebacks,” have been permanently discontinued,

and Match has repeatedly told the FTC this orally and in writing. Match is prepared to enter a

binding stipulation in a form acceptable to the Court that Match could never and would never, and

Match.com would never, engage in the conduct challenged in Counts III and IV in the Complaint,

to which this discovery relates. The FTC has identified no evidence that the challenged conduct

is about to, or is likely to, recur. Thus, the question of whether any injunctive relief should be

issued that addresses this alleged conduct is moot and does not ever need to be litigated. The Court

has also dismissed with prejudice any claim by the FTC for monetary relief based on the conduct

at issue in this Request. For these reasons, discovery into the questions of what occurred or

whether the alleged conduct related to the “Match Guarantee” or “Chargebacks” violated the FTC

Act are impermissibly burdensome and calculated to harass.

       Match further objects that this Request is vague, ambiguous, confusing, irrelevant, not

proportional to the needs of the case, and overly burdensome in that Plaintiff defines “Customer”

as “any individual or individuals who have maintained an account on any website owned or

operated by the Company,” and “the Company” as including “Match Group, Inc., its wholly or

partially owned subsidiaries, unincorporated divisions, joint ventures, operations under assumed

names, and affiliates, and all directors, officers, employees, agents, consultants and other persons

working for or on behalf of the foregoing.” Plaintiff’s definition of “the Company” necessarily

and inappropriately includes other entities and dating sites that are not relevant to the claims or

allegations in the Complaint. Finally, Match objects to this Request to the extent it is duplicative

of other Requests, including Request Nos. 25, 28, and 30. Any response to this Request that is




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provided before a protective order is entered will be deemed subject to any protective order entered

at a later date.

        Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 31 in connection with

the 2017 CID, in response to CID Request No. 10. Notwithstanding its prior production, Match

will conduct a reasonable search for reasonably available responsive documents with respect to

Match.com’s cancelation policies or practices only. Match will produce, following the entry of an

enforceable protective order, non-privileged responsive documents identified through such search,

if any are located.

REQUEST NO. 32: All documents relating to any lawsuit alleging that the operators of
Match.com, Tinder, Plenty of Fish, or OKCupid have engaged in fraud or violated any federal,
state, or foreign consumer protection laws.

RESPONSE: Match objects to this Request because “the operators of” is vague and undefined,

and to the extent Plaintiff seeks Privileged Information, specifically because the term “relating to”

as used in this Request necessarily captures Privileged Information. Match further objects to this

Request as irrelevant, overbroad, oppressive, and inappropriate to the extent Plaintiff seeks

discovery about “fraud” or consumer protection violations of any kind, as the Court dismissed with

prejudice Plaintiff’s claims related to alleged fraud (Counts I & II) in its Memorandum Opinion &

Order on Match’s Motion to Dismiss. ECF No. 86.

        Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as Plaintiff seeks documents and information about entities and dating

sites that are not party to, or otherwise related to, this litigation (OKCupid, Plenty of Fish, and

Tinder). Match further objects to this Request as irrelevant, overbroad, and unduly burdensome,



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to the extent that its use of the undefined term “the operators of” assumes that Match Group, Inc.

is “the operator[] of” Match.com, Tinder, Plenty of Fish, or OKCupid. Moreover, Match objects

that this Request is part of an attempted fishing expedition by Plaintiff to impermissibly probe

matters beyond the scope of the present litigation, and that this Request is an abuse of the discovery

process. Match further objects to the extent that the requested documents already are in Plaintiff’s

possession, custody, or control, or to the extent that the requested documents are not in Match’s

possession, custody, or control. Match likewise objects to this Request to the extent the requested

documents are publicly available. Finally, Match objects to this Request to the extent it is

duplicative of other Requests, including Request No. 34.

REQUEST NO. 33: All versions of customer service telephone scripts, chat scripts or prepared
responses, customer support manuals, employee manuals, and other training materials.

RESPONSE: Match objects to this Request because “prepared responses,” “customer support

manuals,” and “employee manuals” are vague and undefined, and to the extent Plaintiff seeks

Privileged Information. To the extent Plaintiff meant “Customer,” as opposed to “customer,”

Match further objects that this Request is vague, ambiguous, confusing, irrelevant, not proportional

to the needs of the case, and overly burdensome in that Plaintiff defines “Customer” as “any

individual or individuals who have maintained an account on any website owned or operated by

the Company” and “the Company” as including “Match Group, Inc., its wholly or partially owned

subsidiaries, unincorporated divisions, joint ventures, operations under assumed names, and

affiliates, and all directors, officers, employees, agents, consultants and other persons working for

or on behalf of the foregoing.”        Plaintiff’s definition of “the Company” necessarily and

inappropriately includes other entities and dating sites that are not relevant to the claims or

allegations in the Complaint.




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       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, because by failing to specify any subject matter limitation on any of the

materials referenced therein, this Request necessarily captures documents and information that fall

outside the scope of what is relevant to Plaintiff’s claims. Moreover, Match objects that this

Request is part of an attempted fishing expedition by Plaintiff to impermissibly probe matters

beyond the scope of the present litigation, and that this Request is an abuse of the discovery

process. Finally, Match objects to this Request to the extent it is duplicative of other Requests,

including Request Nos. 25, 28, and 30. Any response to this Request that is provided before a

protective order is entered will be deemed subject to any protective order entered at a later date.

       Subject to and without waiving the foregoing specific and general objections, Match

responds that it has already produced documents responsive to Request No. 33 in connection with

the 2017 CID, in response to CID Request No. 8. Notwithstanding its prior production, Match

will conduct a reasonable search for reasonably available responsive documents that address or

relate to Match.com account cancelation only. Match will produce, following the entry of an

enforceable protective order, non-privileged responsive documents identified through such search,

if any are located.

REQUEST NO. 34: All Documents referring to or relating to:

      a. The Federal Trade Commission;

      b. The FTC Act;

      c. The Restore Online Shoppers’ Confidence Act;

      d. Unfair, deceptive, or abusive acts or practices or “UDAAP” or “UDAP”;

      e. The Department of Justice; and



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      f. The lawfulness or unlawfulness of any practices related to Match Guarantees,
         Customer chargebacks, or the cancellation of subscriptions.

RESPONSE: Match objects to this Request to the extent Plaintiff seeks Privileged Information,

specifically because the terms “referring to” and “relating to” as used in this Request necessarily

capture Privileged Information. Match further objects to this Request on the grounds that it seeks

discovery that is not relevant to either party’s claims or defenses and is not proportional to the

needs of the case. The “Match Guarantee” and related practices, as well as all practices related to

“Chargebacks,” have been permanently discontinued, and Match has repeatedly told the FTC this

orally and in writing. Match is prepared to enter a binding stipulation in a form acceptable to the

Court that Match could never and would never, and Match.com would never, engage in the

conduct challenged in Counts III and IV in the Complaint, to which this discovery relates. The

FTC has identified no evidence that the challenged conduct is about to, or is likely to, recur. Thus,

the question of whether any injunctive relief should be issued that addresses this alleged conduct

is moot and does not ever need to be litigated. The Court has also dismissed with prejudice any

claim by the FTC for monetary relief based on the conduct at issue in this Request. For these

reasons, discovery into the questions of what occurred or whether the alleged conduct related to

the “Match Guarantee” or “Chargebacks” violated the FTC Act are impermissibly burdensome

and calculated to harass.

       Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional

to the needs of the case because it purports to seek information beyond the scope of Plaintiff’s

claims in the Complaint, as this Request necessarily encompasses entities not party to, or otherwise

related to, the present litigation. Moreover, Match objects that this Request is part of an attempted

fishing expedition by Plaintiff to impermissibly probe matters beyond the scope of the present

litigation, and that this Request is an abuse of the discovery process. Match further objects to the


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extent that the requested documents already are in Plaintiff’s possession, custody, or control, or to

the extent that the requested documents are not in Match’s possession, custody, or control. Finally,

Match objects to this Request to the extent it is duplicative of other Requests, including Request

Nos. 29 and 32.

REQUEST NO. 35: All Documents that support, contradict, refute, or rebut any affirmative
defense You have asserted in Your Answer.

RESPONSE: Match objects to this Request to the extent Plaintiff seeks Privileged Information.

Match further objects that this Request is vague, ambiguous, confusing, irrelevant, not proportional

to the needs of the case, and overly burdensome in that Plaintiff defines “You” as including “Match

Group, Inc., its wholly or partially owned subsidiaries, unincorporated divisions, joint ventures,

operations under assumed names, and affiliates, and all directors, officers, employees, agents,

consultants and other persons working for or on behalf of the foregoing.” Plaintiff’s definition of

“You” necessarily and inappropriately includes other entities and dating sites that are not relevant

to the claims or allegations in the Complaint.

       Additionally, Match objects to this Request as oppressive, overbroad, and not proportional

to the needs of the case because it requires Match to marshal all of its evidence before trial.

Moreover, Match objects that this Request is part of an attempted fishing expedition by Plaintiff

to impermissibly probe matters beyond the scope of the present litigation, and that this Request is

an abuse of the discovery process. Match further objects to the extent that the requested documents

already are in Plaintiff’s possession, custody, or control, or to the extent that the requested

documents are not in Match’s possession, custody, or control. Finally, Match objects to this

Request to the extent it is duplicative of other Requests, including potentially each and every other

Request.




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REQUEST NO. 36: All Documents You referred to in the course of responding to any Request
for Admission, Request for Production, or Interrogatory served by the Federal Trade Commission
in this case.

RESPONSE: Match objects to this Request to the extent Plaintiff seeks Privileged Information,

specifically because the terms “referring to” and “relating to” as used in this Request necessarily

capture Privileged Information. Match further objects to this Request on the grounds that it seeks

discovery that is not relevant to either party’s claims or defenses and is not proportional to the

needs of the case. The “Match Guarantee” and related practices, as well as all practices related to

“Chargebacks,” have been permanently discontinued, and Match has repeatedly told the FTC this

orally and in writing. Match is prepared to enter a binding stipulation in a form acceptable to the

Court that Match could never and would never, and Match.com would never, engage in the

conduct challenged in Counts III and IV in the Complaint, to which this discovery relates. The

FTC has identified no evidence that the challenged conduct is about to, or is likely to, recur. Thus,

the question of whether any injunctive relief should be issued that addresses this alleged conduct

is moot and does not ever need to be litigated. The Court has also dismissed with prejudice any

claim by the FTC for monetary relief based on the conduct at issue in this Request. For these

reasons, discovery into the questions of what occurred or whether the alleged conduct related to

the “Match Guarantee” or “Chargebacks” violated the FTC Act are impermissibly burdensome

and calculated to harass.

       Additionally, Match objects to this Request as oppressive, overbroad, and not proportional

to the needs of the case, because it purports to require Match to re-produce each and every

document it has previously produced to the FTC. Moreover, Match objects that this Request is

part of an attempted fishing expedition by Plaintiff to impermissibly probe matters beyond the

scope of the present litigation, and that this Request is an abuse of the discovery process. Match



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further objects to the extent that the requested documents already are in Plaintiff’s possession,

custody, or control, or to the extent that the requested documents are not in Match’s possession,

custody, or control. Finally, Match objects to this Request to the extent it is duplicative of other

Requests, including potentially each and every other Request.

       Subject to and without waiving the foregoing specific and general objections, Match will

conduct a reasonable search for reasonably available responsive documents with respect to

Match.com account cancelation only. Match will produce, following the entry of an enforceable

protective order, non-privileged responsive documents identified through such search, if any are

located.

REQUEST NO. 37: All Documents considered or relied upon by any witness you disclose under
Fed. R. Civ. P. 26(a)(2).

RESPONSE: Match objects to this Request to the extent Plaintiff seeks Privileged Information.

Additionally, Match objects to this Request as irrelevant, overbroad, and not proportional to the

needs of the case because it purports to seek information beyond the scope of Plaintiff’s claims in

the Complaint, because it does not specify any subject matter limitations. Moreover, Match objects

that this Request is part of an attempted fishing expedition by Plaintiff to impermissibly probe

matters beyond the scope of the present litigation, and that this Request is an abuse of the discovery

process. Match further objects to the extent that the requested documents already are in Plaintiff’s

possession, custody, or control, or to the extent that the requested documents are not in Match’s

possession, custody, or control. Match objects to this Request as oppressive, overbroad, and not

proportional to the needs of the case because it requires Match to marshal all of its evidence before

trial. Match further objects to this Request to the extent it seeks to require production or disclosure

of expert-related documents prior to the time specified in the Court’s scheduling order. Finally,




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Match objects to this Request to the extent it is duplicative of other Requests, including potentially

each and every other Request.

Dated: July 19, 2022                                  Respectfully submitted,

                                                      /s/ Angela C. Zambrano
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the above and forgoing document

was served on all counsel of record via e-mail as outlined below on July 19, 2022.

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